Case: 7:16-cv-00227-KKC-HAI Doc #: 1-1 Filed: 10/17/16 Page: 1 of 178 - Page ID#: 19




                  Exhibit A
   Case: 7:16-cv-00227-KKC-HAI Doc #: 1-1 Filed: 10/17/16 Page: 2 of 178 - Page ID#: 20


                                                                    TAYLOR, SHEILA , ET AL VS. BAYER CORPORATION,
                                                                   , ETAL
                                                                   PIKE CIRCUIT COURT
                   16-CI-00907                                        on 09 / 22/ 2016 as PERSONAL INJURY with HON. EDDY COLEMAN
                                                                   Flied
                                                                   ***•NOT AN OFFICIAL COURT RECORD *** •


    Parties                                                                                                                                                                                                    16-CI-00907

      ATKINSON, KATRINA as PLAINTIFF I PETITIONER
      BAYER CORPORATION, as DEFENDANT                                     I RESPONDENT

      : Addreu
         100 BAYER RD BUILDING 4
         PITTSBURGH PA 15205

       Summons
         CIVIL SUMMONS Issued on 09/22 / 2016 served on 09/27 / 2016 by way of CERTIFIED MAIL
         CORPORATION SERVICE COMPANY

      BAYER ESSURE INC F/K/A CONCEPTUS,INC, as DEFENDANT                                                             I RESPONDENT
      ' Address
         100 BAYER ROAD
         PITTSBURGH PA 15205

       Summons
         CIVIL SUMMONS Issued on 09 / 22/ 2016 by way of CERTIFIED MAIL
         SEC OF STATE SERVED 9-27-16
         CIVIL SUMMONS Issued on 09/22/ 2016 served on 10/04/2016 by way of CERTIFIED MAIL
        .co_~t:a~T.~<?'!. ~f'.~V~C1! c_oM_~~-~'.. (o/~Ef!f'10.Rf?. ~~!Y~!'.I'.!'_ .TE.~E_R~ !1.'!T.".<?!. ~~. T1!~) ....                                        • • • . • ..

      BAYER HEALTHCARE LLC, as DEFENDANT / RESPONDENT

     : Address
         100 BAYER BLVD
         WHIPPANY NJ 07981

      'Summons
         CIVIL SUMMONS Issued on 09/22 / 2016 by way of CERTIFIED MAIL
         CORPORATION SERVICE COMPANY

      BAYER HEALTHCARE PHARMACEUTICALS INC, as DEFENDANT I RESPONDENT

      Address
         100 BAYER BLVD
         WHIPPANY NJ 07981
        . .   .. • • . .   . ... ... .. .. ..   .. .• ,. • .. ..    .. ........ • • .......... ...... • • ....     .. ...... .. . ·-· ......... '•""' . ...... ... .... ........ . . . . . ·-· ................. ·•·1
     ; Summons
         CIVIL SUMMONS issued on 09 / 22/ 2016 served on 09/27 / 2016 by way of CERTIFIED MAIL
         CORPORATION SERVICE COMPANY                                                       .. . .. . ..     "    .. .. . .   ~..   .. . ..                                                               . . .. ..
     JOHNSON, T 'l!BONY as PLAINTIFF                               I PETITIONER
     PIKEVILLE MEDICAL CENTER INC, as DEFENDANT                                               I RESPONDENT

     : Address
         911 BYPASS ROAD
         PIKEVILLE KY 41501

      Summons
         CIVIL SUMMONS Issued on 09/22 / 2016 served on 09/22/2016 by way o f RETURNED TO ATTORNEY / PETITIONER                                                                                                     :
         PAM MAY                                                                                                                                                                                                    :

     TAYLOR, SHEILA as PLAINTIFF                          I PETITIONER
     WOLFORD, SARANDA as PLAINTIFF/ PETITIONER
     JOHNSON, GARY            c., as ATTORNEY                      FOR PLAINTIFF

     : Address

10/17/2016                                                                                                   65730-39                                                                                                        1
                          -·   1


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        POBOX231
        PIKEVILLE kY 41501



    Documents                                                                                     16-CI-00907

     COMPLAINT I PETITION Oled on 09 / 22 / 2016

     NOTICI! - OTHl!R tiled on 09 / 26 / 2016
       KATRINA ATKINSON'S NOnCE OF VOLUNTARY DISMISSAL AGAINST PHC INC

     CERTIFICATE OF MAILING filed on 09 / 22 / 2016
       CORPORATION SERVICE COHPANY BAl'ER HEALn1CARE PHARHACEunCALS INC

     CERTJFICATI! OF MAILING tiled on 09 / 22 / 2016
       SOS-CORPORAnON SERVICE CO. BAl'ER ESSURE

     CERTIFICATE OF MAILING tiled on 09 / 22/ 2016
       CORPORATION SERVICE COHPANY BAYER CORPORAnON

     Cl!RTIFICATE OF MAILING fUed on 09 / 22/ 2016
        CORPORATION SERVICE COMPANY BAYER HEALn1CARE LLC


    Imagu                                                                                         16-CI- 00907

     There are no Images found for this case.

                                                * * * * End of Case Number : 16-CI-00907 * * **




10/17/2016                                                       65730-39                                        2
          Case: 7:16-cv-00227-KKC-HAI Doc #: 1-1 Filed: 10/17/16 Page: 4 of 178 - Page ID#: 22




                                                                                                                         TRL / ALL
                                                                                                     Transmittal Number: 15700848
Notice of Service of Process                                                                            Date Processed: 10/03/2016

Primary Contact:           Malini Moorthy
                           Bayer Corporation
                           100 Bayer Road
                           Pittsburgh, PA 15205-9741

Electronic copy provided to:                   Kayla Hartley
                                               Ana Hartner
                                               Jennifer Makuch
                                               Heather Rossi

Entity:                                       Bayer Essure Inc.
                                              Entity ID Number 0477980
Entity Served:                                Bayer Essure, Inc. f/k/a Conceptus, Inc.
Title of Action:                              Saranda Wolford vs. Bayer Corporation
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Product Liability
Court/Agency:                                 Pike County Circuit Court, Kentucky
Case/Reference No:                            16-CI-907
Jurisdiction Served:                          Delaware
Date Served on CSC:                           10/03/2016
Answer or Appearance Due:                     20 Days
Originally Served On:                         CSC
How Served:                                   Certified Mail
Sender Information:                           Kate A. Dunnington
                                              502-753-1600

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                               To avoid potential delay, please do not send your response to CSC
                        2711 Centerville Road Wilmington, DE 19808 (888) 690-2882 | sop@cscglobal.com
Case: 7:16-cv-00227-KKC-HAI Doc #: 1-1 Filed: 10/17/16 Page: 5 of 178 - Page ID#: 23


                                                                                       Summons Division
                                                                                           PO BOX 718
Alison lund~rgan Grimes
                                        Commonwealth of Kentucky            · FRANKFORT, KY 40602--0718
Secretary of State           .         Office of the Secretary of State .

                                              September 27, 2016


BAYER ESSURE, INC.
F/K/A CONCEPTUS, INC.
SERVE: CORPORATION SERVICE COMPANY
2711 CENTERVILLE ROAD, SUITE 400
WILMINGTON, DE 19808



FROM:         SUMMONS DIVISION
              SECRETARY OF STATE

RE:            CASE NO: 16-Cl-907

COURT: Circuit Court Clerk
    Pike County, Division: 1
    PO Box 1002
    Pikeville, KY 41502-1002
    Phone: (606) 433-7557

Legal action has been filed against you in the captioned case. As provided under
Kentucky law, the legal documents are enclosed.

Questions regarding this action should be addressed to:

      (1) Your attorney, or
      (2) The attorney filing this suit whose name should appear on
          the last page of the complaint, or
      (3) The court or administrative agency in which the suit is filed
          at the clerk's number printed above.

The Kentucky Secretary of State has NO POWER to make a legal disposition of this
case. Your responsive pleadings should be filed with the clerk of the court or agency
where the suit is filed and served directly on your opposing party.    ·

No copy of future pleadings need be sent to this office unless you wish us to serve
the pleading under a particular statute or rule and pay for said service.




Kentucky Secretary of State's Office            Summons Division                              9/27/2016
               \                                                                                                                          ·.
        Case:I 7:16-cv-00227-KKC-HAI
                                   " Doc #: 1-1 Filed: 10/17/16 Page: 6 of 178 - Page ID#: 24
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 AOC-105        I
                        Doc. Code: Cl                                                                      case No.              _16...;..-_C_I..,:---..!._.:____;...__
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 Rev. 1-07
 Page 1of1
                                                          ~.
                                                                                                           Court                   0     Circuit    D Djstdct
 Commonwealth of Kentucky
 Court of Justice www.courts.ky.gov                                                                        County                 Pike
 CR 4.02; CR Official Form 1                                    CIVIL SUMMONS


                                                                                                                                                  PLAINTIFF

      Saranda Wolford et al                      ...·..                                     A'l"TES· -· · •
                                                                                 , -- ANNA,PINSON ~~-~AR&

                                                                                           I   SEP 22 20\6
vs.
                                                                                    W: CIRCUIT -··tRiCT COM~. ..
                                                                                                                                                  DEFENDANT




Service of Process Agent for Defendant:
Bayer
'
      Essure,
      • a.H
              Inc, (F/K/A Conceptus, Inc.)
                     •    0     e   ·'   •   I   1




Kentuck.Y Sec~et~ry of State - ~ervice of Summ~r:is                                        ..,.. .                    .     ..
                                                                                         .. ......- .. ..... "'. '...V ..
Frankfort, KY. ~ot_50 1

THE COMMONWEALTH OF KENTUCKY
TO THE ABOVE-NAMED DEFENDANT(S):

         You are hereby notified a legal action has been flied against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense fs made by you or by an attorney on
your behalf within 20 days following the day this paper Is delivered to you, judgment by default may be taken against you
for the rellef demanded in the attached Complaint.

        The name(s) and address(es) of the party or parties demanding relief against you are shown on the document
delivered to you with this Summons.

Date:    ~\robs- ~. 20\\o                                          --~~oa
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                                                                   By:
                                                                                                     7-0
                                                                                                        f\ C                                                  D.C.




                                                               Proof of Service
      This Summons was served by delivedng a true copy and the Complaint (or other initiating document) to:

      this _ _ day of _ _ _ _ _ _ _, 2.____

                                                                         Servedby: ------------------------- - -
                                                                         _____________________________Title
Case: 7:16-cv-00227-KKC-HAI Doc #: 1-1 Filed: 10/17/16 Page: 7 of 178 - Page ID#: 25



                            PIKE CIRCillT coiT
                       CASE NO.: \lo-~"A-<1or]
                                   DIVISION :S:-


SARANDA WOLFORD;

SHEILA TAYLOR;

KATRINA ATKINSON;

And

T'EBONY JOHNSON                                                     PLAINTIFFS

v.                           PLAINTIFFS' COMPLAINT

BAYER CORPORATION
100 Bayer Rd., Building 4
Pittsbur$h, PA 15205

      SERVE:       Corporation Service Company, Registered A_gent
                   421 West Main Street
                   Frankfort, KY 40601
And

BAYER HEALTHCARE LLC.
100 Bayer Blvd.
Whippany, N.J. 07981

      SERVE:       Corporation Service Company, Registered Agent
                   421 West Main Street
                   Frankfort, KY 40601
And

BAYER ESSURE, INC., (F/KJA CONCEPTUS, INC.)
100 Bayer Road
Pittsburgh, PA 15205

      SERVE:       Corporation Service Company
         '
                   2711 ·Centerville Road, Suite 400 ·
                   Wilmington, DE 19808
      And




                                                                                       '.
Case: 7:16-cv-00227-KKC-HAI Doc #: 1-1 Filed: 10/17/16 Page: 8 of 178 - Page ID#: 26



SERVE:       The Kentucky Secretary of State
                   Service of Summons
                   Room 86, State Capitol
                   Fra!lkfort, KY 4060 I

Address for Service pursuant to KRS §454.210:

                     Corporation Service Company
                     2711 Centeriille Road, Suite 400
                     Wilmington, DE 19.808

And

BAYER HEALTHCARE PHARMACEUTICALS INC.
100 Bayer Blvd.
Whippany, NJ 07981

       SERVE:        Corporation Service Company, Registered Agent
                     42 1 West Main Street
                     Frankfort, KY 40601
And

PIKEVILLE MEDICAL CENTER, INC.                                       DEFENDANTS
911 Bypass Road
Pikeville, KY 41501

       SERVE:        Pamela Todd May
                     127 Park Street
                     Pikeville, KY 41501




                                                ll
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                                COMPLAINT FOR DAMAGES

         COMES NOW, the above named Plaintiffs by and through their undersigned counsel,

and state as their Complaint for Damages against BAYER CORPORATION, BAYER

HEALTHCARE LLC., BAYER ESSURE, INC., (f/k/a CONCEPTUS, INC.), and BAYER

HEALTHCARE PHARMACEUTICALS, INC., (collectively herein referred to as "Bayer" or

"Conceptus" or the "Bayer Defendants"), and PIKEVILLE MEDICAL CENTER ("PMC"), for

personal injuries suffered as a result of being prescribed and implanted with the defective and

unreasonably dangerous product Essure®:

I.       INTRODUCTION

         1.    This is an action for the serious and permanent injuries incurred by the Plaintiffs.

resulting from the promotion, sale, and distribution of an unreasonably dangerous and defective

medical device product known as Essure®.

         2.     Conceptus Inc. ("Conceptus") came up with the idea for the Essure® device in

 1998.

         3.     At that time, Conceptus was in hundreds of millions of dollars .of debt.

         4.     The marketplace for permanent birth control was and is enormous. In _2007,

 Conceptus estimated that 700,000 American women undergo incisional tubal ligation each year.

 The market presented a huge business opportunity to Conceptus.

         5.     The Essure® system consists of two metal coils that are implanted into a woman's

 fallopian tubes that expand and are intended to elicit tissue growth that causes blockage of the

 tubes and thus prevents conception.

         6.     The device was intended to be promoted as a simple solution to permanent birth

 control needs, and as safer than all other permanent birth control options.




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       7.      By the time FDA approved Essuree for sale in 2002, it was Concept~s' only
                          I
commercial product.

       8.      Conceptus relied entirely on the success of Essure® to solve its massive debt

problems and achieve profitability.

       9.      Essuree was a unique contraceptive device and the first of its kind on the market.

       10.     As such, Conceptus knew that physicians and patients needed to trust the safety of

the device for it to be accepted in the marketplace and compete with other, more established and

traditional alternative methods of permanent birth control.

       11 .    Conceptus knew that any apprehensions about the safety of the Essuree device orl

the part of physicians or patients could devastate sales and lead to the complete failure of the

company.

       12.     To promote the perceived safety of the device and gain market acceptance,

Concep~- devised    and implemented a scheme to defraud physicians and patients, by means of

false and fraudulent pretenses, representations and concealment of material facts.

       13.     After Essure® came onto the market, thousands of Essure® patients complained of

adverse events directly to Conceptus.

       14.     Conceptus knew that if those complaints made it to the FDA and became public

knowledge, it would inevitably result in changes to the Essure® label, its risk/benefit profile,

related physician advice, and patients' decisions.

       15.     In short, Conceptus knew. that if the true safety risks and consequences were

known to the public, sales of the device would plummet.

       16.     As a result, Conceptus made a decision to hide these safety risks and

consequences from the FDA and the public.



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           17.   Conceptus was obligated under federal law to report the patients' complaints to

the FDA.

           18.   Conceptus withheld the vast majority of those complaints.
                                                                      !
           19.   At the same time, · Conceptus conducted enormous and aggressive marketing

campaigns that disseminated what they knew to be false and misleading statements pertaining to

the convenience, safety and efficacy of the device.

           20.   Conceptus engaged in substantial, widespread and systemic false, misleading and

illegal promotional activities to encourage physicians and patients to use the Essure® device.

           21.   While Conceptus engaged in substantial, widespread and systemic false,

misleading and illegal promotional activities, it violated its duty owed to the physicians and

patients, in concealing and failing to warn the physicians and patients of the known serious

increased risks and complications stemming therefrom.

           22.   Conceptus knew that the withholding of safety information and adverse events, as

well as the dissemination of false and misleading statements pertaining to the Essure® device was
                                              .
illegal.

           23.   In fact, the FDA cited Conceptus several times for withholding safety

information.

           24.   Conceptus knew that manipulating the public's knowledge of safety risks

associated with Essuree exposed patients to serious dangers and greatly increased adverse risks.

           25.   Despite knowing of these dangers and the illegality of their behavior, Conceptus

continued to carry out its false and unlawful marketing and promotional scheme.




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       26.     These illegal efforts·proved to be highly effective, leading to hundreds of millions

of dollars in revenue for Conceptus, and an eventual buyout of the company by Bayer for

approximately $1.1 billion· in 2013.

       27.     Bayer continued illegally hiding the true safety risks ofEssure®.

       28.     Those same tactics could not continue working for Bayer.

       29.     In 2013, the FDA began promoting the use of the MedWatcher app, a system that

allowed patients   ~ith   complaints to report their problems directly to the FDA itself, as opposed

to the manufacturer.

       30.     By that time, thousands of women adversely affected by the Essure® device had

formed a support group named 11Essure Problems 11 on Facebook, a digital social network.

       31.     The group currently consists of over 28,000 members.

       32.     Conceptus and Bayer had been able to effectively silence their voices and conceal
                           I




their complaints for years because the companies controlled what information did and did not

make it to the FDA.

       33.     However, through the use of the MedWatcher app, in the fall of 2013 these

women began to stand.'Qp to Bayer and report their problems directly to the FDA.

       34.     At· that point, Bayer knew Essure® was wreaking havoc on the lives of thousands

of women.

        35.    Bayer could have chosen to acknowledge the true weight of all of this safety

information and stopped promoting the device.

        36.    But with over ·a billion dollars invested in Essure®, Bayer chose to protect its

investment and continue promoting the false impression that the device was safe.




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             37.    Bayer knew that they could no · longer hide complaints made through

     MedWatcher, because those reports were made directly to the FDA.

             38.    So Bayer began to employ new tactics to conceal and downplay the true safety

     risks of Essure®.
,,
             39.    Bayer carefully manipulated its reports to the FDA and presented false and

     misleading information.

             40.    Bayer did this in an effort to maintain the impression that the Essure® device had

     a positive risk/benefit profile and to guard sales.

             41.    The women affected by Essure® and the Essure® Problems group, however,

     would not let Bayer continue to mislead the FDA and more women.

             42.    They demanded that the FDA take meaningful action to investigate and evaluate
                                              (
     the growing of scientific knowledge concerning Essure®.

             43.    At their insistence, in September of 2015 the FDA convened a meeting of the

      Obstetrics and Gynecology Devices Panel of the Medical Devices Advisory Committee to hear

     concerns from experts and patients, and plan recommendations for the Essure® device.

             44.    At the hearing, experts funded by the Essure® Problems group testified as to the

     many safety problems they had begun to observe with the device.

             45.     Shortly after the hearing, researchers from Cornell University published a study in

     · the British Medical Journal with devastating conclusions about the comparative safety profile of

      Essure®.

             46.     The study compared thousands of women from New York State who had

      undergone either a traditional tubal ligation or received the Essur~® implant, and concluded that

      women receiving Essure® were ten times more likely to require a correetive reoperation.




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         47.     As a result of this study and the efforts of the Essure~ Problems group, the FDA

finally took drastic action.

         48.     In early March of this year, the FDA announced that it would require a detailed

boxed warning for the Essure® device.

         49.     The FDA reserves boxed wammgs, commonly referred to as "black box

warnings," for only the most serious adverse events.

         50.     Boxed warnings indicate the highest level of risk.

         51.     The FDA will further require that every potential Essure® patient receive and sign

a detailed checklist specifically tailored to the risks associated with the device.

         52.     In its current fonn, this patient decision checklist   requir~s   a patient's initials and

signature fifteen separate times.

         53.     The checklist specifically warns of device migration and perforation of organs,

side effects that Conceptus and Bayer had been cited for hiding from the FDA and the public for

years.

         54.     Finally, women considering the device will have the chance to be fully informed

of its true risks.

         55.     Conceptus and Bayer knowingly and purposefully concealed these risks for years.

         56.     Now, Congr.ess is calling for the removal ofEssure®from the market.

         57.     Spurred to action by the Essure® Problems group, Pennsylvania Congressman

Mike Fitzpatrick has been the leading voice in Congress on the issue.

         58.     Oi:i November 4 of 2015, Congressman Fitzpatrick introduced a bipartisan bill

entitled the "E-Free Act" which would entirely ban sales of the Essure® device.




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       59.     Congressman Fitzpatrick stated that it was imperative that Bayer immediately end

production of a product that poses such a danger to patient safefy.

       60.     Unfortunately, Plaintiffs herein were not afforded the knowledge and       warni~gs

that would have informed and protect~d them.




II.    PARTIES

       A.      PLAINTIFFS.

       61.     Plaintiff, Saranda Wolford, is a resident of Georgetown, Scott County, Kentucky;

and she was first injured in the city of Pikeville, Pike County, Kentucky, after she was implanted

with the Essure® device during a procedure at Pikeville Medical Center in Pike Co~ty,

Kentucky.

       62.     Plaintiff, Sheila Taylor, is resident of Prestonsburg, Floyd County, Kentucky; and

·she was first injured in the city of Pikeville, Pike County, Kentucky, after she was implanted

with the Essure® device cJuring a procedure at Pikeville Medical Center in Pike County,

Kentucky.

       .63.    Plaintiff, Katrina Atkinson, is a resident of Virgie, Pike County, Kentucky; and
                                                                                      \




she was first injured in the city of Pikeville, Pike County, Kentucky, after she was implanted

with the Essure® device during a procedure at Pikeville Medical Center in Pike County,

Kentucky.

        64.    Plaintiff, T'Ebony Johnson, is a resident of Louisville, Jefferson County; and she

was first injured in the city of Louisville, Jefferson County, Kentucky after she was implanted




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with the Essure® device during .a procedure at the Norton OB/GYN Associates Downtown
                                                                                  .  .
location in Jefferson County, Kentucky.

   . \ B.      DEFENDANTS.

       65.     BAYER CORPORATION is a for-profit corporation incorporated in the state of

Indiana with its principal office at 100 Bayer Rd. Building 4, Pittsburgh, PA 15205, and is a

wholly-owned subsidiary of Bayer A.G. Defendant, Bayer Corporation, is authorized to do

business in the Commonwealth of Kentucky, and its registered agent for service of process is

Corporation Service Company, 421 West Main Street, Frankfort, KY 40601. Defendant Bayer

Corp. is engaged in the business of researching, developing, designing, licensing, manufacturing,
        .                              .
distributing, selling, and marketi~g its products, including the Essure® device.

       66.     BAYER HEALTHCARE LLC is a for-profit corporation incorporated in the state

of Delaware and is a wholly-owned subsidiary of Bayer A.G. Defendant, Bayer Healthcare

LLC., has a principal office of 100 Bayer Blvd., Whippany, N.J. 07981. It is authorized to do

business in the Commonwealth of Kentucky, and its registered agent for service of process is

Corporation Service Company, 421 West Main Street, Frankfort, KY 40601. Defendant Bayer

Healthcare LLC is engaged in the business of researching, developing, designing, licensing,

manufacturing, distributing, selling, and marketing its products, including the Essure® device.

       67.     BAYER ESSURE®, INC. (f/k/a CONCEPTUS, INC.) is a for-profit corporation

incorporated in the state of Delaware, and is a wholly-owned subsidiary of Bayer A.G. and/or

Bayer HealthCare LLC. On or about April 28, 2013, Conceptus, Inc. entered into an Agreement

and Plan of Merger (the "Merger Agreement") with Bayer HealthCare LLC. On or about June 5,

2013, pursuant to the Merger Agreement, Conceptus, Inc. became a wholly-owned subsidiary of

Bayer HealthCare LLC and/or Bayer A.G., and thereafter renamed "Bayer Essure®. Inc." For•




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purposes of this Complaint, Conceptus, Inc. and Bayer Essure® Inc. are on~ and the same. Bayer

Essure® Inc.'s headquarters are located at 331 East Evelyn Avenue, Mountain View, California
               .                                                       .
94041. Service is proper on the Kentucky Secretary of State pursuant to KRS § 454.210.

Defendant, Bayer Essure® Inc., is engaged in the business of researching, developing, designing,

licensing, manufacturing, distributing, selling, and µiarketing its 'products, including the Essure®

device.

          68.   BAYER      HEALTHCARE          PHARMACEUTICALS,             INC.   is ' a   for-profit

corporation incorporated in the state of Delaware and is a wholly owned subsidiary of Bayer

A.G. Defendant Bayer Healthcare Pharmaceuticals, Inc., has a principal office of 100 Bayer

Blvd., Whippany, NJ. 07981. Defendant, Bayer Healthcare Pharmaceuticals is authorized to do

business in the Commonwealth of Kentucky, and has a registered agent for service of process of

Corporation Service Company, 421 West Main Street, Frankfort, KY 40601. Defendant Bayer

Healthcare Pharmaceuticals, Inc., is engaged in the .business . of researching, developing,

designing, licensing, manufacturing, distributing, selling, and marketing its products, including

the Essure®device.

          69.   BAYER A.G. is a German for-profit corporation. Bayer A.G. is authorized to and

does business in the Commonwealth of Kentucky through its wholly owned subsidiaries. At all

relevant times, Bayer AG and one or more of its groups or divisions has been engaged in the

bbsiness of researching, developing, designing, licensing, manufacturing, distributing, supplying,

selling, marketing, and/or introducing into interstate commerce, either directly or indirectly

through third parties or related entities, its products, including the Essure® device.




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          70.       . Defendants Bayer Corp., Bayer Healthcare LLC, Bayer Essure®, Inc. (f/k/a

 Conceptus), and Bayer Healthcare Phannaceuticals, Inc., are hereafter collectively referred to as

 "Bayer" or the "Bayer Defendants."

          71.       PIKEVILLE MEDICAL CENTER, INC. (hereinafter "PMC"), is a Kentucky

 corporation whose principal ·office is located at 911 Bypass Road, Pikeville, Kentucky 41501.

, The registered agent for service of process·is Pamela Todd May, 127 Park Street, Pikeville, KY

 41501.

          72.       At all times relevant hereto, PMC held itself out to the public as providing
                I

 medical professional services, particularly in the area of obstetrics and gynecological   medic~e,

 and hospital care related to such services. .

          73.       PMC (through its subsidiary and/or affiliated corporations) at all times relevant

 herein, employed Rebecca Hobbs, D.O., Aaron Crum, M.D., and Jennifer Erin Mullins, M.D.

 while they provided general medical and surgical treatment to Plaintiffs Wolford, Taylor and

 Atkinson. ·

          74.       At all relevant times herein, PMC provided hospital treatment related to the

 general medical and surgical treatment provided by Dr. Hobbs, Dr. Mullins and Dr. Crum to

 Plaintiffs Wolford, Taylor and Atkinson.

          75.       In providing such medical and surgical treatment to Plaintiffs, Dr. Hobbs, Dr.

 Mullins and Dr. Crum were the actual and/or ·ostensible agents, servants and/or employees of

 PMC.

          76.        At all relevant times herein mentioned, Bayer authorized and directed and/or

 participated in the promotion and sale of Essure®, when they knew, or with the exercis~ of

 reasonable care should have known, of the increased risks, hazards and unreasonably dangerous




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propensities, and thereby actively participated in the tortious conduct which resulted in the

serious injuries to the Plaintiffs described herein.

        77.    There exists, and at all times herein mentioned, there existed, a unity of interest in

ownership between the certain Defendants and other Defendants such that any individuality and

separateness between them has ceased and these Defendants are the alter ego of the other certain

Defendants and exerted control over those Defendants. Adherence to the fiction of the separate

existence of these certain Defendants as any entity distinct from other certain Defendants will

permit an abuse of the corporate privilege and would sanction fraud and/or would promote .

injustice.

        78.     At all times herein mentioned, the Bayer Defendants were engaged in the business

of, or were successors in inter~st to, entities engaged in the business of researching, designing,

formulating, compounding,         testing, manufacturing, producing, assembling, inspecting,

distributing, marketing, labeling, promoting, packaging, prescribing and/or advertising for sale,

and selling the Essure® device. These products were for use by the Plaintiffs and Plaintiffs'

physicians. As such, each of the Bayer Defendants are each individually, as well as jointly and

severally, liable to the Plaintiffs for ~eir damages.

        79.     The harm caused to Plaintiffs resulted from the conduct of one or various

combinations of the Defendants, and through no fault of Plaintiffs.    ~here   may be uncertainty as

to which one or which combination of Defendants caused the harm. Defendants have superior

knowledge and information on the subject of which one or which combination of the Defendants

caused Plaintiffs' injuries.

        80.     Thus, the burden of proof should be upon each Defendant to prove that the
                                                                                    I


Defendant has not caused the harms suffered by the Plaintiffs.




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ill.   JURISDICTION AND VENUE

       81.     This Court has both general and specific personal jurisdiction over Defendants.

The Court has personal jurisdiction pursuant to KRS § 454.210 over the Defendants because, at

all relevant times, they have engaged in substantial business activities in the Commonwealth of

Kentucky. At all relevant times,. the Bayer Defendants transacted, solicited, and conducted

business in Kentucky through their employees, agents, and/or sales representatives, and derived

substantial revenue from such. business in Kentucky by marketing the Essure® device to the

women of the state. At all relevant times, PMC is and was Kentucky Corporation providing

medical services in the Commonwealth of Kentucky. The contacts of both the Bayer Defendants

and PMC were and are systematic, continuous and substantial. The Court also has personal

jurisdiction over the Bayer and PMC because, at all relevant times, Defendants were either

present or domiciled iri the state and/or consented to jurisdiction in the state by way of

registering to do business herein. Jurisdiction in this court is also proper because the Defendants

committed torts in whole or in part against the Plaintiffs in the Commonwealth of Kentucky, and

contracted to supply goods in Kentucky. Further, there is no federal subject matter jurisdiction
                   .
because no federal question is raised, and there is no diversity jurisdiction.

       82.     There is no federal diversity jurisdiction, because Plaintiffs and Defendant PMC
                                                                                 ·-...

are Kentucky residents.

       83. · Venue is proper in this Court, pursuant to KRS § 452.450, as the conduct which

gave rise to Plaintiffs Wolford, Taylor and Atkinson's actions occurred in the County of Pike,

Kentucky and they were first injured by the ·wrongful acts and negligent conduct of Defendants

in Pike County. Venue is also proper in this Court for Plaintiff Johnson'_s claims, as a transitory

action that may be brought against the Bayer Defendants pursuant to KRS § 452.480.




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          84.   The Defendants herein are all properly joined in this action pursuant to Ky. CR

20.01 as the Plaintiffs asserts jointly, severally, or in the alternative, a right to relief in respect of

or arising out of the same transaction, occurrence, or series of transactions or occurrences, and a
                                     '  r"



question of law or fact is common to all Defendants in the action.

IV.       FACTS

          A.    DESCRIPTION OF ESSURE® AND HOW IT WORKS.

          85.   Essure® is a Class III medical device manufactured, designed, formulated, tested,

packaged, labeled, produced, constructed, assembled, marketed, advertised, promoted,

distributed, and sold by Bayer. 1

          86.   In April 2002, Conceptus, the original manufacturer of Essure®, submitted its

Premarket Approval Application to the United States Food and Drug Administration ("FDA")

for the Essure® system. The Essure® system was approved by the FDA on November 4, 2002.

At the time of approval, Essure® was manufactured and marketed by Conceptus, Inc. (Bayer

acquired Co~ceptus on June 5, 2013).2

          87.   Essure® is considered a permanent form of female birth control and therefore is

not intended to be remo~ed. 3

          88.   The Essure® system consists of three components: (1) two micro-inserts (coils),

(2) a disposable delivery system, and (3) a disposable split introducer. All components are

intended for single use.




1
 See "Essu_re• Permanent Birth Control: Regulatory History," available online at:
http://www.fda.gov/MedicalDevices/Productsand.MedicalProcedures/lmplantsandProsthetics/EssurePerm
anentBirthControVucm452270.htm
2
    Id.
'3 See "Essure • Permanent Birth Control," available online at:
 http://www.fda.gov/Medica]Devices/ProductsandMedicalProcedures/ImplantsandProsthetics/EssurePerm
 anentBirthControl/default htm


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          89.    The Essure® micro-inserts are constructed of a stainless steel inner coil, a

dynamic outer coil made from a nickel and titanium alloy, called Nitinol, and a layer of

polyethylene terephthalate, or polyester fibers, wound between the inner and outer coils.4

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          90.    Ess~re®'s disposable delivery system consists of a single handle containing a

delivery wire, release catheter, and delivery catheter. The micro-inserts are attached to the

delivery wire. The delivery handle controls the device, delivery, and release. Physicians are

allowed to visualize this     compli~ted   process through the hysteroscopic (camera) equipment

provided                                            by                                         Bayer. 5




          91.     During the Essure® system implantation procedure, a physician inserts the

Essure® micro-inserts through the vagina and cervix and into the fallopian tubes via Defendants'

disposable delivery system using a hysteroscope for guidance.




4
    Essure®Micro-Insert shown below in its "Wound-Down Configuration", attached to release catheter:
5
    Essure® Delivery System is pictured below.


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              92.                         Once the physician ha5 properly positioned the delivery system in the fallopian

tube, the physician releases the micro-insert.                                                                          When released, the micro-insert automatically

expands to the contours of the fallopian tube _to anchor into the fallopian tube permanently.~


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              93.                         After implantation and over a 3-month period, the polyethylene terephthalate

(PET) fibers on the micro-inserts are supposed to elicit tissue growth around the coils, which

causes bilateral occlusion (blockage) of the fallopian tubes. The build-up of tissue creates a

barrier that keeps sperm from ·reaching the eggs, thus p~eventing concei:>tion.
                                                                                                                                                                                                7
                                                                                                                                                                                                       During the 3-

month time period, the woman must use another form of birth control while tissue in-growth

occurs.

              94.                         At 3-months following the procedure, the patient is to receive a "Confirmation

Test" to determine whether the Essur~® micro-inserts have created a complete occlusion in each

fallopian tube. The Confirmation Test used is a hysterosalpingogram ("HSG Test"), which is

performed by slowly adding contrast dye into the uterus until the uterine comua are distended.

Bayer has admitted that the HSG test is "often painful" and "is also known to be highly

inaccurate, with false-positive results in as many as 40% of HSG-diagnosed cases of proximal

tubal occlusion ("PTO").                                              Various factors are believed to be responsible for these false

indications of tubal occlusion, including tubal spasm (a natural function of the tubes) and a build-

up in the tube of natural cellular debris and mucous."




6
    ~ssure~ Micro-insert shown below in its "Expanded Configuration!'
7
    See "Essure Permanent Birth Control," available online                                                                         at:               .
http://www.fda.gov/MedicalDevices/ProductsandMedicalProcedures/ImplantsandProsthetics/EssurePenn
anentBirth Control/default.htm                                                         "


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           B.       MEDICAL DEVICE REGULATORY FRAMEWORK.

           95.      To understand the full scope of the allegations contained in this Complaint, a brief

    general background regarding the applicable FDCA provisions is warranted, as well as an

    application of those laws to the present case.8

           96.      The United States Food and Drug Administration ("FDA") is the federal agency

    of the United States of America that is charged with safeguarding the health and safety of the

    public by enforcing the Federal Food, Drug and Cosmetic Act, 21 U.S.C. § 301, et seq. (2012)

    (the "FDCA").9

           97.     ·In 1976, Congress enacted the Medical Device Amendments of 1976 ("MDA") to

    extend the coverage of the FDCA to medical devices. The MDA was passed to protect patients

    with the idea that medical devices should be subjected to a rigorous approval process for specific

    indications before medical device manufacturers are allowed to market them. Therefore, the

    FDA has authority over drugs and medical devices under the FDCA and the MDA.

            98.     The MDA established three regulatory classes for medical devices. The three

    classes are based on the degree of control necessary to assure that the various types of devices

    are safe and effective according to user risk. Class I Medical Devices pose the least risk,

    whereas Class III Medical Devices pose the greatest risk to the users. 10

            99.     Class I Medical Devices are subject to "general controls" such as labeling

    requirements. 11 Class II Medical Devices are subject not only to "general controls," but also to

    "special controls" such as "performance standards, post market surveillance, and patient

    8
.      Plaintiffs are not seeking to enforce these provisions in this action. Likewise, Plaintiffs are not suing
    merely because the Bayer Defendants' conduct violates these provisions. Rather Plaintiffs are alleging
    that the Bayer Defendants' conduct that violates these federal regulations, as well as the PMA obtained
    for Essure® also violates parallel state laws.                                          ·
    9
      The ultimate responsibility for the safety of a medical device rests with the manufacturer.
    10
       21 U.S.C. § 360c(a)(l) (2012).
    11
       21 U.S.C .. § 360c(a)(l)(A) (2012).


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registries."
               12
                    If a device cannot be determined   to provide a reasonable assurance of safety and
effectiveness under Class I or II controls and is either marketed as a life supporting device or

may cause an unreasonable risk of illness or injury, then it rises to the level of a Class III

Medical Device. 13

           100.     Class III Medical Devices are the most regulated. The MDA defines a Class III

Medical Device as one that supports or sustains human life or is of substantial importance in

preventing impairment of human health or presents a potential, unreasonable risk of illness or
       14
injury .     Class III Medical Devices pose the greatest risk of death or complications and include

most implantable surgical devices.

           101.     Essure® is a Class III device and received FDA's most stringent review prior to

marketing, using the Premarket Approval (PMA) process. 15

                    1. Class III Medical Device Pre-Market Approval Reguirements.

           102.     Before a company can market a Class III Medical Device, the compatiy is

required to submit a premarket application to the FDA supported by data that provides the FDA·

with a reasonable assurance that the medical device is safe and effective for its intended use. 16 In

order to show safety and effectiveness, the applicant is required to submit evidence to the FDA,

typically in the form of clinical trlal results.

           103.     A PMA application must contain certain information, which is critical to the

FDA's evaluation of the safety and efficacy of the medical device at issue.




12
   21 U.S.C. § 360c(a)(l)(B) (2012).
13
   21U.S.C.§360c(a)(l)(C) (2012).
14
   Id Bayer's Essure® is a Class III Medical Device.
15
   See "Essure Pennanent Birth Control: Regulatory History," available online at:
http://www.fda.gov/MedicalDevices/ProductsandMedicalProcedures/ImplantsandProsthetics/EssurePenna
nentBirthControl/ucm452270.htm
16
   21 U.S.C. § 360e(a)(2), § 360e(d)(l)(B)(iii), §360e(dX2)(A) (2012).


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       104.     Once the FDA has approved a medical device through the PMA application

process (such as Essure®) the manufacturer/applicant is required to comply wi~h the standards

and conditions set forth in the PMA approval letter. 17

       105.     A Class III device that fails to meet the PMA requirements after marketing is

considered to be adulterated under § SOl(f) of the Federal Food, Drug and Cosmetic Act

('~FDCA,,)   and cannot continue to be marketed.

       106.     Essure®'s PMA was accompanied by an attachment setting forth the general

"Conditions of Approval.,, Some of the notable conditions made available to the public via the

FDA's website required Defendant to:

                A)     Conduct two Post-Approval Studies to: (1) gather five-year follow up
                       information on the participants in the two preqiarket clinical trial patient
                       cohorts (Phase 2 trial and Pivotal Trial~ and (2) evaluate bi!ateral
                       placement rate for newly trained physicians. 8

                B)     Warranty statements must be truthful, accurate, and not misleading, and
                       must be consistent with applicable Federal and State laws. 19

                C)      Submit a PMA supplement when unanticipated adverse effects, increases
                        in the incidence of anticipated adverse effects, or device failures
                        necessitate a labeling, manufacturing, or device modificatio~. 20

                D)      Submit post-approval reports required under 21 C.F.R. § 814.84 at
                        intervals of 1 year from the date of approval of the original PMA, which
                        shall include: (1) a bibliography and summary of the following
                        information not previously submitted as part of the PMA and that is
                        known to or reasonably should be·known to the applicant: (i) unpublished
                        reports of data from any clinical investigations or nonclinical laboratory
                        studies involving the device or related devices ("related" devices include



17
   21 C.F.R. § 814.80 (2012).
18
   See "Essure Pennanent Birth Control: Regulatory History," available online at:
http://www.fda.gov/MedicalDevices/ProductsandMedica!Procedures/lmplantsandProsthetics/EssurePenna
nentBirthControl/ucm452270.htrn
19
   See http://www.accessdata.fda.gov/cdrh docs/pdf2/P020014a.pdf (The FDA specifically states that it
does not evaluate infonnation related to contract liability warranties).
20
   See htq>://www.accessdata.fda.gov/cdrh docs/pdf2/P020014a.pdf


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                                    .,                    ..
                        devices which are the same or substantially similar.· to the applicant's
                        device); and (ii) reports in the scientific literature concerning the device. 21

                  E)    Submit 3 copies of a written report identified, as applicable, as an
                        "Adverse Reaction· Report" or "Device Defect Report" within 10 days
                        after the applicant receives or has knowledge of information concerning,
                        in part: (1) any adverse reaction side effect, injury, toxicity, or sensitivity
                        reaction that is attributable to the device and: (i) has not been addressed by ,
                        the device's labeling; or (ii) has been addressed by the device's labeling
                        but is occurring with unexpected severity or frequency; (2) any significant
                        chemical, physical or other change or deterioration in the device, or any
                        failure of the device to meet the specifications established in the approved
                        PMA that could not cause or contribute to death or serious injury but are
                        not correctable by adjustments or other maintenance procedures described
                        in the approved labeling.22           .


                  F)     Report to the FDA whenever they receive or otherwise become aware of
                         information, from any source, that reasonably suggests that a device
                         marketed by the manufacturer or importer: (1) may have caused. or
                         contributed to a death or serious injury; or (2) has malfunctioned and such
                         device or similar device marketed by the manufacturer or importer would
                         be likely to cause or contribute to a death or serious injury if the
                         malfunction were to recur. 23 ,

           107.   The FDA made clear in the PMA order that "[t]ailure to comply with the

conditions of approval invalidated this approval order and commercial distribution of~ device
                                                                            24
that is not in compliance with these conditions is a violation of the act."

                  2. General Reporting Duties to the FDA are Required After the PMA
                     Process.

           108.   A medical device manufacturer's obligations do not end with the FDA's Premarket
                                                                                 . I

Approval ("PMA") process.

           109.   Under federal law a medical device manufacturer has a continuing duty to

monitor its product after premarket approval and to discover and report to the FDA any



21 Id.
22 Id.
23   Id.
24   Id.


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complaints about the produces performance and any adverse health consequences of which it

became aware and that ar.e or may be attJ:ibutable to the product.25

       110.    Accur~te   reporting of adverse events is essential, as it serves to notify the pu~lic

that a potential problem with the device exists, and can prompt an informed person or .

organization to develop a solution. The FDA and others, including the public, rely upon accurate

and timely reporting of adverse events. Post-market surveillance by the FDA is hampered when

mandatory reporting terminology is not clear, accurate, and consistent.

       111.    Manufacturers are required to report to the FDA "no' later than 30 calendar days

after the day: the manufacturer receives or otherwise becomes aware of information, from any

source, that reasonably suggests that a device" marketed by the manufacturer:

               A)      may have caused or contributed to death or serious injury; or

               B)      has malfunctioned in a manner that would likely '.'cause or contribute to a
                       death or serious injury" if it recurred. 26
                                                                .
       112.    "Becomes aware" means that an employee of the entity required to report has

acquired information that reasonably suggests a reportable adverse event has occurred.27 A

manufacturer is considered to have become aware of an event when any of its employees

becomes aware of a reportable event that is requir~ to be reported within 30 calendar days. 2~ A

manufacturer is also considered to have become aware of an event when any of its employees

with management or supervisory responsibilities over persons with regulatory, scientific, or

technical responsibilities, or whose duties relate to the collection and reporting of adverse events,

becomes aware, from any information, including any trend analysis, that a reportable Medical


2
 s 21 C.F.R. § 803.SO(a) (2012); 21 U.S.C.§360i(a) (2012).                                       .
26
   21 C.F.R. § 803.SO(a); see also 21 U.S.C. § 360i(a) (further detailing the post approval reporting
requirements applicable to device manufacturers).
27
   See 21 C.F.R. § 803.3(b) (2012).
2a Id


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                                                                                               ,
Device Report ("MDR") event or events necessitates remedial action to prevent an unreasonable

risk of substantial harm to the public health.29

           113.   "Serious injury" is defined as an injury or illness that: (1) is life-threatening, (2)

resul.ts in permanent impairment of a body function or permanent damage to a body structure, or

(3) necessitates medical or surgical intervention to preclude permanent impairment of a body

function or permanent damage to a body structure. Permanent means irreversible impairment or

damage to a body structure or function, excluding trivial impairment or damage.Jo

           114.   "Malfunction" is defined as a failure of a device to meet its performance

specifications or otherwise to perform as intended.JI         Performance specifications include all

claims made in the labeling for the device.J2 The intended performance of a device refers to the

intended use for which the device is labeled or marketed. 33

           115.   A malfunction should be considered reportable if any one of the following is true:

                  (1)     the chance of a death or serious injury resulting from a recurrence ·ofthe
                          malfunction is not remote;
                  (2)     the consequences of the malfunction affect the device in a catastrophic
                          manner that may lead to a death or serious injury;
                  (3)     the malfunction causes the device to fail to perform its essential function
                          and compromises the device's therapeutic, monitoring or diagnostic
                          effectiveness which could cause or contribute to a death or serious injury,
                          or other significant adverse device experiences. The essential function of·
                          a device refers not only to the device's labeled use, but for any use widely
                          prescribed within the practice of medicine; or
                  (4)     the malfunction involves a long-term device irw'lant that would
                          prevent the implant from performing its function.

           116.   Reporters do not need to assess the likelihood that a malfunction will recur. The



29
     See 21 C.F.R § 803.3(b)(2) (2012).
30
     21 C.F.R. § 803.3 (2012).
31   Id.
32 Id
33 Id.
34
   See ''Medical Device Reporting For Manufacturers,'' available online at: \
http://www.fda.gov/MedicalDevices/DeviceRegulationandGuidance/GuidanceDocument'i/ucm094529.htm#al


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    regulation assumes that if a malfunction has occurred once, the malfunction will recur. 35

               117.   "Any complaint involving the possible failure of a device, labeling, or packaging

    to meet any of its specifications shall be reviewed, evaluated, and investigated, unless such

    investigation has already been perfonned for a similar complaint and another investigation is not

    necessary." 36

               118.   "When no investigation is made, the manufacturer shall maintain a record that

    includes the reason no investigation was made and the name of the individual responsible for the

    decision not to investig~te."37

               119.   "Any complaint that represents an event which must be reported to FDA under

    part 803 of the Medical Device Reporting regulations shall be promptly reviewed, evaluated, and ,

    investigated by a designated individual(s) and shall be maintained in a separate portion of-the

    complaint files or otherwise clearly identified.       In addition to the information required by

    820.198(e), records of investigation under this paragraph shall include a determination of: (1)

    [w]hether the device failed to meet specifications; (2) [w]hether     the device was being used for
    treatment or diagn9sis; and (3) [t]he relationship, if any, of the device to the reported incident or

    adverse event."38

               120.   Manufacturers, such as Defendants, may receive device-related complaints from

    information from many different sources, including telephone calls or other verbal
/

    communication, FAX transmissions, written correspondence, sales representative reports, service

    representative ~eports, scientific articles_(literature), internal analyses, and legal documents.39


    3S   Id.
    36
        21 C.F.R. § 820.198(c)(2012) (Emphasis add~d).
    37
        21 C.F:R § 820.l98(b) (2012).
    38
        21 C.F.R. § 820.198(d) (2012) .
     39
    . See "Draft Guidance for Industry and Food and Drug Administration Staff: Medical Device Reporting
     for Manufacturers" available online at:
    Http://www.fda.gov/downloads/MedicalDevices/DeviceRegulationandGuidance/GuidanceDocuments/uc


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        121.    Additionally, manufacturers of Class III Medical Devices are required to m!lke

periodic reports to the FDA regarding approved devices, which must include summaries of:

                A)      unpublished reports of data from any clinical investigations or nonclinical
                        laboratory studies involving the device or related devices and known to or
                        that reasonably should be known to the applicant; and                  ·

                B)      reports in the scientific literature concerning the device and known to or
                        that reasonably should be known to the applicant. 40

        122.    As presented below, Defendants failed to comply with several of ·the

aforementioned conditions of their PMA Order and federal regulations governing medical device

manufacturer reporting requirements.

                3. A Manufacturer Must Follow Current Good Manufacturing Practices.

        123.    Under 21 C.F.R. § 820.l(a) of the Quality System (QS) Regulation for Medical

Devices, current good manufacturing practice (CGMP) requirements are set forth in this quality

system regulation. The requirements govern the methods used in, and the facilities and controls

used for, the design, manufacture, packaging, labeling, storage, installation, and servicing of all

finished devices intended for human use. The requirements are intended to ensure that finished

devices will be safe and effective and otherwise in compliance with the FDCA.41 This part

establishes basic requirements applicable to manufacturers of finished medical devices.

        124. . 2 1 C.F.R. § 820.5 (2012) "Quality Systems", of the FDA regulations states: "Each

manufacturer shall establish and maintain a quality system that is appropriate for the specific

medical device(s) designed or manufactured, and that meets the requirements of this part."

        125.    21 C.F.R. § 820.30(i) (2012): "Design controls" states: "(i) Design changes. Each

manufacturer shall establish and maintain ·procedures for the identification, documentation,


m359566.pdf
40
   21 C.F.R. § 814.84(b)(2) (2012).
41
   See21 C.F.R § 820.l(aX2012).


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validation or where appropriate verification, review, and approval of design changes before their

implementation."

       126.    21 C.F.R. § 820.30(g) (2012): Design validation means establishing by objective

evidence that device specifications conform with user needs ·and intended use(s) and "shall

include testing of production units under actual or simulated use conditions."

       127.    21 C.F.R. § 820.22 (2012): "Quality Audit" states, ip. part: "Each manufacturer

shall establish procedures for quality audits and conduct such audits to assure that the quality

system is in compliance with the established quality system requirements and to determine the

effectiveness of the quality system."

       128.    21 C.F.R. § 820.160(a) (2012): "Distribution" states, in part: "Each manufacturer

shall establish and maintain procedures for control and distribution of finished devices to ensure

that only those devices approved for release are distributed ... " In other words, a manufacturer is

only permitted to distribute a medical device that is approved.

        129.   21 C.F.R. § 820.170(a) (2012): "Installation" states: "Each manufacturer of a

device requiring installation shall establish and maintain adequate installation and inspection

instructions, and where appropriate test procedures. Instructions and procedures shall include

directions for ensuring proper installation so that the device will perform as intended after

installation. The manufacturer shall distribute the instructions and procedures with the devict or

otherwise make 1;hem available to the person(s) installing the device."

        130.   21 C.F.R. § 803 (2012), requires that manufacturers must include information that

is reasonably known to the manufacturer, timely make Medical Device Reporting ("MDR")

submissions, define the procedures for implementing corrective and preventative actions, and

review sampling methods for adequacy of their intended use.



                                                 24
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           131.   21 C.F.R. § 820.100 (2012) "Corrective and Preventive Action" states, in part,

that Manufacturers shall: "estabJish and r;i~intain procedW"es for implementing corrective and

preventive action. The procedures shall include requirements for:

                  A)     AnaJyzing· processes, work operations, concessions, quality audit reports,
                         quaJity records, service records, complaints, returned product, and other
                         sources of quaJity data to identify existing and potential causes of
                         nonconforming product, or other quality problems. Appropriate statisticaJ
                         methodology shaJl be employed where . necessary to detect recurring
                         quaJity problems;

                  B)     investigating the cause of nonconformities relating to product, processes,
                         and the quaJity system;

                  C)     identifying the action(s) needed. to correct and prevent recurrence of
                         nonconforming product and other quaJity problems;

                  D)     verifying or validating the corrective and preventive action to ensure that
                         such action is effec~ive and does not adversely affect the finished device;
                         ~~                                                .


                  E)     implementing and recording changes in methods and procedures needed to
                         correct and prevent identified quality problems.'.42

           132.    "The purpose of the corrective and preventive action subsystem is to collect

information, anaJyze infof:IJlation, identify and investigate product and quality problems, and take

appropriate and effective corrective and/or preventive action to prevent their recurrence.'.43

Implementing corrective and preventive actions "are essentiaJ in dealing effectively with product

and quality problems, preventing their recurrence, and preventing or minimizing device

failures."44

           133.   As presented below, Defendants failed to comply with several of the
                          I
aforementioned conditions of their PMA Order and federal regulations governing medical device

manufacturing processes.


42
     21 C.F.R. § 820.100 (2012).
43
     See http://www.fda.gov/ICECI/Inspections/lnspectionGuides/ucm 170612.htm
44   Id.                      .


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                4. PMA Supplements For Labeling Changes.

        134.    Any changes the manufacturer believes could affect the safety and effectiveness

of the device must be submitted via a ''PMA Supplement," to the FDA for approval. 45

        135.    While the burden for determining whether a supplement is required is primarily

on the PMA holder, changes for which an applicant shall submit a PMA supplement include

labeling changes if they affect the safety or effectiveness of the device. 46

        136.    Most changes to the labeling of a device after premarket approval require prior

FDA approval, but a manufacturer may place into effect:

                A)      "[l]abeling changes that add or strengthen a contraindication, warning,
                        precaution, or information about an adverse reaction for which there is
                        reasonable evidence of a causal.association;

                B)      " [l]abeling changes that add or strengthen an instruction that is intended to
                        enhance the safe use of the device, and;

                C)      "(l]abeling changes that delete misleading, false, or unsupported
                        indications.•'47

        137.    Under those regulations, the manufacturer is required to notify the FDA of

"Changes Being Effected" (C_BE) to a device's labeling.

                5. The FDA Prohibits Misleading Or False Promotion And Marketing.

        138.    Under the FDCA and FDA's implementing regulations, labeling, promotional

advertisements, and making claims about medical devices are deemed misleading if they fail to

disclose certain information about the product's risks.

        139.    Generally, to comply with the FDCA and FDA' s implementing regulations, and

therefore the PMA, such         prom~tional   pieces: (a) Cannot be false or misleading m _any




4
  s 21 C.F.R. § 814.39(a) (2012).
46  Id.
• 1 Id.




                                                  26
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particular;48 (b) Must reveal material facts about the product being p~omoted, including facts

about the consequences that can result from use of the product as suggested in the promotional

piece.49 ·

        140.    The FDA regulates the manufacture, sale, and distribution of medical devices in

the United States under the authority of the FDCA. This authority includes oversight of labeling

and advertising for all medical devices.

        141.    A medical device shall be' deemed to be misbranded if its labeling is false or

misleading in any particular.so Labeling or advertising may be considered misleading if it fails to

reveal material facts about the produ~t being promoted, including facts about the consequences

that can result from use of the product as suggested in a promotional piece.st

        142.    Defendant's PMA approval letter for Essure® specifically states that the FDA

"(d]oes not evaluate information related to contract liability warranties, however [Defendant]

should be aware that any such warranty statements must be truthful, accurate, and not

misleading, and must be consistent with applicable Federal and State laws. ,,si

                6. Violations of Federal Statutes or FDA Regulations· Void the Federal
                   Preemption Defense.

         143.   There is a preswnption against federal preemption of state laws that operate in

traditional state domains.53 "Throughout our history the several States have exercised their

police powers to protect the health and safety of their citizens. States traditionally have had great

latitude under their police powers to legislate as to the protection of the lives, limbs, health,
                                                                                      )




48
   21 U.S.C. §352(a)(2012).
49
   21U.S.C.§32l(n) (2012); 21C.F.R.§ 121(2012).
50
   21 U.S.C. § 352(a) (2012).
51
   See21U.S.C.§32 l(n)(2012). ·
52
   See http://www.accessdata.fda.gov/cdrh docs/pdt2/PQ20014a.pdf
53
   Medtronic, Inc. v. Lohr, 518 U.S. 470, 485 (1996).   .


                                                 27
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comfort, and quiet of all persons." 54

        144.    ''Nothing in § 360k deni.e s [the states] the right to provide a traditional damages

remedy for violations of common-law duties when those duties parallel federal requirements."55

        145.    As the Supreme Court held in Riegel v. Medtronic, Inc., " State requirements are

preempted under the MDA only to the extent that they are "different from, or in addition to" the

requirements imposed by federal law. Thus, § 360k does not prevent a State from providing a

damages remedy for claims premised on a: violation of FDA regulations; the state duties in such a

case "p~allel," rather than add to, federal requirements."56

        146.    "The idea that Congress would have granted civil immunity to medical device

manufactti.rers for their violations of federal law that hurt patients is, to say the least,

counterintuitive.'' 57

        147.    "Medical device manufacturers who subject their Class III devices to the rigorous

premarket approval process are protected by federal law from civil liability so long as they

comply with federal law. That protection. does not apply where the patient can prove that she

was hurt by the manufacturer's violation of federal law."58

        148.     Claims for failure to warn are not preempted. "Failure to warn claims are neither .

expressly nor impliedly preempted by the MDA to the extent that this claim is premised on [the

defendant manufacturer]' s violation of FDA regulations with respect to reporting [adverse
                                   59
outcomes] caused by the deyice."




54
   Id. at 475.
ss Id at 495.
s6 Riegel v. Medtronic, 552 U.S. 3 12, 330 (2008) (internal citations omitted).
s7 Bausch v. Stryker Corp., 630 F.3d 546, 549-550 (7th Cir. 2010). See also, Bausch quoted with approval
bl
5
    the 9th Circuit in Stengel v. Medtronic, Inc., 704 FJ d 1224, 1232 (9th Cir. 2013) (en bane).
   Id at 550 (italicized emphasis original).
59
   Hughes v. Boston Scientific Corp., 631 F.3d 762, 776 (5th Cir. 2011).


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            149.    In Stengel v. Medtronic, Inc., the Supreme Court issued an Order inviting the

    Solicitor General to submit an Amicus Brief expressing the views of the_ United States.

    According to the Solicitor General, only device-specific federal requirements have preemptive

    force while "by contrast FDA's ~eneral manufacturing and labeling regulations do not have

    preemptive force." 60

            150.    The Solicitor General stated that "federal requirement[s] are applicable to the

    device within the meaning of Section 360k(a)(l) only when they are applicable to the device in
                                                    ,
    ·question and, in accordance with FDA regulations, only when they are specific counterpart

    regulations or specific to a particular device. " 61

            151.    This reasoning led the Solicitor General to the conclusion that "[i]f ·a state

    requirement were preempted absent a specific federal requirement that reflects FDA's weighing

    of competing considerations on the same subject and specific to the device, the MDA would

    have the ironic effect of providing less public protection from unsafe and ineffective medical

    devices than pre-MDA law.62

            152.    In Stengel, and similarly in this Complaint, the alleged conduct of the petitioner

    was governed by general manufacturing and labeling regulations applicable to all medical

    devices and not the device's pre-market approval.
                                         .                                        \
           153. It is the opinion of the Solicitor General that respondents' failure to warn claims

    escaped express preemption because "such a claim implicates no preemptive device-specific

    federal requirement.•.63




    60
       U.S. Amicus Br. at 9, Stengel v. Medtronic, Inc., 704 F.3d 1224, 1226 (9th Cir. 2013).
    61
,      Id. at 8-9 (internal citations omitted).
    62
       Id. at 11 (internal citations omitted).
    63
       Id. at 7 (internal citations omitted).


                                                           29
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                                      56


        154.     In summary, while manufacturers who comply with federal law may be entitled to

certain protections, those who violate federal law are not entitled to preemption of state

laws/immunity for their tortious conduct and in fact are liable for their conduct that violates

federal law.

        C.       CONCEPTUS DEPENDED SOLELY ON ESSURE® SALES TO FIX
                 THEIR PROBLEMS WITH MASSIVE DEBT AND ACHIEVE
                 PROFITABILITY.

        155.     Conceptus accumulated hundreds of millions of dollars in debt throughout its

~xistence, never achieved profitability, and looked to sales of the Essure® product as the sole

solution.

        156.     By the end of2007, Conceptus had an accumulated deficit of $235.2 million.

        157.     By the end of 2012, after all of its concerted sales efforts, Conceptus still had an

accumulated deficit of $154.9 million.64

        158.     By that time, Conceptus had been in a cumulative net loss position for twenty

years, since its inception.65

        159.     Conceptus stated that it would remain in an accumulated deficit positio.n unless

Essure® sales grew large enough to offset its expenses.66

        160.     Beginning in 1998, Conceptus focused solely on the design, development, and

clinical testing of Essure®.              \



        161.     By 2002, Conceptus' revenue was derived almost entirely from the sale ofEssure®

to physicians.




64
   See http://www.sec.gov/Archives/edgar/data/896778/000 l l 93 12513098624/d444338d 1Ok.htm#toc
6
 s See http://www.sec.gov/Archives/edgar/data/896778/0001193 l2513098624/d444338d1 Ok.htm#toc
~M                                                   I




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                                       57


         162.    By 2007, Essure® was Conceptus' only commercial product. Conceptus was
                                                                                      .
 entirely dependent on sales of the Essure® device to survive, as these sales accounted for all of

· the company's revenues. 67

         163.    That year, Conceptus stated that if the Essure® device ·did not achieve acceptance

 among physicians and pati~nts, the company would fail to sustain profitability. 68

         D.      MANIPULATING SAFETY INFORMATION ALLOWED CONCEPTUS
                 TO BECOME A VIABLE COMPANY.

         164.     In order to profit from Essure®· and survive, Conceptus needed· to convince

 physicians and women that the device was safe.

         165.    Because Essure® was a wholly unique and new form of birth control, Conceptus

 did not compete with other similar products for share of an existing market.

         166.    Instead, Conceptus needed to create a new market for its product.
                                                                       -
         167.    Physicians and. women needed to accept the safety of Essure® before there could

 be a demand for it.

         168.    Therefore, apprehensions about the device's safety have always been the biggest

 barrier to its success.

         169.    In 2007, Conceptus stated that if the Essure® system did not achieve acceptance

 among physicians and patients, the company would fail to sustain profitability.69

         170.    Conceptus committed all of its resources to persuading physicians and patients to

 accept the Essure® device as a safe method of birth control.

         171.    Throughout its entire history, Conceptus marketed Essure® aggressively through

 the use of public relations and targeted advertising in order to create acceptance of the device


 67
    See http://www.sec.gov/Archives/edgar/data/896778/000110465907007326/a07-3143 18k.htm
 68
    See http://www.wikinvest.com/stock/Conceptus (CPTS)/Filing/1 O-K/2008/F2331313
 69
    See http://www.wikinvest.com/stock/Conceptus (CPTS)/Filing/l O-K/2008/F2331313


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among general practitioners, women and the broader medical community.70

        172.    In April of 2003, Conceptus introduced Essure® at the annual conference of the

American College of Obste~rici ans and Gynecologists and offered two presentations as well as a

Continuing Medical Education accredited symposium with Essure®as the main topic.71

        173.    In June of 2003, Conceptus sent direct mail to 500,000 women, not physicians, in

the Atlanta and Chicago areas.
                                                ,
        174.    The direct mail campaign encouraged those women to contact Conceptus' ~II

centers, who then referred the women to a physician offering Essure® i? her area. 72

        175.    Conceptus also ran numerous regional advertisements in a variety 'of magazines,

such as Parents and Se/f.73

        176.    Conceptus continuously fought to achieve market acceptance for Essure®.

        177.    In 2008, Conceptus targeted women directly again in a marketing campaign that

incorporated print media, radio and television advertising.            The company claimed that the

campaign was meant to drive patient awareness and increase physician office utiliz.ation.74

        178.    Conceptus also employed a robust sales force whose primary goals were to

persuade a growing base of physicians to offer the device. 75

        179.    Conceptus repeatedly treated its warning label as a tool to promote market

acceptance and manipulated it to achieve thoSe goals.

        180.    In 2008, Conceptus stated that it intended to make labeling             improvemen~   to

Essure® in order to increase the adoption of the Essuree procedure. 76


10
   See http://www.sec.gov/Archivesledgar/data/896778/0000891618040007 l 9/t9694 le IOvk.htm
71
   Id.
72
   Id.
73 Id.
74
   See http://www.wikinvest.com/stock/Conceptus CCPTSYFiling/l O-K/2008/F233I313
75
   See http://www.sec.gov/Archives/edgar/data/896778/0001 1 9~ 125 l 3098624/d444338d l Ok.htm
76
   See http://www.wikinvest.com/stock/Conceptus CCPTSYFiling/l O-K/2008/F23313 l 3


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        181 .   At one point, Conceptus' CEO described certain adequate warning information as

merely a barrier to more success in sales.

        182.    Despite mounting complaints of allergic reactions to Essure®, in 2011 , Conceptus

drastically altered the warning label and removed sections that encouraged women to confirm

their tolerance to nickel by use of a skin test.

        183.    Conceptus did not change anything about the device itself or its nickel contents.

        184.    Afterward, the president and CEO of Conceptus stated that the label change

would strengthen the company's standing in the permanent birth control market by diminishing

Essure®'s biggest competitive disadvantage.

        185.    Conceptus then reaffumed its ultimate goal of gaining market acceptance by

stating its intentions to aggressively present the label change to the OB/GYN community. The

company plarmed to target those physicians who were promoting other methods of birth control

because of potential safety issues with the Essurea> device.

        E.      CONCEPTUS AND BAYER CONTINUOUSLY SPREAD FALSE AND
                MISLEADING INFORMATION TO ALTER PERCEPTIONS OF
                ESSURE®'S SAFETY RISKS.
                 .                                                                      .
        186.     Conceptus and Bayer advertised, promoted and marketed on its websites,   its m
print and/or video advertisements, brochures and fact sheets the following representations about

Essure®:

                A)      The Essure® patient brochure stated that Essure® was the "only FDA
                        approved female sterilization procedure to have zero pregnancies in the
                        clinical trials.'' However, there were actually four pregnancies during the
                        clinical trials and five pregnancies during the first year of commercial
                        experience. Between 1997 and 2005, there were 64 pregnancies reported
                        to Defendants. Additionally, there have been 63 1 reports of pregnancies
                        according to the FDA as of December 31, 2015. Furthermore, a recent
                        study indicates that women implanted with Essure® have a ten times
                        greater risk of pregnancy after one year than those who use laparoscopic
                        sterilization. At ten years, the risk of pregnancy is almost four ~es


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                          greater. Defendants concealed this information from Plaintiffs and
                          Plaintiffs' physicians, yet promoted Essure® as a more effective form of
                          permanent sterilization than a tubal ligation.   ·

                  B)      The Essure® website, print advertising, and patient brochure describes
                          Essure® as "worry free," and is a "simple procedure performed in· your
                          doctor's office" that takes "less than 10 minutes" and "requires no
(
                          downtime for recovery" and "Essure® eliminates the risks, discomfort,
                          and recovery time associated with surgical procedures." However,
                          Defendants actively concealed and failed to report complaints of
                          perforations and pain, which occurred as a result of the Essure® procedure.
                          Additionally, Essure® is not worry free because there is an increased risk
                          that the Essure® implants will cause women serious, life-altering
                          complications including but not limited to debilitating pain, heavy
                          bleeding necessitating medication and/or additional surgical intervention,
                          allergic reactions (including but not limited to rashes, itching, bloating,
                          swelling, headaches, tooth- loss, and hair loss), autoimmune disorders,
                          dyspareunia, hysterectomy, and other complications.

                  C)      The Essure® website, print advertising, and patient brochure stated, "the
                          Essure® inserts stay secure, forming a long protective barrier against
                          pregnancy. They also remain visible outside your tubes, so your doctor
                          can confirm that they'~e properly in place." However, the micro-inserts do
                          not necessarily remain securely in the fallopian tubes and can migrate and
                          be expelled by the body, as evidenced by the over 850 reports of device
                          migration as of December 31, 2015. 77                     .


                  D)      The Essure® website, print advertising, and patient brochure stated, "the
                          Essure® inserts are made from the same trusted, silicone free material used .
                          in heart stents." However, the micro-inserts are not made from the same
                          material as heart stents which do not elicit tissue growth. The micro-
                          inserts are made of PET fibers, which trigger inflammation and scar tissue
                          growth. PET fibers degrade and leach carcinogens when placed· in
                          temperatures over 65 degrees, and the human body stays at about 98
                          degrees. As such, PET fibers are not designed or manufactured for use in
                          human implantation. However, the PET fibers are made of the same
                          materials as the PVT material in some vaginal meshes, which have a high
                          rate of expulsion.

                  E)      The Essure® website, print advertising, and patient brochure stated,
                          "Essure® eliminates the risks, discomfort, and recovery time associated
                          with surgical procedures." However, Essure® does not eliminate the risks,
                          discomfort, and recovery time associated with surgical procedures (i.e.
                          tubal ligations) because many women who undergo the Essure® proceditre,

    77
      See http://www.fda.gov/MedicalDevices/ProductsandMedicalProcedures/ImplantsandProsthetics/Essure
    PermanentBirthControl/ucm452254.htm


                                                   34
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                                including Plaintiffs, have never and will never fully recover from the
                                Essure® implant procedure, which has caused them serious, life-altering
                                complications including but not limited to debilitating pain, heavy
                                bleeding necessitating medication and/or additional surgical procedures,
                                allergic reactions (including but not limited to rashes, itching, bloating,
                                swelling, headaches, tooth-loss, and hair loss), autoimmune disorders,
                                dyspareunia, hysterectomy, and other complications.

                       F)       The Essure® website, print advertising, and patient brochure stated,
                                "Essure® is the most effective permanent birth control available, even
                                more effective than tying your tubes or a vasectomy" or words to that
                                effect. Yet, Defendants' SEC Form 10-K filing shows that Defendants
                                never did a comparison to a vasectomy or tubal ligation. Specifically,
'.
                                Defendants stated they "did not conduct a clinical trial to compare the
                                Essure® procedure to laparoscopic tubal ligation."78                   .


               187.     Plaintiffs and Plaintiffs' physicians relied on these representations by Conceptus

     and Bayer in recommending and undergoing the Essure® procedure.

               188.     Conceptus and Bayer advertised, promoted and marketed on its websites, in its

     print and/or     ~ideo   advertisements, brochures, and fact sheets the following about physici.ans

     performing the Essure®procedure, while failing to report the actual material facts:

                       A)       " [p]hysicians must be signed-off to perform Essure® procedure.,,
                                However, Defendants failed to adequately train the implanting physician.
                                and "signed off" on the implanting physician who did not have ·the
                                requisite training.

                       B)       "An Essure® trained doctor inserts spring-like coils, called micro-inserts."
                                However, the implanting physician who implanted the device was not
                                adequately trained.·

                       C)       "The Essure® training program is a comprehensive course designed to
                                provide information and skills necessary to select appropriate patients,
                                perform competent procedures and manage technical issues related to the
                                placement of Essure® micro- inserts for permanent birth control."
                                However, Defendants failed to adequately train the implanting physician.

                       D)       " [i]n order to be trained in Essure® you must be a skilled operative
                                hysteroscopist You will find the procedure easier to learn if you are
                                already proficient in operative hysteroscopy and management of the
                                awake patient. If your skills are minimal or out of date, you should attend

     78
          Conceptus, Inc., AMual Report (Form 10-k) (Mar. 15, 2004).


                                                         35
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                         a hysteroscopy course before learning Essure®." However, Defendants
                         "signed off' on physicians who were not skilled operative hysteroscopists,
                         in order to monopolize and capture the market, including the implan~ing
                         physician.

                  E)     '~[i]n order to be identified as a qualified Essure®physician, a minimum of
                         one Essure® procedure must be performed every 6-8 weeks." However,
                         Defendants "signed off' on "Essure® physicians" who did not perform the
                         procedure every 6- 8 weeks.

                  F)     "[t]he PET fibers are what caused the tissue growth," and Essure® "works
                         with your body to create a natural barrier against pregnancy." However,
                         during a PMA meeting with the FDA in 2002, Defendants represented that
                         the trauma caused by the expanding coil hittmg the fallopian tubes is \.\:'hat
                         causes the inflammatory response of the tissue.

       189.        Plaintiffs and Plaintiffs' implanting physician relied on these representations by

Conceptus and Bayer in recommending and undergoing the Essure® procedure..

       F.         CONCEPTUS AND BAYER HAVE ALWAYS KNOWN THAT ESSURE 1$
                  DANGEROUS.

                  1. Conceptus Was Charged With Early Regulatory Violations.


       190.       From the beginning of the sale of the Essure® device, Conceptus has repeatedly

been cited by regulatory authorities for continuous violations that impacted patient safety.

        191.      In June and July of 2003,_the FDA conducted a Post Market Approval Inspection

of Conceptus. The FDA dted Conceptus for failing to adequately analyze ·an quality data

sources to identify existing and potential causes of non-conforming product and other quality

problems, and failing to follow procedures for the control of products that do not conform to

specifications.

        192.      In June of 2008, the California Department of Pub.lie Health, Medical Device

Safety Section ("CDPH"), conducted an inspection of Conceptus' location in Mountain View,




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    Califox:nia The CDPH issued a Notice of Violation tO Coill?eptus for failip.g to obtain a valid

    license to manufacture medical devices and failing to maintain procedure for inventory transfer.

                      2. Conceptus Knew About A Myriad Of Manufacturing Problems.

               193.   Subsequent to obtaining its PMA, Conceptus became aware of potential quality

    and failure modes ass~ciated with the Essure® devices. For example, Conceptus became aware
                                                                     I




    that the following failures could occur with the device and lead to adverse consequences for    the
    patient:

                       A)    the stainless steel used in the device became unpassivated, which can
                             cause the device to rust;

                      B)     the nitinol could have a nickel rich oxide which the body attacks;

                       C)    the no lead solder could in fact have trace lead in it;

                      D)     the Galvanic action between the metals used to manufacture Essure®,
                             which ca~es the encapsulation of the product within the fallopian tubes,
                             could be a continuous irritant to some patients;

                       E)    the nitinol in the device can degrade due to High Nickel Ion release,
                             increasing the toxicity of the product for patients;

                       F)    latent manufacturing defects such as cracks, · scratches, and other
                             disruption of the smooth surface of the metal coil, may have existed in the
                             finished product, causing excess nickel to leach into the surrounding
                             tissues after implantation;                                       ·

                       G)    PET fibers degrade at 65 degrees, therefore considerable degradation is
(
                             expected at 98 degrees in the hwnan body and degradation products of the
                             PET used in the implant can be toxic to patients, inciting both chronic
                             inflammation and possible autoimmune issues;

                       H)    the mucosal immune response to nickel is different than the immune
                             response in non-mucosal areas of the body;

                       I)    there was an inadequate solder joint between the .inner and outer coils of
                             the micro-insert which can cause the micro-insert to fracture/break apart,
                             and which Bayer admits is or could be· a reason for device breakage, and;

                      · J}    the central axis was not fully adhered to the spring which can cause tl;le
                             .micro- insert to fracture/break apart, and which Bayer admits is or could
                              be a reason for device breakage.


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              3. Conceptus Concealed Thousands of Migration and Perforation Reports
                 From the FDA.

       194.   Conceptus knew of ~ousands of instances where the Essure® device had migrated

in a woman or perforated a woman's organs, failed to report all of them, and then fought the

FDA on its reporting obligations once the agency discovered the problem.

       195.   In the years before 2011, Conceptus had accumulated thousands of reports from

women that their devices had migrated throughout their bodie;; or punctured one of thei~ org~s.

       196.   To protect the marketability of the device, Co~ceptus chose not to report the vast

majority of them.

       197.   Then, in December of 2010 the FDA conducted a "for cause" inspection of

Conceptus and its reporting procedures.

       198.    At the conclusion of the inspection, the FDA inspector cited Conceptus for four

conditions which he found objectionable and/or violations of the FDCA and federal regulations.
                                          J
       199.    Three of the four objectionable conditions pertained to Medical Device Reporting

deficiencies and/or Yiolations and included:

               A)     Conceptus' fai lure to submit Medical Device Reporting ("MDR")
                      determinations to the FDA within 30 days for reports of a serious inj ury
                      involving the Essure® device including 2 (two) reports of bowel
                      perforation, and I (one) report of pain and the Essure® device breaking
                      into pieces immediately following implant;

               B)     Conceptus' failure to submit MDR's to the FDA within 30 days for reports
                      of a serious injury involving the Essure® device including, but not limited
                      to 5 (five) reports of the Essure® coils perforating the fallopian tubes and
                      penetrating the peritoneal cavity; and

               C)     Conceptus' failure to include a failure mode for perforation itself and for
                      the Essure® micro-inserts migrating into the peritoneal cavity in their latest
                      Risk Analysis Design FMEA for Essure®, despite having documented at
                      least 508 complaints of perforation between January 1, 2009 and
                      December 8, 2010, and at least 177 complaints of perforation with ·the




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                       micro-insert was found in the peritoneal cavity between January 1, 2009
                       and January 4, 2011.

         200.   Specifically, the FDA inspector discovered that Concep~s was not reporting

complaints of Essure® coils being seen inside the patients' abdominal cavity and not opening a

corrective and preventive action (" CAPA") when they became aware of these complaints.

         201.   The FDA discovered that Conceptus submitted MDRs and reported complaints of

the coils migrat~g into the peritoneal or abdominal cavity only if the patient was complaining of

pain and a second procedure was required to remove the device.

         202.   ·Conceptus concealed s':1ch complaints if the coil was subsequently removed

during a laparoscopic tubal ligation surgery that was performed due to a failure of occlusion of

the fallopian tubes.

         203.   The FDA inspector demanded that Conceptus report these incidents because a

migrated coil was inherently likely to lead to an injury. · Conceptus' own complaint files

contained hundreds of instances where this condition led to a serious complication.

         204.   Conceptus did not agree with FDA's position that physicians and women had a

right to know about all dangerous events associated with the device.

         205.   Instead, Conceptus officials attempted to persuade the FDA inspector that they

shoul~   not be forced to report such adverse events and make them publicly available.

         206.   Conceptus officials argued that a coil falling out of the fallopian tube was 'not

technically a "malfunction" of the device, and therefore it did not need to be reported.

         207.   The FDA inspector explained that because the coil was designed to remain inside.

the fallopian tube, a coil that migrates out of the fallopian tube represents a situation where the

Essure® device is not functioning as it was designed and intended.




                                                 39
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          208.    There was no medical reason to withhold this information from the public.

Conceptus concealed these reports specifically to mislead physici~ and women about the safety
            .
·o f the Essure® device.

          209.    The size and scope of Conceptus' failure to report adverse events up until that

time was enormous.

          210.    Just between January 1, 2008 and December 6, 2010, Conceptus received at least

16,581 complaints relating to Essure®.

          211.    Of these 16,581 complaints, 16,399 were never reported to the FDA.

          212.    Conceptus had compiled a spreadsheet of 2,752 complaints about Essure®

received from July 20, 2010 through December 10, 2010. Not a single one of these that

indicated perforation of a patient's organs was reported to the FDA.

          213.    In fact, during that time perio~ Conceptus reported only 45 complaints total to the

FDA. 79

          214.    At the close of the inspection on January 6, 2011, the FDA inspector made it

abundantly clear to Conceptus officials that an          ab~ominally   located coil was the precursor to

becoming symptomatic in all cases in which an intra-abdominal coil had to be removed

surgically.
                                                     I

          215.    Nonetheless, Conceptus continued to conceal complaints if a patient had a coil in

her peritoneal cavity but was asymptomatic.

          216.    Conceptus revealed in this inspection that it had no intention of keeping

physicians and women fully informed.




79
     See https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfmalide/results.cfm


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          217.    Conceptus' sole purpose was to maintain the marketability of its device by

c~ncealing    as much adverse safety information related to its device as it could.

        . 218.    Conceptus' fraudulent schem~ to conceal reports of device migration and

perforation was undertaken in conscious disregard of the health and safety of all Essure®

patients, and in violation of federal law, the PMA, and parallel state law.

          219.    Thousands of vulnerable and unsuspecting patients, including the Plaintiffs

herein, have been seriously and permanently injured as a result of Conceptus' wrongful, illegal

and immoral actions.




                  4. Conceptus Demonstrated A Continuing Pattern of Concealing Safety
                     Complaints.

          220.    In 2013, several years after being cited by the FDA for withholding safety

information, the FDA di~vered again that Conceptus had been concealing thousands of

complaints from the agency and the public.

          221.    Between May and June of 2013, the FDA conducted another inspection of

Conceptus' Mountain View, CA facility. This inspection included an evaluation of Cortceptus'

complaint handling and adverse event reporting practices.

          222.    The FDA's review revealed 16,047 complaints Conceptus had received regarding

Essure® between January 2011 and the date of the inspection.

          223.    Of these 16,047 complaints, Conceptus withheld 15,7 12 from the FDA, ensuring

that they would not be made public.80



80
     See https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfmaude/results.cfm

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        224.   Out of those 16,047, the FDA inspector reviewed 18 random complaints that

contained the key words "peritoneal" or "abdominal" with "pain" or "pregnancy" and discovered

that none of the complaints stating that one or more of the coils were imaged outside ·the

fallopian tubes were reported to the FDA if the patient had not reported pain at last contact.

        225.   Conceptus qid not provide an explanation as to why the patient had stopped

reporting pain, such as possible removal of the device.

        226.   Conceptus withheld thousands of complaints of side effects from th~ FDA for

years because it needed to protect the perception that its dyvice was safe.

        227.   If Essure® was ever perceived as unsafe, or not ~s safe as alternative bmh control
                                                '
methods, then the device would not have achieved acceptance in the ·marketplace and the

company would fail.

               5. Trends in FDA Reports Prove That Conceptus and Bayer Withheld An
                  Enormous Amount of Safety Information.

        228.   Alarming trends in the FDA's database exist because Conceptus and Bayer chose

not to report adverse events to the FDA as required by federal law.

        229.   The FDA did not receive accurate nwnbers of safety reports concerning Essure®

until Conceptus and Bayer no longer controlled the information.

        230.   The FDA learned. of an overwhelming number of Essure® adverse events only

after women were no longer forced to report their problems directly to Conceptus or Bayer.

        231.   Between Essure®.s inception in 2002 and through to 2015, the FDA received

approximately 9,900 medical device reports (MDRs) related to safety problems with the

device. 81



81
  See http://www.fda.gov/MedicalDevices/ProductsandMedicalProcedures/ImplantsandProsthetics/Essure
PermanentBirthControl/ucm452254.htrn


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           232.   Of those 9,900 MDRs, only 943 were made between 2002 and October 25, 2013.

The FDA received the remaining 8,950 reports between October 26, 2013 and December 3 1,

2015. 82

           233.   Therefore, approximately 90% of alJ Essure® related adverse events were reported
                                83
after late October 'o f 2013.        In other words, the FDA's data shows that 90% of the reported

problems with Essure® became public in only the most recent 15% of its time on the market. ·

           234.   The rate at which women suffered adverse events ass<;>ciated with the Essure®

device did not change.       The device itself did not ch3nge.     Only the reporting mechanisms

changed.

           235.   Up Wltil late 2013, women adversely affected by Essure® had no convenient

method of reporting their problems directly to the FDA. These women were thus forced to

report their problems solely to Conceptus or Bayer.

           236.   Around that time, the FDA introduced a new method of reporting adverse events

named "MedWatcher."

           237.   MedWatcher is an app that allows individuals to submit their reports of serious

medical device problems directly to the FDA through the convenient use of their smart phone· or

tablet, thus disposing of the need to contact a device manufacturer first. 84

           238.   Authors studying Essure® adverse ~vent reporting recently concluded that the

ability for women to report Essure® related complaints via the MedWatcher app resulted in a

massive increase in Essure® related MDRs reported to the FDA since October 26, 2013. 85



82
  See http://www.fda.gov/MedicalDevices/ProductsandMedicalProcedures/ImplantsandProsthetics/Essure
PennanentBirthControl/ucm452254.htm
83   Id
84
   See http://www.fda.gov/MedicalDevices/Safety/ReportaProblem/ucm385880.htm
ss Id.


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         239.    The study, entitled Increasing Patient Engagement in          Pharmacovigilance

Through Online Community Outreach and Mobile Reporting Applications: An Analysis of

Adverse Event Reporting for the Essure Device in the US, examined voluntary patient adverse

event reporting directly to the FDA using the FDA' s new MedWatcher app. 86

         240.    The study began by encouraging women in an Essure® support group who had

been adversely affected by the device to file a report using MedWatcher. 87

         241.    The Essure® support group was a Facebook group named "Essure Problems"

consisting of women who underwent the Essure® procedure and began experiencing severe pain

and problems related to the device. Currently, the group has over 30;000 members. 88

         242.    In October 2013, a representative from the MedWatcber app development team

joined the "Essure Problems" group to provide technical support to patients filing adverse event

reports via the MedWatch~r app.

          243.   This change in reporting mechanisms directly caused the explosion of adverse

event reports that became public after October of2013.

          244.   According to "Essure Problems" group administrators, many women with

Essure® reported these same complaints directly to Conceptus for many years prior to October of

2013.

          245.   Those women were never contacted for follow-up investigations and Conceptus

and Bayer chose not to report the vast majority of those complaints to the FDA.




86
     See "Increasing Patient Engagement in Phannacovigilance Through Online Community Outreach and
Mobile Reporting Applications: An Analysis of Adverse Event Reporting for the Essure Device in the
US" available online at: http://link.springer.com/article/l 0.1007/s40290-015-0106-6/fulltext.html
87
   See "Increasing Patient Engagement in Pbannacovigilance Through Online Community Outreach and
Mobile Reporting Applications: An Analysis of Adverse Event Reporting for the Essure Device in the
US" available on line at: htt,p://link.springer.corn/article/1O.J007/s40290-015-0106-6/fulltext.html
88
  ·See https://www.facebook.com/groups/Essureproblems/


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                                           71


            246.    As a result, while Conceptus maintained growmg complaint files detailing

     thousands of problems experienced with the device', the FDA and the public only became aware

     of a fraction of them.

            247.    Conceptus and Bayer successfully concealed thousands of reports of adverse side

     effects associated with Essure® from the FDA and the public because they controlled the

     information for years.

                    6. Bayer Misled the FDA About Rates of Essure® Breaking.

            248.    Despite knowing about hundreds of ~nstances of the Essure® device breaking,

     Bayer has repeatedly reported to the FDA that only single cases exist.

            249.    Between May 29, 2014 and January 20, 20 16, Bayer received at least 462

     complaints that a patient' s Essure® coils had broken apart.

            250.    When forwarding the first few complaints, Bayer notified the FDA that "single
                                                                                       I           '




     cases have been reported ofEssure® breakage."

            251.    However, as reports of breakage continued to mount, Bayer continued to submit

     to the FDA that only single cases of breakage had been reported.

             252.   After 100 individual reports of breakage accumulated, Bayer submitted to the

     FDA that only single cases of breakage had been reported.

             253.   After 200 individual reports of breakage accumulated, 'Bayer submitted to the

     FDA that only single cases of breakage had been reported.
                                                                                                          I
             254.   After 462 individual reports of breakage accumulated, Bayer submitted to the

     FDA that only single cases of breakage bad been reported.

             255.    In fact every single report of device fracture or breakage included a statement by

     Bayer to the FDA stating that "single cases have been reported ofEssuree breakage."
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       256.    Bayer did this because it knew that the FDA would not discover the trend in the

data on its own.

       257.    Bayer knows that multiple FDA analysts read each individual MDR that it

submits, and they do not necessarily communicate with each other or compare data

       258.    Therefore, . when multiple FDA analysts read sep~ate reports that each state

"single cases have ?een ·reported of Essure®. breakage," it causes each individual analyst to

falsely believe that instances of device breakage are extremely rare.
                                               \                                          .
       259.    Bay<?r's MDRs regarding device breakage were inaccurate, misleading, and not in

compliance with MDR reporting requirements.

       260.    Bayer did this to withhold knowledge from the public. and to prevent the FDA

from requiring it to make changes to its label concerning device breakage, a condition with

potentially life-threatening consequences.

               7~ Now The Medical Communi~ Is Discovering What Conceptus And
                   Bayer Knew For Years: Essure Is Dangerous.                                     \


                       a.      Women with Essure® Are Ten Times More Likely to Undergo
                               Subsequent Surgical Re-Operation than Women Who Undergo
                               a Tubal Ligation

       261.    The Essure® device leads to far more complications than alternative permanent

birth control methods. It is significantly less safe than the traditional alternative method of

undergoing a tubal ligation.

        262.   On October 13, 2015, the British Medical Journal ("BMJ") published a study

entitled Safety and efficacy of hysteroscopic sterilization compared with /aparoscopic

sterilization: an observational cohort study, in which Dr. Art Sedrakyan of Weill Cornell

Medicine in New York and his colleagues analyzed data from women who had received either




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the Essure® iffiplant or undergone a traditional tubal ligation between 2005 and 2013 in New

York State.89

       263.     ,The data included 8,048 women who underwent the Essure® procedure and

44,278 women who had undergone a tubal ligation.

       264.     This study used· data collected from the New York State Department of Health

Statewide Planning and Research Cooperative System, which is a database that collects patient

and treatment information for eyery hospital discharge, outpatient service, ambulatory surgery,

and emergency department records in New York State.90

       265.     ·This study is the first large comparative cohort study ever to have b~en conducted

to compare the efficacy and safety of the implant based hysteroscopic procedure with the

traditional iaparoscopic procedure. 91 It is the largest collection of data related to Essure® that was

not controlled by Conceptus or Bayer.

       266.     The study found·· that women who used Essure® as a means for pennanent

sterilization were ten times more· likely to undergo re-operation due to device related

complications and injuries compared to women who underwent tubal ligation. 92         .


        267.    The study reported that although Essure® is advertised as a surgery-free

alternative to the minimally invasive laparoscopic surgery, women who had the Essure® implant

often required a subsequent major surgery due to complications .resulting from Essure®, and at

far greater rates than the traditional option.93

        268.    The authors also analyzed the Essure® MAUDE data and indicated that most of

the adverse events reported by patients with Essure® were for injuries that would require and did

89
  · See "Safety and efficacy of hysteroscopic sterilization compared with laparoscopic sterilization: an
observational cohort study" available online at: http://www.bmj.com/content/35 l/bmj.h5162
90 Id
91 Id.
92 Id.
93 Id




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require a subsequent surgical operation.94 Such injuries included pelvic pain, hemorrhage, and

device migration or incompatibility.
                                                              ,.,
        269.      Reports of chronic pain, hemorrhage, and device migration, which ne~essitate

surgical intervention, are indeed serious injuries and are therefore reportable events.95

        270.      Conceptus and Bayer did not submit any MDR reportable events derived from

this study to the FD~-

        271.      Bayer still falsely claims to this day that Essure® is safer than undergoing nibal

ligation.

                         b.     Essure®Is Not As Effective As Alternative Methods

        272.      Women with Essure(I) are more likely to get pregnant than women who undergo a

tubal ligation.

        273.      In March of 2Ql4, the online medical journal Conception published a study

entitled Probability of pregnancy after sterilization: a comparison of hysteroscopic versus .

laparoscopic sterilization, which compared the expected probability of pregnancy after
                    /
hysteroscopic sterilization (Essure®) with laparoscopic sterilization based on available data using

decision analysis.96

        274.      The study analysis took into account uncertainties in successful placement of

coils, return for follow-up confirmation testing and successful blockage of tubes. Using real-life

circwnstances, the authors concluded that at all points in time after the sterilization procedure,




94 Id
95
   21 C.F.R. § 803.3 (2012).
96
   See ''Probability of pregnancy after sterilization: a comparison of hysteroscopic versus laparoscopic
sterilization" available at: http://www.contraceptionjournal.org/pb/assets/raw/Health%20Advance/
journals/contra/CON-83 09-FIN AL.pdf


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the initial and cumulative risk of pregnancy after sterilization is higher in women who undergo

hysteroscopic sterilization than either laparoscopic band or bipolar sterilization.97

           275.   The study found that the expected pregnancy rates per 1000 women at 1 year are

57, 7 and 3 for     hy~teroscopic   sterilization, laparoscopic silicone rubber band applicatior and

laparoscopic bipolar coagulation, respectively. At 10 years, the cumulative pregnancy rates per

1000 women are 96, 24 and 30, respectively. 98

           276.   This means that the probability of getting pregnant at 1 year and over 10 y~ars js

h.i~er in women who receive Essure® as compared to laparoscopic sterilization.99
                                      I


           277.   Essuree sterilization failure rates after typical use in the community by a variety

of physicians on a variety of patients are significantly higher than the fai lure rates reported to the
                                    '
FDA by the manufacturer in its own highly controlled study.
                                                                                                          I
           478.   H~wever, Bayer still falsely claims to this day that Essure® is more effective than

undergoing tubal ligation.

                         c.      Leading Practitioners Have Criticized Conceptus for Its Lack
                                 of Transparency

           279.   Experts in the field of gynecology disapprove of Conceptus' and Bayer's fai lur~ to

provide information to the public.

           280.   On September 23, 2015, the New England Journal of Medicine published an

article entitled Revisiting Essure - Toward Safe and Effective Sterilization. Authored by several

prominent gynecologists, the article expressed concerns about the inadequacy of Essure®'s

premarketing and postmarketing studies. 100


91   Id.
98 ld.
99 ld.
100
     See "Revisiting Essure - Toward Safe and Effective Sterilization" available ooline at:
http://www.nejm.org/doi/fulVl0.1056/NEJMp 1SIOS14

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            281.   More specifically, the authors identified problems relative to incomplete follow-

up with patients and biased results.

            282.   Ultimately, the authors concluded that many of the Essure® adverse events and

safety concerns, along with problems with the device's effectiveness, might have been detected

sooner or avoided altogether if there had been higher-quality premarketing and postmarketing

evaluations and more timely and transparent dissemination of study results by ·the

manufacturers.IOI
                                          .                                  .l
            283.   Coinciding with other developing understandings, the article notes that evidence

suggests that Essure® is neither as effective nor as safe as the premarketing-approval evaluation

indicated.102

                   8. The Revelation Of Safety Information In The Public Leads To The
                      Inevitable: FDA Mandates Major Changes To Essure® Sales.

            284.   As thousands of reports about Essure®'s true safety risks became public recently,

the FDA fixed the glaring problem by forcing drastic changes to the product's warning label and

taking extreme measures to ensure that patients are fully informed of the risks.

            285.   Patien!-5 and physicians have reported to the FDA upwards of 9,000 adverse

events related to Essure® since October 20 13. This significant increase prompted the FDA to

convene a meeting of the Obstetrics and Gynecology Devices Panel of the Medical Devices

Advisory Committee to examine safety concerns about Essure~ raised by patients and cited in

MDRs.

            286.   The meeting was held on September 24, 2015 and FDA heard available scientific

data pertaining to Essure®'s safety and effectiveness, expert scientific and clinical opinions on




101   Id.
102   Id.


                                                   50
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the risks and benefits of Essure®, and concerns and experiences of women implanted with .the

device.

            287.   On February 29, 2016 the FDA announced that it ~ll force a major change to the

Essure® warning label and also require all women considering receiving Essure® to fill out a

"Patient Decision Checklist" to ensure that they are fully informed of the true risks. 103

            288.   The FDA stated that such warnings are needed for a woman to understand the

risks as compared to alternative options and then decide whether the product is right for her. 1o4

            289.   The new warning and checklist will change the risk/benefit profile of Essure® for

all potential patients. It will reveal the alternatives as far better choices for many women. It will

lead to far less patients choosing to use the Essure® system.

            290.   This result is why Conceptus and Bayer withheld safety information from the

FDA and the public for years.

            291.   C9nceptus and Bayer knew that if the true risks of Essure® were known to the

FDA, then they would inevitably be communicated to physicians and women.

            292.   Conceptus and Bayer knew that if physicians and women understood the true

risks ofEssure®, then sales of the device would be devastated.

            293.   Conceptus and Bayer withheld thousands of complaints of adverse events from

the FDA for years to protect and promote the false perception that the Essure® device was safe.

            294.   If Essure~ was ever perceived as unsafe, or not as·safe as alternative birth control

methods, then the device would not have achieved market acceptance and the company would

fail.




103
      See http://www.fda.gov/NewsEvents/Newsroom/PressAnnounc~ments/ucm488313.htrn
104
      Id.


                                                    51
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          295.     To protect sales and revenue,, Conceptus and Bayer purposefully ignored their

mandatory federal reporting requirements and actively hid safety inforqiation from the public.for

as long as they could.

                          a.     FDA Orders Bayer to Give Warnings Indicating the Highest
                                 Level of Risk

          296.     In February of2016 the FDA determined that a boxed warning needed to be a part

of the Essure® warning label.

          297.     The FDA reserves boxed warning~ for only the most serious adverse events, and

they indicate the highest level of risk.

          298.     The FDA noted that it would receive public input for the following suggested

warning:

        WARNING: Some patients implanted with the Essure®System for Permanent Birth
Control have reported adverse events, including perforation of the uterus and/or fallopian
tubes, intra-abdominal or pelvic device migration, persistent pain, and allergy or
hypersensitivity reactions. Some of these reported events resulted in device removal that
required abdominal surgery. This information should be shared with patients considering
sterilization with the Essure® device during discussion of the benefits and risks of the
device. 105

          299.     This boxed warning directly addresses side effects that Conceptus and Bayer had

.been cited for hiding from the FDA and the public for years.

          300.     The advent of this warning illustrates the significance of Conceptus' and Bayer's

illegal and immoral behavior.

          30 l .   Conceptus and Bayer hid from patients safety information about the most serious

adverse events and the highest levels of risk.




105
      FDA Draft Guidance on Labeling for Permanent Hysteroscopically-Placed Tubal Implants Intended
for Sterilization, issued March 4, 2016.


                                                   52
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       302.      If Conceptus and Bayer had not broken the law by violating federal reporting

violations, the public would have known about these safety risks years earlier. Thousands of

women who decided to receive the Essure® device would have received the knowledge that they

deserved, and thousands of injuries could have been prevented.

        303.     Conceptus and Bayer could have prevented' this problem by updating their

warnings to patients.

        304.     The Essure® warning label has never been adequate.

        305.     Conceptus and Bayer did all in their power to keep serious side effects and

wainings off of the Essure® label for years . .

        306.     Over the course of many years, despite knowing of hundreds of instances where .

the Essure® device had migrated from its proper position, Conceptus did not warn of this

·potential problem.

        307.     After being caught by the FDA in 20 11 for not reporting migration events, the

company still refused to warn about this problem on its label.

        308.     It was not until 2013 that Conceptus e:ven acknowledged migration events ori the

Essure® label.

        309.     At that time, Conceptus changed the warning label to state only that "There are

reports of the Essure®insert migrating."

        310.     This warning gravely downplayed the true incidence of risk that a woman's

Essure® coils might migrate.

        311.     Conceptus should have been adequately informing women about migrations.

        312.     This issue illustrates Conceptus' policy of deliberately refusing to provide

 adequate warnings to physicians and patients.



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         313.   For years Conceptus and Bayer have downplayed on the Essure® warning label

the true risks of migration, as well as perforation·, persistent pain, allergy or hypersensitivity

reactions, the likelihood of reoperation, and other serious side effects.

         314.   The FDA has now forced what could and should have been done years ago.

                       b.      FDA Takes Drastic Measures to Ensure Patients Are Fully
                               Informed

         315.   Because Conc~ptus and Bayer denied thousands of women the informat~on that

they deserved, the FDA mandated that every potential Essure® patient receive and sign a detailed

checklist specifically tailored to the risks associated with the device.

         316.   In its current form, this patient decision checklist requires a patient's initials and

signature fifteen separate times.

         317.   The checklist specifically warns of device migration and perforation of org~s,
                                      .
side effects that Conceptus arid Bayer had been cited for hiding from the FDA and the public for

years.

         318.   Most importantly, the checklist describes the review of its. form as a critical step

in deciding whether to have the Essure® device implanted, and suggests that a woman should

carefully consider the risks before making the decision.

         319.   The checklist enhances the warnings given to potential Essure® patients and

completely alters the process of undergoing the procedure.

         320.   The checklist has a major impact on the risk/benefit profile of the device, and will

inevitably lead to less patients choosing Essure®. It will have a major negative impact on Essure®

sales.

                                          '
         G.     FACED WITH MOUNTING SIDE EFFECTS, CONGRESS IS WORKING
                TOWARD BANNING SALES OF ESSURE®



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       321.     As the public has become more infonned about the true safety risks associated

with Essure®, Congress has moved toward banning its sale completely.

       322.     Pennsylvania Congressman Mike Fitzpatrick has been the leading voice in

Congress calling for removal ofEssure® from the market.

       323. · On November 4 of 2015, Congressman Fitzpatrick introduced          abipartisan bill
entitled the "E-Free Act" with the goal of taking Essure® off the market.

       324.     Congressman Fitzpatrick stated that it was imperative that Bayer immediately end

production of a product that poses such a danger to patient safety.
                                                            I



       325.     A consulting firm specializing in medical device postmarketing surveillance,

Device Events, recently analyzed data provided to the FDA for the Congressman". The analysis

uncovered raw data showing a total of 303 fetal deaths among women who had the Essure®

device and revealed discrepancies in Conceptus' and Bayer's reporting practices. Previol.!sly, the

agency had believed that there were only five such cases.

       326.     The analysis showed that the manufacturer's reports are falsely marked as mere

injury or malfunction reports. However, they describe instances of miscarriage, abortion or fetal

death, and should have been categorized as "death" reports.

       327.     Congressman Fitzpatrick subsequently wrote directly to the Center for Devices
                                       I

and Radiological Health at FDA and urged them to immediately consider the data due to· its

grave nature.




       H.       CONCEPTUS' AND BA.YER'S PARTICIP~TION IN THE COVERING UP
                OF AND FAILURE TO ADEQUATELY WARN OF SERIOUS ADVERSE
                EVENTS AND INCREASED RISKS AND COMPLICATIONS
                ASSOCIATED WITH ESSURE CAUSED PLAINTIFFS' INJURIES




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        328.    A manufacturer has the duty to provide adequate and thnely warnings regarding

increased risks and dangers associated with the foreseeable uses of its product.

        329.    Conceptus and Bayer grossly failed to satisfy their duties mandated by federal

law, the Essure® PMA, and state common law duties.

        330.    Conceptus and Bayer did ·not provide adequate and timely warmngs or

ins~ctions regarding the true risks of Essure®.

        3 31.   Conceptus and Bayer disseminated misleading and false information concerning

the true risks ofEssureil>.

        332.    Conceptus and Bayer purposefully concealed the serious increased risks and

complications associated with Essure®.

        333.    Conceptus and Bayer failed to take the required actions when they learned that

Essure® was causing thousands of problems in patients.

        334. · Bayer cannot and should not be permitted to absolve itself from liability by

pointing to the FDCA or the MDA, claiming preemption, when it was Conceptus and Bayer who

chose to violate the law and deliberately conceal their knowledge of the increased risks,

complications, and the serious and dangerous adverse side effects associated with Essure®.

        335.    Bayer cannot and should not be permitted to absolve itself from liability when it

was Conceptus and Bayer who, in violation of federal law and the PMA, concealed and failed to

report the true number of adverse events being reported by women with Essure®.

        336.    A medical device manufacturer only receives the benefits afforded by federal law,

i.e. the FDCA and MDA, when it abides by federal law.

        337.    Federal law requires that a manufacturer report all known adverse events

associated with a medical device to the FDA.




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        338.    Not only did Conceptus and Bayer not provide the Plaintiffs' physicians 'nor

Plaintiffs with the necessary infonnation in order to make an informed decision in the best

interests of Plaintiffs' health, but they purposefully deceived Plaintiffs' physicians and the

Plaintiffs as to the safety and efficacy of Essure®.

        339.     Conceptus and Bayer did not discharge their duty, required by federal law, the

Essure® PMA, and state common law duties to adequately and fully warn and inform Plaintiffs'

physicians and Plaintiffs of the known dangers and increased risks associated with the use of

Essure®.

        340.     Plaintiffs' physicians and Plaintiffs reasonably relied, and did rely, on Conceptus

and Bayer's misrepresentations and concealments.

        341.     Moreover, Plaintiffs woul~ not have consented to undergo the Essure® procedure

had they each been fully informed of its increased dangers, risks, and adverse consequences. .

        342.     As a direct and proximate result of Conceptus and Bayer's fraudulent concealment

and misrepresentations concerning material health and safety risks · associated with ~ssure®,

Plaintiffs were permanently injured and suffered and will continue to suffer injuries, damages,

and economic loss.

        343.     As a direct and proximate result of Conceptus and Bayer's fraudulent concealment

and misrepresentations concerning material health and safety risks associated with Essure®,
                  I                                                            .
Plaintiffs have been injured and incurred damages, including but not limited to medical and

hospital expenses, physical and mental pain and suffering, and loss of the quality and enjoyment

of life as a result.
                                     .   .
V.      EOUITABLE TOLLING/FRAUDULENT CONCEALMENT




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       344.    Plaintiffs repeat and incorporate by reference all other paragraphs of this

Complaint as if fully set forth herein and further .alleges as follows:

       345.    Conceptus and Bayer's failure to report, document, or follow up on the known

adverse event complaints, and concealment of adverse events, known defects, serious increased
                                                     !
risks, dangers, and complications, constitutes fraudulent concealment that equitably tolls any

proffered statute of limitation that may otherwise bar the recovery sought by Plaintiffs herein.

Plaintiffs herein have therefore satisfied applicable statutes of limitations and statutes of repose.

       346.    Bayer is estopped from relying on any statute of limitations defense because it

continued to refute and deny reports and st~dies questioning the safety of Essure®, actively and

intentionally concealed the defects, suppressed reports and adverse information, sponsored and

paid for studies which falsely characterized the risks and benefits of·Essure®, failed to satisfy

FDA and PMA requirements, failed to satisfy FDA and PMA notification requirements, and

failed to disclose known dangerous defects and serious increased risks and CQmplications to

physicians and the Plaintiffs.

        347.   Instead, Conceptus and Bayer continued/continues to represent that Essure®

was/is safer, more effective and the best alternative for permanent female sterilization all the

while they knew that this was absolutely false and not tri.ie, even after the recent Cornell study

was published and patient complaints accumulated in th~ thousands.

        348.    Conceptus and Bayer did the above actS which were and are illegal under federal

law, the PMA and parallel state law, to effectively market Essure® and encourage physicians,

including Plaintiffs' physicians, to recommend and perfo~ the Essure®procedure.
                                                                                           J
        349.    Conceptus and Bayer did.the above acts which were and are illegal under federal

law, the PMA and parallel state law, to encourage patients, including Plaintiffs, to undergo .the



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Essuree procedure rather than choose an alternative procedure, such as a traditional tubal

ligation.

        350.   At all relevant times, Conceptus and Bayer were under a continuing duty under

federal law, the PMA and parallel state laws to disclose the true character, quality, and nature of

the increased risks, adverse events, and dangers associated with Essure®.

        351.   As a result of Conceptus and Bayer's concealment of the true character, quality

and nature of their product, they are estopped from relying on any statute of limitations defense.

        352.   Conceptus and Bayer furthered their fraudulent concealment through act and

omission, including misrepresenting known dangers and/or defects in Essure® and/or arising out

of the use of Essure® and a continued and systematic failure to disclose and/or cover-up such

information from/to the Plaintiffs, Plaintiffs' physicians, and the public.

        353.   Conceptus and Bayer's acts and omissions, before, during and/or after the acts

causing Plaintiffs' injuries, prevented Plaintiffs and/or Plaintiffs' physicians from discovering

the injuries or cause thereof until recently.

        354.    Conceptus and Bayer's conduct, because it was purposely committed, was known

or should have been known by them to be dangerous, heedless, reckless, and without regard to

the consequences or the rights and safety of the Plaintiffs.




VI.     GENERAL ALLEGATIONS

                                                                                        '
        355.    Plaintiffs repeat and incorporate by reference          ~l   other paragraphs of this
                                        .
Complaint as if fully set forth herein and further allege as follo~s:




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         356.    At . all relevant times, Essure® was research~d, developed, manufactured,

 marketed, promoted, advertised, sold and distributed by Conceptus and BaY.er.

         357.    Conceptus and Bayer negligently, carelessly, ·and/or recklessly manufactured,

 marketed, advertised, promoted, sold and distributed Essure® as a safe and effective device to be

 used for permanent female sterilization.

         358.    Conceptus and Bayer knew, and/or had reason to know, that Essure® was

 defective, unreasonably dangerous and not safe because of the thousands of adverse events that

 both companies knew about.

         Representations

         359.    Conceptus and Bayer negligently, carelessly, recklessly, and/or intentionally

 promoted Essure® to physicians and patients, including the Plaintiffs and Plaintiffs' physicians.
                             '            .
         360.    Conceptus and Bayer downplayed to physicians and patients, including Plaintiffs

 and Plaintiffs' physicians, the dangerous side effects ofEssure®.

         361.    Conceptus and Bayer misrepre~ented the safety of Essure® to physicians and

. patients, including Plaintiffs and Plaintiffs' physicians.

         362.    Conceptus and Bayer willfully and/or intentionally failed to warn and/or alert

 physicians and patients, including Plaintiffs and Plaintiffs' physicians, of the increased risks and

 significant dangers resulting from being implanted with th~ Essure® device.

         363.    Conceptus and Bayer knew and/or had reason to know, that their representations
                                            .
 and suggestions to physicians that Essure® was safe and more effective than alternative

 permanent sterilization methods were materially false and misleading such that physicians and

 patients, including Plaintiffs and Plaintiffs' physicians, would rely on such representations.




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       364.    Conceptus and Bayer· knew or should have known and/or recklessly disregarded

the materially incomplete, false, and misleading nature of the information that they caused to be

disseminated to the public and to physicians, including Plaintiffs and Plaintiffs' physicians, as

part of their surreptitious campaign to promote Essure®.

       365.    Any warnings Conceptus and Bayer may have issued concerning the risks and

dangers of Essure® were inadequate and insufficient in light of their contradictory prior,

contemporaneous and continuing illegal promotional efforts of Essure® to hide o~ downplay the

true risks and serious dangers of the device.

       366.    The ongoing scheme described herein could not have been perpetrated over a

substantial period of time, as has occurred here, without knowledge and complicity of personnel
                                                I

at the highest levels of Conceptus and Bayer, including the corporate officers and directors.

       367.    Conceptus and Bayer knew and/or had reason to know of the likelihood of seri~ms

injuries caused by the promotion, sale, and distribution of Essure®, but they concealed this

information and did not warn the FDA, Plaintiffs or Plaintiffs' physicians, preventing Plaintiffs

and Plaintiffs' physicians from making informed choices in selecting alternative sterilization

P.rocedures prior to Plaintiffs' Essure® implantation procedure and preventing Plaintiffs and

Plaintiffs' physicians from timely discovering Plaintiffs' injuries.

       Causation

       368.    Plaintiffs would not have consented to undergo the Essure® procedure had

Plaintiffs known of or been fully and adequat~ly informed by Conceptus and Bayer of the true

increased risks, hazards, and serious dangers of Essure®.

       369.    Plaintiffs   and   Plaintiffs'   physicians   reasonably   relied   on   I;:>efendants'

representations and omissions regarding the safety and efficacy of Essure®.



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       370.    Plaintiffs and Plaintiffs' physicians did not know of the specific increased risks

and serious dangers, and/or were misled by Conceptus and Bayer, who knew or should have

known of the true risks and dangers, but consciously chose not to inform Plaintiffs or their

physicians of those risks and to actively misrepresent those risks and dangers to the Plaintiffs and

Plaintiffs' physicians. Conceptus' and Bayer's promotion and marketing of Essure® caused

Plaintiffs' physicians to decide to recommend and implant Essure® in Plaintiffs. Plaintiffs'

physicians would not have recommended and performed the Essure®procedure in the absence of

Conceptus and Bayer's false and misleading promotion.

       Damages

       371.    Plaintiffs have suffered serious personal injuries as a direct and proximate result

of Conceptus and Bayer's illegal misconduct. .

       372.    As a direct and proximate      r~sult   of Conceptus' and Bayer's illegal conduct,

Plaintiffs have suffered and will continue to suffer from severe injuries and damages, including

but not limited to irregular heavy menstrual cycle bleeding, organ perforation, and severe chronic

pain which required surgical interventio~ to remove the Essure® coils and/or will require surgical

intervention to remove the Essure® coils in the future.

        373.   As a result of Conceptus' and Bayer's failure to warn of the risks, dangers, and

adverse events associated with Essure® as manufactured, promoted, sold and supplied by both

companies, and as a result of the negligence, callousness, and other wrongdoing ~d miscondu~t

of Conceptus and Bayer as described herein:

               A)      Plaintiffs have been injured and suffered and will continue to suffer

                       injuries to their body and mind, the exact nature of which are not

                       completely known to date;



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               B)      Plaintiffs have sustained and will continue to sustain eeonomic losses,

                       including loss of earnings and diminution of the loss of earning capacity,

                       the exact amount of which is,presently unknown;

               C)      Plaintiffs have incurred and will be required to incur additional medical

                       expenses in the future to care for themselves as a result of the injuries and

                       damages Plaintiffs have suffered;

               D)   . Plaintiffs are therefore entitled to damages in an amount to be proven at

                       trial, together with interests thereon and costs.

       374.    Plaintiffs had no reason until recently to suspect that their injuries were caused by

Essure~. Thus, Plaintiffs did not know and could not have known and through the exercise of

reasonable diligence, that the Essure~ device caused their injuries.

       375.    Plaintiffs herein brings their causes of action within the applicable statute of

limitation. Specifically, Plaintiff brings their actions within the prescribed time limits following

their injuries and their knowledge of the wrongful cause. Prior to such time, Plaintiffs did ·not

know nor had reason to know of their injuries and/or the wrongful cause thereof.

       376.    Plaintiffs are therefore entitled to damages in an amount to be proven at trial,

together with interest thereon and costs. ·

Vll.   SPECIFIC PLAINTIFF ALLEGATIONS

       377.    Plaintiffs repeats and incorporate by reference all other paragraphs of this

Complaint as if fully set forth herein and further alleges as follows:

       A.      SARANDA WOLFORD


       378.    Plaintiff Wolford is twenty-six (26) years old and resides m Georgetown,

Kentucky.



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                   1. Initial Essure® Procedure:

         378.      On or around May 14, 2014, Plaintiff Wolford underwent the Essure® procedure

 at PMC in Pikeville, Kentucky.

         379.      Dr. Hobbs implanted the Essure® device in Plaintiff Wolford, and Dr. Mul.iins
                               .   .          .                          I                .



 assisted.

                   2. Post Essure® Procedure Condition and Treatment:

         380.      Plaintiff Wolford's post-procedure period has been marked by severe and constant

 abdominal pain. Plaintiff Wolford never experienced such immense abdominal pain prior to

 undergoing the Essure® procedure.

         381.      On   or   around    August     26,   2014,   Plaintiff    Wolford    underwent     a

 hysterosalpingogram ("HSG") at PMC which showed that the Essure® implant was present on

 the right with no spillage from the right fallopian tube region, and a displaced Essure® implant in

. the left fallopian tube, projecting over the inferior aspect of the pelvis, with leakage from the left

 fallopian tube.

         382.      Plaintiff Wolford then presented to the PMC Emergency Room on or around

 September 18, 2014, with complaints of constant, severe and sharp pain on the right diffuse

 abdomen. Plaintiff Wolford underwent an ultrasound of her gallbladder, which was nonnal, and

 was discharged.

         383.      On or about November 11, 2014, Plaintiff Wolford underwent a follow-up HSG,

 which showed free peritoneal spillage from the left fallopian _tube with an anomalously located
             -
 Essure® device.
                                                                 /
         384.      Plaintiff Wolford underwent a third HSG on or around March 3, 2015, which

 again showed an anomalously positioned left Essure® device in the pelvis displaced from the left


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fallopian tube, with free spillage of c6ntr~t from the left fallopian tube. A new finding of

migration of the right Essure® device was also noted, with free spillage from of contrast from .the

right fallopian tube.

        385.    On or about March 24, 2015, Plaintiff Wolford underwent a laparoscopic bilateral

salpingectomy. Her operative report states that the Essure® coils were in the posterior cul~de­

sac, and that "[t]hese were removed.''

        386.    Plaintiff Wolford then had a transvaginal ultrasound ori or around February 18,

2016 for pelvic pain, which revealed a "possible foreign body in uterine myometrium, Essure®

coil." The ultrasound report also stated that there was a "possible retained coil."

        387.    A follow-up MRI was performed on or around March 9, 20 16, which showed

"[s]usceptibility artifact within the posterior lateral right uterine endometrillIIl; presumably

represents Essure® device within the interstitial portion of the right fallopian tube."

        388.    Due to ongoing pain and the retained Essure® coil, Plaintiff Wolford underwent a

total vaginal hysterectomy on or around April 11, 2016. The 9perative report stated that "[t]he

specimen was partially dissected to locate the Essure® coil, which was located in the myometrial

portion of the cornua and was not within the endometrium' .o r the tubal ostia, it was lying

perpendicular to this plane." The surgical pathology report from April 13, 2016 further stated

" [c]oiled portio~ of wire within left cornua consistent with retained Essure®coil (gross only):"

        389.    Plaintiff Wolford continues to suffer from pain as a result of the surgery.

        390.    Plaintiff Wolford ~s prevented from practicing and enjoying the activities of daily

life she enjoyed pre-operatively, and she has otherwise suffered serious and permanent injuries.

        B.      SHEILA TAYLOR




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       391.    Plaintiff Taylor is twenty-six (26) years old and resides m Prestonsburg,

Kentucky.

               1. Initial Essure®Procedure:
                                 ...
       392.    On or around June 26, 2013, Plaintiff Taylor unde~ent the Essure® procedure at

Pikeville Medical Center in Pikeville, Kentucky.

       393.    Dr. Rebecca Hobbs implanted the Essure®device in Plaintiff.

       394.    The operative report states: " [b]ilateral Ess.ure® micro-insert placed successfully

into the ostium."

               2. Post Essure®Procedure Condition and Treatment:

       395.    Plaintiff Taylor's post-procedure period has been marked by severe and constant

abdominal pain.     Plaintiff Taylor never experienced such immense abdominal pain prior to

undergoing the Essure® procedure.

       396.    Shortly after her implant, on or around June 28, 2013, Plaintiff Taylor called Dr.

Hobbs with complaints of extreme discomfort that was keeping her awake at night. Her pain

was on the right side, and Plaintiff Taylor rated it as 8 Y2 to 9 out of 10 on a scale of 1to10, with

10 being the most severe. Dr. Hobbs advised Plaintiff Taylor to go to the Emergency Room'for

evaluation.

       397.    Plaintiff Taylor' presented to the emergency room on June 28, 2016 with

complaints of moderate to severe, stabbing, and progressively worsening pain. Plaintiff Taylor

reported that Dr. Hobbs had difficulty placing the Essure® coil on the right side. She·underwent

a CT scan of her abdomen and was diagnosed with a tubal spasm. Plaintiff Taylor was provided

with a prescription for pain medication and discharged.




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        398.   Plaintiff Taylor had a HSG on or about October 1, 2013, where it was reported

that the right Essure® device appe~ed to be displaced and positioned along the lateral aspect of

the right mid pelvic cavity. The left Essure® device was in adequate position. There was no

evidence reported of spillage of contrast futo the pelvic cavity from either fallopian tube.

        399.   Plaintiff Taylor experienced irregular menses, fatigue, weakness, shakiness, and

dizziness following her implant surgery.

        400. . In September of2014, Plaintiff Taylor learned that she was pregnant

        401.   In May of 2015, Plaintiff Taylor underwent a cesarean section and bilateral tubal

ligation.

        402.   Plaintiff Taylor suffered severe depression following her May 201 5 surgery.

        403.   Plaintiff Taylor also suffered irregular menses, dysmenorrhea, menorrhagia and

dyspareunia.

        404.   On or about August 2, 2016, Plaintiff Taylor underwent a laparoscopic bilateral

salpingectomy with Essure® removal.

        405.   The operative .report stated that no Essure® device was located in the right

fallopian tube. It was located in the pelvis and abdominal cavity in a filmy adhesion located

close to the Fimbria and removed. The left Essure® coil was located in the left fallopian tube and

removed.

        406.   Plaintiff Taylor continues to suffer from pain as a result of the surgeries.

        407.   Plaintiff Taylor is prevented from practicing and enjoying the activities of daily

life she enjoyed pre-operatively, and she has otherwise suffered serious and permanent injuries.

        C.     KA TRINA ATKINSON




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             408.    Plaintiff Atkinson is forty years old and resides in Virgie, Kentucky.

                     1. Initial Essure®Procedure:

             409.    On or around August 28, 2009, Plaintiff Atkinson underwent the Essure®

     procedure at Pikeville Medical Center in Pikeville, Kentucky.

             410.    Dr. Aaron Crum implanted the Essure® device in Plaintiff.

                     2. Post Essure®Procedure Condition and Treatment:

             411.    Plaintiff Atkinson's post-procedure period has been marked }?y severe and

     constant abdominal pain. Plaintiff Atkinson never experienced such immense abdominal pain

     prior to undergoing the Essure® procedure.

             412.    Plaintiff Atkinson had a HSG on or about November 20, 2009, which showed

     .intact bilateral tubal ligation devices.

             41 3.   In the fall of2010, Plaintiff Atkinson learned that she was pregnant

             414.     On or about April 18, 2011 , Plaintiff Atkinson underwent an ultrasound which

     revealed a large gestational age infant.

             415.     On or about April 20, 2011 , Plaintiff Atkinson delivered a pretenn, 35.4 week old

     baby.

             416.     Following, Plaintiff Atkinson suffered from persistent abdominal pain, irreg\llar

     and heavy menses, and clots. She also required contraception in addition to Essure®.

             417.     On or about March 3, 2016, Plaintiff Atkinson underwent a laparoscopic bilateral
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     salpingectomy, hysteroscopy, and dilation and curettage and Essure® removal.

             418.     The operative report stated that the right Essure® device had extruded through the

     tube and attached to it externally.
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       419.     Plaintiff Atkinson continues to suffer from pain as a result of the surgery.

       420.     Plaintiff Atkinson is prevented from practicing and enjoying the activities of daily

life she enjoyed pre-operatively, and she has otherwise suffered serious and permanent injuries.

       D.       T'EBONY JOHNSON


        421.    Plaintiff Johnson is thirty (30) years old and resides in Louisville, K~ntucky.

                1. Initial Essure®Procedure:

        422.    On or around April 12, 2013, Plaintiff underwent the Essure®procedure at Norton

OB/GYN Associates at the downtown location in Louisville, Kentucky.

        423.    Dr. Kimberly Bernard performed the hysteroscopic transcervical tubal occlusion

with Essure® device on Plaintiff, using local anesthesia with a paracervical block.

                2. Post Essure®Procedure Condition and Treatment:

        424.    Plaiiitifrs post-procedure period has been marked by severe and constant

abdominal pain. Plaintiff never experienced such immense abdor.ninal pain prior to undergoing

the Essure®procedure.
                    (
        425.    Plaintiff Johnson underwent a HSG at the University of Louisville Hospital which

showed that the Essure® implants were in a satisfactory position with occlusion of the bilateral

fal lopian tubes.

        426.    Plaintiff Johnson presented to Kerry Curtiss, APRN at the Norton OB/GYN

Associates Audubon location in Louisville, Kentucky approximately two years following her

Essure® implant, with complaints of increasingly worse abdominal pain, heavy vaginal bleeding

and worsening of her cycles. Plaintiff Johnson was provided alternative potential causes for her

symptoms at this visit, which included ovarian cysts, fibroids and polyps.




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          427.   Plaintiff underwent AP and bilateral anterior oblique radiographs of the pelvis,

which showed the Essure® device in the pelvis, as well as a new "U" shaped wire or metallic clip

in the right hemipelvis and surgical clips in the right lateral lower pelvis.

          428.   Due to the severe abdominal pain, Plaintiff Johnson desired removal of the

device.

          429.   Plaintiff Johnson did not realize the device was permanent, and upon learning this

information she hoped to have a reversal procedure as she wanted to have more children.

          430. · On December 22, 201.5, Plaintiff Johnson underwent surgery to find and remove

the Essure® devices. During her procedure, a bysteroscope was passed through the cervix 1nto

the uterus, but no Essure® devices were seen hysteroscopically. An incision was then made in

the abdominal wall ~d a hysteroscope was introduced into the abdomen and pelvis. Again, no

Essure® devices were visualized in her tubes or pelvis.
                                                                                                        )

          431.   Plaintiff Johnson coptinues to suffer from pain as a result of the surgery.

          432.   Plaintiff Johnson is prevented from practicing and enjoying the activities of daily

life she enjoyed pre-operatively, and she has otherwise suffered serious and permanent injuries.

VITI. AGENCY, ALTER-EGO, JOINT VENTURE, AND CONSPIRACY

          433.   At all times herein mentioned, the Defendants were fully informed of the actions

of their agents, repre~entatives, contractors, and/or employees, and thereafter, no officer, director

or managing agent of the Defendants repudiated those actions.               The failure to repudiate

constituted adoption and approval of said actions, and all Defendants and each of them thereby

ratified those actions.

          434.   At all times mentioned herein, there existed (and still exists) a unity of interest

between certain Pefendants and other certain Defendants such that any individuality and


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                             /

separateness between the certain Defendants has ceased, and these Defendants are the alter-egos

of the other certain Defendants and exerted control over those Defendants. Defendant Bayer AG

controlled its wholly owned subsidiaries to such a degree and in such a manner as to render them

more business units and to make them merely an agency, instrumentality, adjunct, or its alter
                                                                          I



ego. Adherence to the fiction of the separate existence of these certain Defendants as entities

distinct from other certajn Defendants will permit an abuse of the corporate privilege, sanction a

fraud, and/or promote injustice.

       435.    Each of the   B~yer   Defendants herein expressly or impliedly agreed to work with

and assist each other Defendant and unnamed parties, toward the common purpose of promoting,

recommending, and selling Essure® and toward the common interest of pecuniary gain.

       436.    Each of the Bayer Defendants herein performed the acts and omissions described

herein in concert with the other Bayer Defendants herein and/or pursuant to a common design

with the other Defendants herein.

       437.    Each of the Bayer Defendants herein knew the acts and omissions of the other

Bayer Defendants herein constituted a breach of duty, and yet, e~ch Bayer Defendant provided

each other Bayer Defendant substantial assistance and/or encouragement.

       438.    Each of the Bayer Defendants herein provided substantial assistance to the other

Bayer Defendants herein in accomplishing the intentional and tortious conduct described herein,

and each Bayer Defendants' conduct, even when separately considered, constitutes a breach of

duties owed to the Plaintiffs.

        439.   At all times herein mentioned, each of the Bayer Defendants were engaged in the
                         \




business of and/or were a successor in interest to and/or affiliated with/associated

with/indistinguishable from entities engaged in the business of researching, designing,



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formulating, compounding, testing,        manufacturing, producing, processing, assembling,

inspecting, distributing, marketing, labeling, promoting, packaging, prescribii:ig, advertising for

sale, .and/or selling Es~ure® device for use by the Plaintiffs and the Plaintiffs' physicians. . As

such, each of the Bayer Defendants is individually, as well as j ointly and sevc;rally, liable to the

Plaintiffs for the Plaintiffs' damages.

          440.   The conduct of the Defendants herein caused the Plaintiffs' harm as described

herein.    The Plaintiffs' harm is not in any way attributable to any        faul~   of the Plaintiffs.

Uncertainty may exist regarding which Defendant(s) and/or combination of Defendants caused

the Plaintiffs' harm. The Defendants possess superior knowledge and information regarding

which Defendant(s) and/or combination of Defendants caused the Plaintiffs' injuries.

          441.   Thus, the burden of proof should be upon each Defendant to prove that the

Defendant has not caused the harms suffered by the Plaintiffs.

          442.   Due to the above, each Cause of Action named below is asserted against           eac~


Defendant herein, jointly and severally, even if each and every Defendant herein is not

specifically identified as to each and every count.

IX.       PLAINTIFFS ARE ENTITLED TO PUNITIVE DAMAGES

          443.   Plaintiffs repeat and incorporate by reference all other paragraphs of this

Complaint as if fully set forth herein and further allege as follows:

      · 444.     As a result of Conceptus and Bayer's oppression, fraudulent concealment,

wantonness, malice, and reckless disregard for Plaintiffs' safety, Plaintiffs are ~ntitled to punitive

or exemplary damages to the fullest.extent necessary as plead in detail below.

X.        CLAIMS FOR RELIEF·




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                                 FIRST CAUSE OF ACTION
                                  Stenget106 - Failure to Warn
                                  Restat. 2d of Torts§ 388 107
                         Restat. 3d of Torts: Products Liability§ 2 108
                        Restat. 3d of Torts: Products Liability § 6(d) 109

      445.     Plaintiffs repeat and incorporate by reference all other paragraphs of this

Complaint as if fully set forth herein and further allege as follows:

       A.      CONCEPTUS AND BAYER         HAD A DUTY     TO REPORT ADVERSE EVENTS To THE
               FDA UNDER FEDERAL LAW.                                                          .

       446.     Conceptus and Bayer at all times herein were medical device manufacturers

and subject to the Medical Device Reporting (MDR) regulations under 21 C.F.R. § 803.

       447.    As discussed above, Conceptus and Bayer, through their employees and agents,

had a federal duty to "report deaths and serious injuries that a device [such as Essure®] has or

may have caused or contributed to, establis4 and maintain adverse event          ~les,   and submit

summary annual    re~rts" of these Adverse Events ("AEs") reiated to Essure® to the FDA. See
21 C.F.R. § 803.1.

      448.     "These reports help [the FDA] to protect the public health by helping to ensure

that devices are not adulterated or misbranded and are safe and effective for their intended use."

Id

        449.   As set out in detail above, Conceptus and Bayer failed to timely and accurately

 report to the FDA these adverse events reasonably associated with the use of their medical

 device, Essure®. The Defendants' fai lure to report was in violation of their duties under the

 PMA, FDCA and vari.ous federal regulations (e.g. 21 C.F.R. § 803. 1-.58, 21 C.F.R § 814.82).

                            '       I
106
    Stengel v. Medtronic, Inc., 704 F.3d 1224 (9th Cir. 2013).                     ·
107
    Adopted by Lloyd v. Lloyd, 479 S.W.2d 623 , 625 (Ky. 1972); see also Larkin v. Pfizer, 153 S.WJd
758 (Ky. 2004).
108
    See Larkin v. Pfizer, 153 S.W.3d 758 (Ky. 2004).
109
    Adopted in Larkin v. Pfizer, 153 S.W.3d 758 {Ky. 2004).


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                1. Conceptus and Bayer Had a Federal Duty to Report AEs Under the
                   "Conditions for Approval" of Essure®'s PMA.

       450.     Class III devices, such as Essure®, are required to go through the PMA process to

provide reasonable assurance of their safety and effectiveness.

       451.     The federal government has established requirements applicable to Essure® in part

because of the PMA process established specific requirements applicable to the device, including

Conceptus' and Bayer's duties under the "Conditions for Approval" to Essuree's PMA to issue a

CBE (as explained in Paragraphs 135 to 136 above) or to seek a PMA supplement to change

Essuree's labeling "when unanticipated adverse effects, increases in the incidence of anticipated

adverse effects, or device failures necessitate a labeling, manufacturing, or device

modification,"110 described in 1105(C) above.               These Conditions for Approval require

manufacturers, like Conceptus and Bayer, to take the steps to change their labeling under such

circumstances in order to assure that the devices "are not adulterated or misbranded and are            ~afe


and effective for their intended use.', 111

        452.    Further, the FDA may impose post-approval requirements, including a

"[c]ontinuing evaluation and periodic reporting on the safety, effectiveness, and reliability ofthe

device for its intended use." 112

        453.    The FDA did impose these post-approval requirements in the Essure® PMA,

wliich stated that the in order for the FDA to be continually assured of the safety and

effectiveness of the device, an "Adverse Reaction Report'' or "Device Defect Repo~" should be


110
     See http://www.fda.gov/MedicalDevices/DeviceRegulationandGuidance/HowtoMarketYourDevice/
PremarketSubmissions/PremarketApprovalPMA/ucm 134504.htm.
111
    These requirements are identical to that required of a drug manufacturer in the same or similar
circumstances. See also 21 C.F.R. § 814.80, which requires that a device " not be manufactured,
packaged, stored, labeled, distributed, or advertised in a manner that is inconsistent with any conditions to
afiproval specified in the PMA approval order for the device."
  2
I 21 C.F.R § 814.82



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filed within 10 days of Bayer and Conceptus receiving knowledge or information of, in part,

"[a]ny adverse reaction, side effect, injury, toxicity, or sensitivity reaction that is attributable to

the device and: a. ~as not been addressed by the device's labeling; orb. has been addressed· by

the device's labeling but is occurring with unexpected severity or frequency."

       454.    Instead, and in violation of 21 C.F.R. § 820.198, 2 1 C.F.R. § 803.3 and the

Essure® PMA "Conditions of Approval," Conceptus and Bayer (1) failed to appropriately

respond to adverse incident reports, including but not limited to, reports of device migration

outside of the fallopian tubes and/or device fracture/breakage, which strongly indicated .the

Essure® device was malfunctioning or otherwise not responding to its Design Objective Intent,

which was to remain permanently in Plaintiffs' fallopian tubes, and (2) Conceptus and Bayer

continued to place Essure® into the stream of interstate commerce when they knew, or should

have known, that the Essure® device was malfunctioning or otherwise ·not responding to its

Design Objective Intent.

               2. Conceptus and Bayer Had a Duty to Report Adverse Events Under 21
                  C.F.R. § 803.50, § 814.82. ,

        455.    As described above, a medical device manufacturer's obligations do not end with

FDA's Premarket Approval ("PMA") process. Under .federal law a medical device manufacturer

has a continuing duty to monitor their product after premarket approval and to discover and

report to the FDA any complaints about the product's performance and any               ~dverse   health

consequences of which it became aware and that are or may be attributable to the product.

        456.    As detailed above, this includes information the . manufacturer receives or

otherwise becomes .aware of, from any source, that reasonably suggests that a device may have




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caused or contributed to death or serious injury; or has malfunctioned in a manner that would

likely "cause or contribute to a death or serious injury'' if it recurred. 113

        457.    As discussed in detail above, Concept\is and Bayer failed to report and/or timely

report adverse events, including but not limited to, complaints of device migration, device

fracture/breakage, perforation, heavy menstrual cycle bleeding, and long-term chronic pain, all

of which are serious injuries or may lead to a serious injury.

        458.    As detailed above, the FDA discovered the overwhelming number of Essure®

adverse events only after women were no longer forced to report their problems directly to

Conceptus or Bayer (or indirectly through healthcare providers), and had the option to use the

"MedWatcher App" and report directly to the FDA.

        459.     The FDA received 8,950 of the approximately 9,900 MDRs regarding Essure®

between October 26, 2013 and December 31, 2015.

        460.    The most frequent MDRs regarding patient problems were as follows:

"pain/abdominal pain (6989), heavier menses/menstrual irregularities (3210), headache
                                                                              .
                                                                                      (2990),
                                                                                         .

fatigue (2 159), and weight fluctuations (2088). Most of the reports received listed multiple

patient problems in each report." "The most frequent device problems reported were patient-

device incompatibility (2016) (for example, possible nickel allergy), migration of the device or

device component (854), device operating differently than expected (490), device breakage

(429), device difficult to remove (280), malposition of the device (199), and device difficult to

insert ( 187). Multiple device problems can also be listed in each report." 114




113
    21 C.F.R § 803.SO(a); see also 21 U.S.C. § 360i(a) (further detailing the post approval reporting
requirements applicable to device manufacturers).
114
      http://www.fda.gov/MedicalDevices/ProductsandMedicalProcedures/ImplantsandProsthetics/Essure
PerrnanentBirthControl/ucm452254.htm


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        461.    Defendants' failure to report adverse events is further evidenced by the 2011 FDA

Form 483. 115

        462.    Conceptus and Bayer failed to adequately disclose .to the FDA under its

regulations Adverse Events which clearly impacted the safety, effectiveness~ and foreseeable

risk, and revealed increased risks and dangers of Essure® of which these manufacturers were

informed after Es sure®, s PMA approval.

                3. Conceptus and Bayer Had a Federal Uutv to Report New Clinical
                   Investigations and/or Scientific Studies under 21 C.F.R. § 814.84{b)(2).

        463.    As discussed in detail above, Conceptus and Bayer failed to report new clinical

investigations and/or scientific studies concerning the Essure® device about which Conce~tus

and Bayer knew or reasonably should have known, including but not limited to the Cornell

study, the article published in the online medical journal Conception, and the eight (8) articles

describing twelve (12) cases of Essure® abdominal migration published between January 2002

and December 2013 that were never reported to the FDA.

                4. Conceptus and Bayer Had Continuing Duties Under 21 C.F.R. §§
                   820.198, 820.300, 820.700 & 820.100 to Discover, Investigate and Respond
                   to Adverse Events.

        464.    Federal law also requires certain procedures be put into place to discover and

address adverse events and their causes. Conceptus and Bayer violated these requirements as

follows:

            A) 21 C.F.R. § 820.100: Conceptus and Bayer: (1) failed to routinely analyze
               complaints and other sources of quality data to identify existing and potential
               causes of nonconforming products or other quality problems and failed to use
               appropriate statistical methodology to detect recurring quality problems, including
               but not limited to, complaints of perforation, device migration, and/or device
               fracture/breakage; (2) failed to investigate the cause of nonconformities relating to
               product, processes, and the quality system; (3) failed to identify the action(s)

11 5
       http://3qg8x72qeng62erdph228vql.wpengine.netdna-cdn.com/wp-content/uploads/Conceptus-2011-
483 .pdf


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              needed to correct and prevent recurrence of such nonconforming product and
              other quality problems; and (4) failed to take any and all Corrective and
              Preventive Actions ("CAP A") necessary to address non-confonnance and other
              internal quality control issues;

          B) 21 C.F.R. § 820.198: Conceptus and Bayer had duties to receive, review,
             investigate, evaluate, record and report adverse events.             "[R]ecords of
             investigation under this paragraph shall include a determination of: (a) [w]hether
             the device failed to meet specifications; (b) [w]hether the device was being used
             for treatment or diagnosis; and (c) [t]he relationship, if any, of the device to the
             reported incident or adverse event" Conceptus and Bayer failed to comply with
             these quality control s~dards, and failed to establish and maintain procedw-es for
             implementing CAPAs in response to, inter alia, complaints of, but not limited to,
             device · migration~ device fracture/breakage, perforation, heavy menstrual cycle
             bleeding, long-tenn chronic pain, and other quality problems associated with the
             Essure® device; and failed to appropriately respond to adverse incident reports,
             incluaing but not limited to, reports of device migration outside of the fallopian
             tubes and/or device fracture/breakage, which strongly indicated the Essure device
             was malfunctioning or otherwise not responding to its Design Objective Intent,
             which was to remain permanently in Plaintiffs' fallopian tubes;

          C) 21 C.F.R. § 820.30: Conceptus and Bayer failed to establish and maintain
             procedures for validating the device design, including testing of production units
             under actual or simulated use conditions, creation of a risk plan, and conducting
             risk analyses, upon obtaining knowledge of device failures including but not
             limited to perforation, device migration, and/or device fracture/breakage; and,

          D) 21 C.F.R. § 820.70: Conceptus and Bayer failed to establish Quality Management
             Systems ("QMS") procedures to assess potential causes of non-conforming
             products, including but not limited to device migration, device fracture/breakag~
             and/or latent manufacturing defects, and other quality problems with the Essure
             device.

              5. Conceptus and Bayer Had a Federal Duty to Modify Essure®,s Labeling
                 under 21 C.F.R. § 803.39(a).

       465.   Any changes the manufacturer believes could affect the safety and effectiveness

of the device must be submitted via a "PMA Supplement," to the FDA for approval under 21

C.F.R. § 803.39(a).




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       466.    While the burden for determining whether a supplement is required is primarily

on the PMA holder, changes for which an applicant shall submit a PMA supplement include, _but
                               J



are not limited to, labeling changes if they effect the safety and effectiveness of the device. 116

       467.    Conceptus and Bayer had a duty to submit a PMA supplement once it knew or

should have kn.own that the label approved by the FDA under the PMA approval had become

inadequate, due to the multiple post-approval reports of serious adverse events associated with

the use ofEssure®.

       468.    Due to its failure to submit· a PMA supplement, the labeling originally approved

by the FDA for Essure® became inadequate before the Plahitiffs' surgery and thus failed to

protect the public health by faili°ng to adequately disclose the harms, risks and benefits of

Essure®.

               6. Conceptus and Bayer Chose Not to Submit a "CBE" Supplement117
                  Under 21C.F.R.§803.39(d).

        469.    Although most changes to the labeling of a device after premarket approval

require FDA approval of a supplemental application, under the CBE regulation a manufacturer

may place into effect any change that enhances the safety of the device or the safety in the us<? of

the device prior to the receipt ·o f a written FDA order approving the PMA supplement, including:

        "[l]abeling changes that add or strengthen a contraindication, warning, precaution, .
        or information about an adverse reaction for which there is reasonable evidence of
        a causal association 118

        470.    Under those regulations, the manufacturer is required to notify the FDA of

"Changes Being Effected" to a device's labeling.




116
     21 C.F.R. § 814.39(a).
117
    In this Complaint, "CBE" refers to "Changes Being Effected" pursuant to 21 C.F.R. § 814.39 (2012).
118
    2 1 C.F.R. § 814.39(d) (2012).                                                                  :


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          471.     Under the FDA's CBE supplement procedure, Conceptus and Bayer could have

unilaterally (without prior FDA approval) added a stronger, accurate warning to Essure® once

they l~ed of the adverse events associated with the device.

          472.     Conceptus and Bayer had a duty to amend and strengthen its labeling for Essure®

once it knew or should have known that the label approved by the FDA under the PMA approval

had become inadequate, due to the multiple pqst-PMA approval reports of serious adverse events

associated with the use of Essure®, which Bayer failed to properly report to the FDA and failed

to adequately    in~estigate.   A CBE supplement would have been one way for Bayer to satisfy this

federal duty.

          473.     Thus, under the PMA approval, and under 21 C.F.R. § 803:39(a), Bayer was

required to modify and strengthen the Essure® labeling and was permitted to do so without prior

FDA approval.
                                                         '·
          474.     The FDA, in its website, readily advises and recognizes that such a change can be

made without preapproval, and that the change is not inconsistent with any device specific

regulations. 119

          475.     There is no evidence that the FDA would have rejected a CBE label change, ·and

in fact the subsequent "Black Box Warning,, and patient check-list from the FDA in March of

2016 indicates that the FDA would have accepted any label which strengthened the safety

warnings had the FDA known of all the adverse events that these Defendants had a duty to

report.

          476.     Due to the Defendants' failure to strengthen its warning under a CBE or through a

PMA supplement, the labeling approved by the FDA in the Essure® PMA became inadeqPate


119
    See http://www.fda.gov/MedicalDevices/DeviceRegulationandGuidance/HowtoMarketYourDevice/ ·
PremarketSubmissions/PremarketApprovalPMA/ucm050467.htm


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and did not disclose the harms, risks and dangers of Essure® which were known or should have

been known through adequate investigation of AEs by Bayer and Conceptus.

       B.      CONCEPTUS AND BAYER HAD A DUTY TO REPORT ADVERSE EVENTS To THE
               FDA UNDER KENTUCKY LA w AND A DUTY To MODIFY THE LABELING BASED
               ON KENTUCKY LAW TO ADEQUATELY W ~ PHYSICIANS AND )'HEIR,
               PATIENTS.
                                 .                       .
       477.    Under Kentucky state law, these Defendants had a parallel and identical duty to

report and warn the FDA and other third parties of dangers associated with medical devices

marketed for uses intended by them. 120

       478.    These state law requiiements provided only another reason for these Defend~ts

to conform to their duties under federal law, FDA Regulations and PMA Conditions of

Approval, detailed above.

       479.    Such parallel duties were essentially identical because both required these

Defendants to take the same action in order to assure the safe and effective use of their medical

devices. Both required not only that serious adverse events be reported to third parties, but also
                                                                                          )
that these Defendants irivestigate such events and determine the root cause of such events.

Under Kentucky law, Conceptus and Bayer had a duty to warn pursuant to the Restatement 2d of

Torts§ 388 (1965).121 Comment n provides that,

       a supplier's duty to warn is disch_arged by providing information about the
       product's dangerous propensities to a third person upon whom it can reasonably
       rely to communicate the information to the ultimate users of the product or those
       who may be exposed to its hazardous effects. Restatement (2d) of Torts § 388
       cmt. n). 122             .




120
    See Larkin v. Pfizer, 153 S.W.3d 758 (Ky. 2004) (There is a common law duty to warn in Kentucky),
citing Post v. Am. Cleaning Equip. Corp., 437 S.W.2d 516 (Ky. 1968).                             .
121
    Adopted by Lloyd v. Lloyd, 479 S.W.2d 623, 625 (Ky. 1972); see also Larkin v. Pfizer, 153 S.W.3d
758 (Ky. 2004).
122
    Emphasis added. See also McLaughlin v. Bayer Corp., 2016 U.S. Dist. LEXIS 37516,*85
(E.D. Pa. Mar. 22, 2016).


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          480.    Conceptus and Bayer had a duty to warn under Restatement 3d of Torts: Products

Liability § 2 (1998), which states, in part, that a product is defective when, at the time of sale or

distribution, it is defective because of inadequate instructions or warnings.        A product "is

defective because of inadequate instructions or warnings when the foreseeable risks of harm

[such as those reflected in adverse event report] posed by the product could have been reduced or

avoided by the provision of reasonable instructions or warnings by the seller or other distributor,

or a predecessor in the commercial chain of distribution, and the omission of the instructions or

warnings renders the product not reasonably safe." Comment (i) explains that "[d]epending on .·

the circumstances, Subsection (c) may require that instructions and warnings be given not only to

purchasers, users, and consumers, but also to others who a reasonable seller should know will

be in a posilion to reduce or avoid the risk of harm." (Emphasis added.)

          481.    Under Kentucky state law, the FDA (regarding Adverse Events relating to

Essure®) is and was another person, "who a reasonable seller should know' will be in a position to

reduce or avoid the risk of harin."

          482.    Conceptus and Bayer had a duty to warn under Restatement 3d of Torts: Products

Liability§ 6(d). 123 Restat. 3d. § 6(d) provides that:

           [A] medical device is not reasonably safe due to inadequate instructions or
          warnings if reasonable instructions or warnings regarding foreseeable risks of
          harm are not provided to: (1) prescribing or other health-care providers who are in
          position to reduce the risks of harm in accordance with the instructions or
          warnings; or (2) the patient when the manufacturer knows or has reason to know
          that health-care providers will not be in a position to reduce the risks of harm in
          accordance with the instructions or warnings.

          483.    The "learned intennedia.fy rule," which is generally an exception to a

manufacturer's duty to warn, cannot apply where a Qevi.ce manufacturer fails at its legal



123
      Adopted in Larkin v. Pfizer, 153 S.W.3d 758 (Ky. 2004).


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obligation to provide adequate warning to the health-care provider. 124 "If the manufacturer fails

to adequately warn the learned intermediary, then it may be liable t!l        th~   injured patient-

consumer." 125

          484.    Conceptus' and Bayer's failure to report Adverse Events to the FDA resulted in

the PMA-approved labeling and warnings for Essure® being inadequate, due to the additional

"after-acquired" information regarding the harms risks and benefits contained in the Adverse

Events associated with Essure® that were not reported to the FDA; not available to the FDA at

~he   time of the PMA approval and/or not adequately investigated by Conceptus and Bayer.

          C.      CONCEPTUS AND BAYER'S D UTY TO }VARN UNDER KENTUCKY LAW IS NOT
                  DIFFERENT FROM OR IN ADDITION TO FEDERAL REQUIREMENTS.

          485.    "State requirements are preempted under the MDA only to the extent that they are

"different from, or in addition to" the requirements imposed by federal law. 126 Thus, § 360k

does not prevent a State from providing a damages remedy for claims prerriised on a violation of
           '
FDA regulations; the state duties in such .a case "parallel," rather than add to, federal

requirements." 127

           486.    As described above, claims for failure to warn are not preempted. "Failure to

warn claims are neither expressly nor impliedly preempted by the MDA to the extent that this

claim is premised on [the defendant manufacturerJ's Violation of FDA regulations with respect to

reporting [adverse outcomes] caused by the device." 128




124
    Larkin at 764, 770.
125
    Id. (internal citations omitted).
126
    21 U.S.C. § 360k(a){l).
127
      Riegel v. Medtronic, 552 U.S. 312, 3'3 0 (2008).  ·
128
      Hughes v. Boston Scientific Corp., 631 F.3d 762, 776 (5th Cir. 2011).


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       487.    Plaintiffs are not suing because Bayer's and Conceptus' conduct violated federal

law. Instead, Plaintiffs ·are suing based on the premise that Bayer's and Conceptus' conduct

violates parallel regulations and requirements under Kentucky law.

       488.    Kentucky law does not impose requirements that are different from, or in addition

 to requirements under federal law, and therefore Plaintiffs' claims are not preempted.

 "Although Plaintiffs cannot [under Kentucky law] bring a negligence per se claim based on

 violations of the FDA regulations and FDCA provisions, Kentucky courts have held that federal

 laws can support the existence of a duty of care in a negligence action."129 In essence,

 Kentucky law incorporates FDA standards of care as a part of the duty of care in state law

 negligence actions; therefore, state law duties in this instance are identical to requirements of

 federal law, FDA Regulations, PMA requirements and the PMA Conditions of Approval.

       489.    Conceptus and Bayer had a continuing duty under the various regulations

 discussed above and per the terms of the PMA approval by the FDA to monitor its product after

 receiving FDA approval and to discover and report to the FDA any complaints about the

 product's performance and any adverse health consequences and other such serious events of

 which they became aware.

       490.    Conceptus and Bayer failed to perform these duties under federal law to warn the

FDA, and thus failed to perform its duty under Kentucky law, as these Defendants had a parallel

duty to rep.Ort and warn the FDA and other third parties of dangers associated with medical ·
                                      /

devices marketed for uses intended by them.

       -491.   Under the above Restatements, which hav~ been adopted by Kentucky, the FDA

is a "third person'' in a position to reduce the foreseeable risks and harms suffered by Plaintiffs in


129
   Sadler v. Advanced Bionics, Inc., 929 F. Supp. 2d 670, 2013 U.S. Dist. LEXIS 32228, 2013 WL
898152 (W.D. Ky. 2013).


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 their use of Essure®; thus, these Defendants had identical federal and state law duties to inform

 the FDA of the adverse events they knew or had reason to know about regarding Essure®, so

 consumers, such as Plaintiffs, and their physicians were properly informed of its dangerous

 conditions of the Essure® device and the facts which made it likely to be dangerous, so as to·

 provide adequate .warning of foreseeable ris~s of harm..

        492.    Alternatively, under Restat. 3d. § 2 and 6(d), Conceptus and Bayer had a duty to

 warn of fores~eable harms regarding the Essure®device by taking steps to modify the labeling to

 include hanns, risks and benefits of the Essure® device that were not known or .apparent at the

 time the FDA gave its PMA approval to the Essure® labeling, but which later became apparent

 through multii;>le reports of Adverse Events, which Bayer and Conceptus faile~ to timely report

 to the FDA and failed to adequately investigate. This state law duty to modify the labeling is

 identical to the federal duty under Essure®'s PMA "Conditions of Approval; "which required

 Bayer and Conceptus to " [s]ubmit' a PMA supplement when. unanticipated adverse effects,

 increases in the incidence of anticipated adverse effects, or device failures necessitate a labeling,

 manufacturing_, or device modification." Had Bayer an.d Conceptus conformed to these duties,

· Plaintiffs and their physicians would have been adequately warned.

        493.    Bayer and Conceptus could have submitted a CBE under 21 C.F.R. § 803.39(d) to

 seek such a modification or could have submitted a PMA supplement so seeking. Bayer and

 Conceptus failed to do either and thus violated its federal and state law parallel duties to modify

 the labeling and include the inf~rmation to which it had access, through the adverse events (AEs)

 which it failed to report. Bayer's   and Conceptus' state law duties to modify the labeling are
 simply additional reasons for them to perform their f~deral duties, explained above.




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          494.    Kentµcky law exists .. independently of federal law.       Here, Plaintiffs are not

attempting to enforce federal law. Instead, Plaintiffs are seeking to hold Conceptus and Bayer

liable for violating the state law duties to warn of the known dangers of Essure®, which parallel

federal regulations and requirements.

          D.      THERE IS A CAUSAL AND FACTUAL NEXUS BETWEEN PLAINTIFFS' INJURIES AND
                  D EFENDANTS' BREACH OF THEIR STATE LAW _DUTIES, AND IDENTICAL
                  FEDERAL REQUIREMENTS.

          495.    As discussed in detail above, Conceptus and Bayer failed to· review, investigate,

evaluate, record and report adverse events, and/or timely report adverse events, including but not.

limited to: complaints of device migration, device fracture/breakage, perforation, heavy

menstrual cycle bleeding, and long-term chronic pain, all of which are serious injuries or may

lead to a serious injury because such injuries required Plaintiffs to undergo surgical intervention

to prevent further injury. 130

          496.    As discussed in detail abov~, Conceptus and Bayer failed to report new clinical

investigations and/or scientific studies concerning the Essure® device about which Conce~tus

and Bayer knew or reasonably should have known, including but not limited to the Cornell

study, the article published in the online medical journal Conception, and the eight (8) articles

describing 12 cases of Essure® abdominal migration published between January 2002 and

December 2013 that were never reported to the FDA. 131

           497.    As discussed in detail above, Conceptus and Bayer failed to: (1) analyze or

identify existing potential causes of non-conforming products and other quality problems; (2)

follow procedures used to control products which did not conform to specifications; (3) take any




130
      See 21 C.F.R. § 803.50; 21 C.F.R. § 814.80; and 21 U.S.C. § 360i(a).
131
      See 21 C.F.R. § 814.84(b)(2).


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 and all Corrective and Preventative Actions ("CAPA") necessary to address non-conformance

 and other internal quality control issues; and/or (4) conduct adequate risk analysis.

        498.     Had Conceptus and Bayer reP,orted adverse events that it knew or ·had reason to

 know to the FDA, the FDA would have been in a position to reduce the risk of qarm to the

 ultimate conswners of Essure® and would have moved to strengthen the warnings in the Essure®

 labeling much earlier than February, 2016.

        499.     Had / Conceptus and Bayer analyzed and identified causes of non-confom\ing

                                            .
· products and quality problems, conducted adequate risk analysis, and implemented CAPA as

 required, the FDA would have been on notice of harms of Essure® much earlier and w~uld have
                                                                  .               .
 been in a position to reduce the harm to consumers. 132 Instead, the non-compliance with quality

 control- and CAPA is another example of the ·trend by Bayer and Conceptus to provide
                                                               ,
 inadequate follow-up and reporting regarding adverse events associated with Essure®.

                 1. Had Bayer and Conceptus Reported AEs Earlier, the FDA Would Have
                    Moved To Strengthen the Essure® Labeling Much Earlier, Prior to
                    Plaintiffs' Implantation.

         500.    As described above, the information that led the FDA to take steps to     stren~en


 the labeling was available much earlier to these Defendants and this information would have led

 the FDA to strengthen the labeling much earlier, before implantation of the device into Plaintiffs.

 However, Bayer and Conceptus failed to report adverse events to the FDA and thus Plaintiffs and

 their implanting physicians were not informed of the true risks and benefits of the Essure®device

 prior to Plaintiffs' surgeries.




 132
    "Postmarket surveillance is designed to better identify uncommon but potentially serious adverse
 events related to the use of the device in the general public." Analysis of Adverse Events With Essure
 Hysteroscopic Sterilization Reported to the Manufacturer and User Facility Device Experience Database,
 available at: http://www. jmig.org/article/S 1553-4650(13)00281-1/fulltex.t


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          501.   Had Bayer and Conceptus timely reported adverse events to the FDA that they_

either knew about or should have known, FDA would have provided warning of foreseeable

risk~   of hann to Plaintiffs' prescribing and implanting physicians, who would have been in .a

position to inform Plaintiffs of these risks.

          502.   Had Plaintiffs been informed of these risks, they would have declined to have the

device implanted and they would not have suffered injuries.

                 2. Had Bayer and Conceptus Investigated and Reported AEs Earlier, the
                    Information in Those AEs Would Have Been Available to the Medical
                    Community as a Whole.

          503.   Under state and federal law, Conceptus and Bayer are charged with knowing the

risks and benefits of their medical device products. Nevertheless, these Defendants .did not

reveal their knowledge or investigate the causes of these adverse events. Instead, women

implanted with the Essure® device reported adverse events directly to the FDA through the

"MedWatcher app.>' 133

          504.   As stated above, approximately 90% of all Essure® related adverse events were

reported from October of2013 to December of2015 by patients through MedWatcher.

          505.    The FDA publishes adverse events and MDRs in a public, searchable

database called MAUDE and updates the report monthly with all reports received prior. to

the update._ The general public, including physicians and patients, may use the MAUDE

database to obtain safety data on medical devices.         For example, in October of 2015, Dr.

Dhruva, et al. published a study in the New England Journal of Medicine entitled

Revisiting Essure - Toward Safe and Effective Sterilization, which assessed the safety and



133
      See "Increasing Patient Engagement in Pharmacovigilance Through Online Community Outreach and
Mobile Reporting Applications: An Analysis of Adverse Event Reporting for the Essure Device in the
US" available on line at http://link.springer.com/article/l 0. I OQ7/s40290-015-0106-6/fu lltext.html


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effectiveness of Essure®. 134 This study was based in part on a search and analysis of the

MAUDE database. The study concluded that the increase in reported Essure® related adverse

event complaints since mid-2013 led the FDA to update Essure®'s patient label in 2014 to

include information about risks of chronic pelvic pain and device migration into the lower

abdomen and pelvis, and led to the FDA,s decision to· reconvene its Obstetrics and

Gynecology Devices Panel to reassess Essure®·~ safety and effectiveness on September 24,

2015.

        506.     Similarly, a study published in November 2013 in The Journal of

Minimally      Invasive Gynecology entitled Analysis of Adverse Events              With Essure

Hysteroscopic    Sterilization Reported to the Manufacturer and User Facility Device

Experience Database, utilized the FDA's MAUDE database. 135 The study objectjve stated

that the MAUDE database is useful for clinicians using an FDA approved medical device to

identify the occurrence of adverse events and complications.

        507.    If Conceptus and Bayer had timely and accurately investigated such adverse

events and reported them to the FDA, these reports would have been publically available and

would have effectively warned Plaintiffs' physicians both directly, such as through the MAUDE

database, and through the discussion of adverse events that would have occurred in the published

literature and in the medical community.

        508.    Because of Conceptus and Bayer's failures, Plaintiffs' surgeons relied on

inadequate, false and misleading information concerning the benefits and harms when deciding

to use the Essure® device in Plaintiffs' surgeries.

134
    See "Revisiting Essure - Toward Safe and Effective Sterilization," avaiJable at:
http://www.nejm.org/doi/pdf/l 0.1056/NEJMpl5 l 0514.
135
     See "Analysis of Adverse Events With Essure Hysteroscopic Steriliz.ation Reported to the
Manufacturer       and     User    Facility   Device       Experience       Database," available at:
http://www.jmig.org/article/S 1553-4650( 13)0028 J-1/fulltext


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                  3. Had Bayer and Conceptus Modified the Essure® Labeling as Required
                     under State and Federal Law, Information Regarding the True Risks,
                     Harms and Benefits of Essure® would have been Available Much Earlier.

       509.       Defendants were aware that the intended uses of Essure® were likely to cause

adverse events that were neither as safe nor as effective as available alternative .products and

medical treatments. These harms risks and benefits (revealed by AEs reported to Bayer only

after the original PMA approval of the labeling) were not contained in the original labeling and

therefore were not adequately reported in that labeling.

       510.       Bayer and Conceptus failed to comply with the Essure® PMA "Conditions of

Approval," and 2 1 C.F.R. § 814.39 which required them to "[s]ubmit a PMA supplement when
              v
unanticipated adverse effects, increases in the ineidence of anticipated adverse effects, or device

failures necessitate a labeling, manufacturing, or device modification."

       511.       Bayer and Conceptus could have complied       wi~   its requirements under the

Conditions of Approval (and/or the FDA Regulations) by either submitting a CBE under 21

·c.F.R. §803.39(d), or by filing a supplemental PMA to modify the warnings to reflect the true

harms, risks and benefits of the device.

       512.       Had an appropriate warning regarding the risks associated with the use ofEssure®

been provided through any of the above means, Plaintiffs' physicians .would not have used the

device and Plaintiffs would not have consented to its use.

                  4. Had Bayer and Conceptus Conformed to their Identical State and
                     Federal Duties, Plaintiffs' Specific Injuries Would Not Have Occurred.

       513.       As a direct and proximate cause of one or more of the above-listed dangerous

conditions, defects and negligence, Plaintiffs sustained serious injuries of a personal and

pecuniary nature from the date of their Essure® surgeries to the pres~nt.




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       514.   Specifically, Plaintiff Wolford suffered from device migration, pain, cramping,

dysmenorrhea, dyspareunia and subsequent surgeries following her Essure® implantation.

       515.   Plaintiff Taylor suffered from device migration, pain, cramping, depression,

fatigue, tubal spasm, dizziness, weakness, dysmenorrhea, dyspareunia and subsequent surgeries

following her Essure® implantation.
                                       I
       516.   Plaintiff Atkinson suffered from device migration ·and/or perforation, pain,

irregular menses, clots and subsequent surgeries following her Essure® implantation.

       517.   Plaintiff Johnson suffer-ed from device migration, pain, menorrhagia and

subsequent surgeries following her Essure® implantation.

       518.    Because ConceI?tus and Bayer failed to submit and/or timely submit a PMA

supplement and make a labeling change to add or strengthen a contraindication, warning,

precaution, or information about an adverse reaction, there is reasonable evidence of a causal

association between Plaintiffs' injuries and these Defendants' failures to comply with federal ahd

state duties; such evidence includes but is not limited to the thousands of reported and unreported

adverse events consisting of serious injuries and pregnancies, the numerous Essure® studies

consisting of thousands of women reporting that patients who undergo the Essure®procedure are

more likely to experience injuries and complications which require or will require surgical

intervention or re-operation, and the over 30,000 unreported complaints contained in Conceptus

and Bayer's complaint files.

       519.    The 2002 Essure® label described cramps as a typical temporary effect;~d only
                                            '
described a micro-insert outside of the fallopian tube as an "incorrect position" found in .the




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clinical studies, among three other issues including perforation, expulsion and placement too far

or not far enough in the tube, in 4% of women at a routine 3-month follow up. 136

          520.    It was not until October of 2013 that Conceptus changed the patie!lt information

booklet to include risks of chronic pain and device migration. 137 However, the modified label

stated: "There are reports of the Essure® insert migrating." Thi~ modification of the labeling

provided only a vague reference, and would have been much more robust as required by the

FDA in 2016 had the true information regarding adverse events been reported and investigated

by these Defendants.

          521.    Plaintiff Atkinson's implant surgery was in August of 2009, Plaintiff Taylor's

implant surgery was in June of 2013, and Plaintiff Johnson's implant surgery was in April of

2013, before women began directly reporting adverse events on MedWatcher; and Plairitiff

Wolford's implant surgery was in May of 2014, shortly after the MedWatcher app became

available but before much of reporting occurred via this app, and before the meeting of the

Obstetrics and Gynecology Devices Panel of the Medical Devices Advisory Committee in

September of 2015. Had Bayer and Con_ceptus complied with the              P~    and     time~y   reported

adverse events, applied for a PMA supplement, or unilaterally changed the label through a CBE,

Plaintiffs and their physicians would have been warned of the true adverse events and incidence

of adverse events prior to Plaintiffs' surgeries, and would not have elected to use Essure® for

Plaintiffs' permanent sterilization needs.

          522.    Defendants' conduct, as alleged above, was malicious, oppressive, intentional

and/or reckless, outrageous, and constituted willful and wanton disregard for the rights or safety




• 1 ~ http://www.accessdata.fda.gov/cdrh docs/pdf2/P020014D.pdf
137
      http://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfpma/pma.cfm?id=P0200 l 4S040


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of others. Such conduct was directed specifically at Plaintiffs and warrants an award of punitive

damages.

       E.      TO THE EXTENT THE ESSURE® WARNING WAS ADEQUATE, IT WAS NULLIFIED
               BY DEFENDANTS' CONDUCT.

       523.    The Essure® warning was nullified due to the reckless or intentional minimizing

and/or downplaying of the risks of serious side effects, the misrepresentations, concealments ~d

omissions, and/or the failure to report known adverse events by Conceptus and Bayer                  aS
described generally above.

       524.                                                                           '
                Conceptus and Bayer created and distributed false and misleading advertising,

including but not limited to representations and          warranties regarding the risks, safety,

recovery time, and effectiveness of Essure® in order to convince physicians and patients to

use Essure® over other methods of permanent birth control; thereby gaining market share, in

violation of21 U.S.C. §§ 360(q); 360(r) and Kentucky law.

       525.    Conceptus and Bayer's misrepresentations and false and misleading promotion

of Essure® nullified otherwise adequate warnings under Kentucky law. 138

       F.      ESSURE® IS AN "ADULTERATED"                 AND    "MISBRANDED"        DEVICE AND IS
               THEREFORE EXTRA-REGULATORY.

       ·526.   A Class III device that fails to meet the PMA requirements after marketing is

considered to be adulterated under § 35I(f) of the Federal Food, Drug and Cosmetic Act

("FDCA").

        527.    Under 21 U.S.C. § 352 and KRS § 217.065, a device is "misbranded" if its

labeling is false or misleading in any particular. 139


138
    See Hyman & Armstrong, P.S.C. v. Gunderson, 279 S.W.3d 93 (Ky. 2008); see also KRS § 217.105
("[a]n advertisement of a ... device ... sball be deemed to be false if it is false or misleading in any
rarticular").
 39
    See also KRS § 446.070, allowing recovery of damages for violation of a Kentucky statute.


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          528.    As detailed above, the Essure® device was manufactured, labeled, distributed,

and/or advertised in a manner that is inconsistent with the Conditions for Approval specified in

thePMA. 140

          529.    Specifically, these Defendants failed to submit a PMA supplement for

unanticipated adverse effects and increases in the incidence of anticipated adverse effects or

device failures. 141

          530.    As detailed above, Conceptus and Bayer concealed reports of device migration

and perforation, in violation of federal law, the PMA, and parallel state law.

          531.    Further, Conceptus and Bayer (1) failed to appropriately respond to adverse
              f

incident reports, including but not .limited to, reports of device migration outside of the fallopian
                                                        '
tubes and/or device fracture/breakage, which strongly indicated the Essure® device was

malfunctioning or otherwise not responding to its Design Objective Intent, which was to
                                                 .     .
remain pennanently in Plaintiffs' fallopian tubes, and (2) continued to place Essure® into the

stream of interstate commerce when they knew, or should have known, that the Essure® was

malfunctioning or otherwise not responding to its Design Objective Intent.

          532.    Accurate and timely reporting of adverse events helps to ensure that devices are

not adulterated or misbranded and are safe and effective for their intended use.

          533.    Bayer and Conceptus failed to comply with the PMA, thus making the Essure®

device "adulterated" and extra-regulatory.

          534.    Conceptus and Bayer promoted for sale misbranded and adulterated products

because the Essure® label is false and misleacting as Essure® is not a· safer and more effective

method of pennanent sterilization than alternative methods, as evidenced by the over 10,900


140
      21 C.F.R. § 814.80.
141
      See http://www.accessdata.fda.gov/cdrh docs/pdf2/P020014a.pdf


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reported adverse events consisting of serious injuries and pregnancies, by the numerous Essuree

studies consisting of thousands of women reporting that patients who undergo the Essure~

procedure are more likely to experience injuries and complications which require or will require

surgical intervention or re-operation, and by the over 30,000 unreported complaints contained in

Conceptus' and Bayer's complaint files.

       535.      Plaintiffs are not suing to enforce federal law based on the adulterated status of

the Essure® device, but are instead suing on the parallel state claims detailed abOve, which allow

a state cause of action for damages due to Bayer's and Conceptus' fai lure to warn the FDA,

Plaintiffs, and Plaintiffs' physicians of the misbranded condition of the device.

       536.      Had Plaintiffs and their physicians known that Essure411 was adulterated due to

Conceptus' and Bayer's failure to comply with the PMA, Plaintiffs would not have chosen to

have Essure® implanted in their fallopian tubes.

       537.      Plaintiffs suffered device migration and pelvic pain following their implants,

which were adverse events known . to Bayer and Conceptus well before Plaintiffs' implant

surgeries.     Bayer and Conceptus chose to conceal the adverse event of migration and the

incidence of adverse events such as pelvic pain, in violation of the PMA, rendering Essure®

adulterated.

        538.     Therefore, Plaintiffs' injuries are causally and factually related to the adulterated

status ofEssuree due to Bayer and Conceptus' failure to report adverse events in violation of the

PMA.

                                · SECOND CAUSE OF ACTION'.
                    Fraudulent Misrepresentation I Fraud in the Inducement
                          Restat. 3d of Torts: Products Liability §9.




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       539.    Plaintiffs repeat and -incorporate by reference all other paragraphs of this

Complaint as if fully set forth herein and further allege as follows:
        I
       540.    Plaintiffs brings a claim against Conceptus and Bayer under Kentucky law for

fraudulent misrepresentation I fraud in the inducement regarding the Essure® device.

       A.      CONCEPTUS AND BAYER HAD AFFIRMATIVE AND CONTINUING FEDERAL D Ul'IES
               TO NOT MAKE FRAUDULENT MISREPRESENTATIONS OF MATERIAL FACTS
               REGARDING THE B ENEFITS AND HARMS OF EssuRE®.

       541.    The Essure® device that was implanted in Plaintiffs was promoted, distributed,

manufactmed and used in a manner that is in violation of federal law, the FDCA, the MDA, and

regulations promulgated thereunder.

       542.    Under the FDCA and FDA's implementing regulations, ·labeling and promoti~nal

advertisements, claims about medical devices are 'deemed misleading if they fail to disclose

certain infonnation about the product's risks.

       543.     It was the duty of Conceptus and Bayer to comply with federal law, the

FDCA, the MDA and the regulations.            Notwithstanding this duty, Conceptus and Bayer

violated federal law, the FDCA, the MDA, and the regulations, including but not limited to, in

one or more of the following ways:

       A)       Conceptus and Bayer had duties to not make false or misleading statements
                regarding Essure® under 21 U.S.C. §§ 331(a), 35 1 & 352(a),(q)&(r); 21 U.S.C.
                §§ 360(q)&(r); and 21 C.F.R. § 814.80.

       B)       Conceptus and Bayer had duties to investigate and address adverse events under
                the following regulations: 21 C.F.R. § 820.3(z)(x), 21 C.F.R. § ·820.22, 21
                C.F.R. § 820.5, 21 C.F.R. § 820.l(a), 21 C.F.R. § 820.22, 21 C.F.R. § 820.100;
                21 C.F.R. § 820.l60(a), 21 C.F.R. § 820. 198; 2 1 C.F.R. § 820.30; 21 C.F.R. § ·
                803.3; 21 C.F.R. § 820.70 and 21 C.F.R. § 820.l 70(a).      .

       C)        Conceptus and Bayer had duties to submit a PMA supplement and make a
                 labeling change to add or strengthen a contraindication, warning, precaution, or
               - information about an adverse reaction for which there is reasonable evidence of
                 a causal association under ?1 C.F.R. § 814.39, 21 C.F.R. § 803.56.


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       D)       Conceptus and Bayer had duties to report adverse events under 21 C.F .R. §
                803.50; 21 C.F.R. § 814.80, and 21 U.S.C. § 360i(a).

       E)       Conceptus and Bayer had duties to report new clinical investigations and/-0r
                scientific studies concerning the Essure® device about which Conceptus and
                Bayer knew or reasonably should have known about under 21 C.F.R. §
                814.84(b)(2).

       544.    The above regulations imposed duties on Conceptus and Bayer to            accurat~ly,

timely, and honestly represent to the FDA, the public, Plaintiffs and Plaintiffs' physician, the

safety and effectiveness ofEssure®.

       B.      CONCEPTUS AND BAYER HAD STATE DUTIES TO NOT MAKE FRAUDULENT
               M ISREPRESENTATIONS OF MATERIAL FACTS REGARDING THE BENEFITS AND
               HARMS OF EssuRE®.      (

       545.    In Kentucky, a party claiming harm resulting from fraudulent misrepresentation I

fraud in the inducement must establish six elements of fraud by clear and convincing evidence as

follows: a) material representation p) which is false c) ~own to be false or made recklessly d)

made with inducement to be acted upon e) acted in reliance thereon and f) causing injury.

       546.    Further, under the Restatement 3d of Torts: Products Liability § 9:
                                                               r

       One engaged in the business of selling or otherwise distributing products who, in
       connection with the sale of a product, makes a fraudulent, negligent, or innocent
       misrepresentation of material fact C-Oncerning the product is subject to liability for
       harm to persons or property caused by the misrepresentation. 142

       C.      CONCEPTUS AND BAYER'S DUTY To NOT MAKE FRAUDULENT
               MISREPR~ENTATIONS UNDER KENTU.CKY LAW Is NOT DIFFERENT FROM OR
               IN ADDITION To FEDERAL ij.EQUIREMENTS.

       547.    Under both Kentucky state and federal law, Conceptus and Bayer were under

parallel duties not to make fraudulent misrepresentations of material facts regarding the benefits

142
  See Giddings & Lewis, Inc. v. Indus. Risk Insurers, 348 S.W.3d 729, 747-48 (Ky. 2011) (adopting the
Restatement (Third) of Torts § 9); and see Morris Aviation, LLC v. Diamond Aircraft Indus., 536 F.
App'x 558, 567-68 (6th Cir. 2013) (The Sixth Circuit in Morris recognized that the Kentucky Supreme
Court adopted Restatement (Third) of Torts § 9).


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and harms of the medical devices sold by them. The state law and federal duties are identical

because both prohibit these Defendants from making misrepresentations in the sale of their
                       143
medical devices;             thus, the state law cause of action alleged herein is just one more reason for

these Defendants to conform to their duties l.lllder the FDCA, the MDA, the Essure® PMA, and

FDA Regulations.

        548.    Conceptus and Bayer were required to comply with the duties listed in Section B.

above, and were required to be truthful, accurate, and timely in performing the duties               un~er

federal ,law, as detailed above.

        549.    Kentucky law does not impose requirements that are different from, or in addition

 to requirements under federal law, and therefore Plaintiffs' claims are not preempted.

        550.    Kentucky law exists independently of federal law.                Here, Plaintiffs are not

attempting to enforce federal law. instead, Plaintiffs are seeking to hold Conceptus and Bayer

liable for violating the state law duties to not make false and misleading statements regarding

Essure®, which parallel federal regulations and requireme~ts.

        D.      THERE IS A CAUSAL AND FACTUAL NEXUS BETWEEN PLAINTIFFS' INJURIES AND
                DEFENDANTS' BREACH OF ITS STATE LAW DUTIES, AND IDENTICAL FEDERAL
                REQUIREMENTS.

        551.    Conceptus and Bayer breached their duties under federal and state laws, as

follows:



143
   See, e.g., 21U.S.C.§352(q) and 2 1 U.S.C. § 32 l(n), KRS § 217.065, c.f. Kentucky common law. See
also, United States v. Shabbir, 64 F. Supp. 2d 479, 481 (D. Md . 1999), which explains:
        The FDCA regulates, inter alia, the introduction of certain articles into the United States. See· 21
        U.S.C. § 301 et seq. Section 331 prohibits "the introduction or delivery for introduction into
        interstate commerce of any food, drug, device, or cosmetic that is adulterated and misbranded."
        21 U.S.C. § 33 l(a). nl "[A] drug or device shall be deemed to be misbranded (a) if its labeling is
        false or misleading in any particular...." 21 U.S.C. § 352. "Labeling" is expansively defined, and
        includes "all labels and other written, printed or graphic matter (1) upon any article or any of its
        containers or ·wrappers, or (2) accompanying such article." 2 1 U.S.C. § 321 (m).


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                   A)    Fraudulently misrepresented the health and safety hazards, symptoms,
                         diseases and/or health problems associated with use of Essure® for the
                         purposes intended by these Defendants;

                   B)    Fraudulently misrepresented their illegal, improper and unethical schemes
                         to promote and market Essure® as "simple,, and "worry-free,,; and

                   C)    Fraudulently misrepresented information about the known comparative
                         risks and benefits of the use of Essure® and the relative benefits and
                         availability of alternate products, treatments and/or therapies:

            552.   As described above in this Complaint, to promote the i)erceived safety of the

device and gain market acceptance, Conceptus devised and implemented a scheme to defraud

physicians and patients, by means of false and fraudulent pretenses, so physicians and their

patients would believe Essure® to be a safe and effective product, and thus increase the demand

and profitability.

                   1. Conceptus and Bayer Intentionally Misrepresented the Health and Safety
                      Information Associated with Essure®.

            553.   In connection with the Essure® product, Conceptus and Bayer fraudulently and

intentionaily misrepresented material and important health and safety product risk information to

Plaintiffs and Plaintiffs' physicians, all as alleged in this Complaint.

            554.   For example,   Concep~ and Bayer used the Essure® label to increase revenue, 144
~din doing so made false and misleading statements about the safety and efficacy ofEssure® to

 Plaintiffs and Plaintiffs' physicians, as it concealed important health and safety information fi:om

 the FDA and fai led to ·ronow proper quality control measures, regulations, and/or implement

 CAPAs; thus rendering the label false. .

            555.   The Essure® label at ~e time of Plaintiffs, 2013 and 2014 implants represented

 that Essure® was a safer and more effective method of permanent sterilization than alternative

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       fu
       2008, Conceptus stated for the 2007 fi scal year that it intended to make labeling improvements to
 Essure® to increase the adoption of the Essure® procedure. See                                         ·
 http://www.wikinvest.com/stock/Conceptus CCPTSYFiling/l O-K/2008/F23313 l 3


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methods. This is false and misleading, as evidenced by the over 10,000 reported adverse events

consisting of serious injuries and pregnancies, by the Essure® studies consisting of thousands of

women and reporting that patients who undergo the Essure® procedure are more likely to

experience injuries and complications which require or will require surgical intervention or re-

operation, as well as by the over 30,000 unreported complaints contained in Conceptus and

Bayer's complaint files.

       556.     Bayer and Conceptus presented false and misleading information after being

caught by the FDA in 2011 for not reporting migration events. It was not until October of 2013

that Conceptus changed the warning label to state only that "There are reports of the Essure

insert migrating.11 This warning gravely downplayed the true incidence of risk that a woman's

Essuie® coils might migrate, an adverse event that occurred in both Plaintiffs.

       557.     Conceptus and Bayer represented to the FDA, the public, Plaintiffs and Plaintiffs'
                                                                                \

implanting physicians that Essure® was less invasive and less costly than tubal ligation, required

no incision or general anesthesia, no abdominal entry for implantation, and could be im~lanted in

an office setting. These Defendants also represented that Essure® was beneficial to patients

because there were no risks associated with hormones, which are used in hormone-based

contraception, and no recurring management of contraception. 145

        558.    These representations were false and miisleading, and were intentionally and

fraudulently made to generate sales.




145
   See " Revisiting Essure - Toward Safe and Effective Sterilization," available at:
http://www.nejm.org/doi/pdf/10. 1056/NEJMp1510514; and see
http://www.wikinvest.com/stock/Conceptus (CPTS)/Filing/l O-K/2008/F233 l 3 l 3


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        559.     Conceptus stated that they were a "one product   co~pany   and if our product fails

to gain market acceptance, our business will suffer ... [w]e are dependent on the Essure®

system." 146

        560.     Conceptus believed that the recommendations and endorsements of physicians

would be essential for market acceptance of Essure®, and that physicians would not endorse the

product unless it was an attractive alternative to other forms of contraception and more cost-

effective. 147

        561.     Evidence that these representations were intentionally false and misleading can be

seen in the adverse event reporting that occurred subsequent to the launch of the Med Watcher

app.

        562.     A retrospective study published in November 2013 in The Journal of Minimally

Invasive Gynecology entitled        Analysi~   of Adverse Events With Essure Hysteroscopic

Sterilization Reported to the Manufacturer and User Facility Device Experience Database, 148

analyzed and investigated reports associated with the Essure® hysteroscopic sterilization system

from November of2002 to February of2012 using the MAUDE database. The study found that

457 adverse events were reported during this period, which included 217 reports of pain, 121
                                    1

events of delivery catheter malfunction, 61 reports of post-sterilization pregnancy, of which 29

were ectopic pregnancies, 90 events of perforation, 44 reports of abnoIIJlal bleeding and 33

events of microinsert malposition. There were· 270 cases (which is 59. l % of all reported adverse

events) where the adverse events resulted in an additional surgical procedure, of which 44 were

hysterectomies.

146
    See http://www.wikinvestcom/stock/Conceptus CCPTSl/FiJing/l O-K/2008/F2331313
147
    See http://www.wikinvest.com/stock/Conceptus CCPTSYFiling/10-K./2008/F2331313
148
     See "Analysis of Adverse Events With Essure Hysteroscopic Sterilization Reported to the
Manufacturer     and      User     Facility   Device      Experience   Database,"    available    at:
http://www.jmig.org/article/S 1553-4650( 13)00281-1/fulltext


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       563.       Another study, Increasing Patient Engagement in Pharmacovigilance Through

Online Community Outreach and Mobile Reporting Applications: An Analysis of Adverse Event

Reporting for the Essure® Device in the US, 149 examined voluntary patient adverse event

reporting directly to the FDA using the FDA's new MedWatcher app. The study began by

encouraging women in an Essure® support group who had been adversely affected by the device
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to file a report using MedWatcher.
                                  I
       564.       The study analyzed data collected from May 11, 2013 to December 7, 2014, which

included 1349 women who reported adverse events through MedWatcher. The study found that

1047 women (77.6%) reported serious events such as hospitalization, disability and permanent

damage after implantation.

       565.       When the MedWatcher app launched in the fall of 2013, and women started to

report adverse events from Essure® directly to the FDA, Bayer chose to continue promoting the ·

device as safe.

       566.       Between May 29, 2014 and January 20, 2016, Bayer received 462           compla~nts


that a patient's Essure® coils had broken apart. Bayer submitted the reports of breakage in an

intentionally misleading manner. When forwarding the first few complaints, Bayer notified

the FDA that "single cases have been reported of Essure breakage.>' However, as reports of

breakage continued to mount, Bayer continued to submit to the FDA that only single cases of

breakage had been reported.           Bayer's MDRs regarding device breakage were inacctirate,

misleading, and not in compliance with MDR reporting requirements.

       567.       On October 8, 20 15, Dr. Dhruva, et al. published a study in the New England

Journal of Medicine entitled Revisiting Essure - Toward Safe and Effective Sterilization, which
149
  See "Increasing Patient Engagement in Pharmacovigilance Through Online Community Outreach and
Mobile Reporting Applications: An Analysis of Adverse Event Reporting for the Essure Device in the
US" available on line at: http://link.springer.com/article/l 0.1007/s40290-015_-0 l 06-6/fulltext.html


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 assessed the safety and effectiveness of Essure®. T_his study was based in part on a search and

 analysis of the MAUDE database. The study concluded that the increase in reported Essure®

 related adverse event complaints since mid-2013 led the FDA to update Essure®'s patient label in

 2014 to include information about risks of chronic pelvic pain and .device migration into the

 lower abdomen and pelvis, and led to the FDA's decision to reconvene its Obstetrics and

 Gynecology Devices Panel to reassess Essure®'s safety and effectiveness on September 24,'

 2015.

         568.    The number of patient-reported adverse events following the launch of the

 MedWatcher app evidence a strong contradiction to the safety and efficacy of Essure® as

, reported by Conceptus and Bayer.

         569.     As thousands of reports about Essure®'s true safety risks became public

 recently, the FDA mandated changes to the product's warning label and took measures to

 ·ensure that patients are fully informed of the risks by requiring patie~ts to fill out the "Patient

 Decision Checklist."

         570.    As medical device manufacturers, Conceptus and Bayer had a duty to not present

 false and misleading information about the Essure® device to the public, including Plaintiffs and

 Plaintiffs' physicians regarding the i~creased risks and dangers they knew, learned, or should

 have known about associated with Essure®.

         571.    Had Conceptus and Bayer complied with their duties to the FDA as described

 under the FDCA and detailed above in this Complaint, the necessary and resultant actions by the

 FDA and/or appropriate government agencies would have precluded the use 9f the product by

. Plaintiffs and Plaintiffs' physicians.

                 2. Conceptus and Bayer Made Intentional Misrepresentations Regarding
                    the Safety and Efficacy of Essure® Through Marketing.


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          572.    Conceptus conducted enonnous and aggressive marketing campaigns that

disseminated what they knew to be false and misleading statements pertaining to the

convenience, safety and efficacy of the device.

          573. · Conceptus and Bayer created and distributed false and misleading advertising

for Essure®, which is a " Restricted Device," because Essure® is not a safer and more effective

method of permanent sterilization than alternative methods, evidenced by the over 10,000

reported adverse events consisting of serious injuries and pregnancies, by the Essure® studies
                                                                                      /




consisting of thousands of women reporting that patients who undergo the Essure® procedure

are more likely to experience injuries and complications which require or will require surgical

intervention or re-operation, and by the over 30,000 unreported. complaints contained in

Conceptus and Bayer's complaint fi les.

          574.    For example, the Essure® websit~, print advertising, and patient brochure sta~ed,

"the Essure® inserts stay secure, forming a long protective barrier against pregnancy. They also

remain visible outside your tubes, so your doctor can confirm that they' re properly in place."

However, the micro-inserts can migrate, as evidenced by the over 850 reports of device

migration as of December 31, 2015,1 50 whlch would have deterred Plaintiffs and their physicians

from using Essure® in Plaintiffs.

          575.    As a further example, the Essure® website, print advertising, and patient brochure

stated, "Essure® eliminates the risks, discomfort, and recovery time associated with surgical

procedures."       This is false and misleading, as many women, including Plaintiffs, h~ve
                                                                                '
experienced lifelong complications from the device and have required surgical removal of the

device, which typically requires removal of organs such as the fallopian tubes and uterus. Both
150
      See http://www.fda.gov/Medi~alDevices/ProductsandMedicalProcedures/lmplantsandProsthetics/Essure
PermanentBirthControl/ucm452254.htm


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Plaintiffs unfortunately required two subsequent surgeries as a result of adverse events regarding

their Essure® devices. Further, the British Medical 1o1:1ffial ("BMJ") published a study erttitled

Safety and efficacy of hysteroscopic sterilization compared with laparoscopic sterilization:· an

observational cohort study, 151 in which Dr. Art Sedrakyan of Weill Cornell Medicine in New

York and his colleagues analyzed data from women who had received either the Essure® implant

or had undergone a traditional tubal ligation between 2005 and 2013 ~New York State. The

study found ·that women who used Essure® as~ means for permanent sterilization are ten times

more likely to undergo re-operation within one.year of the initial procedure due to device rel~ted

complications and injuries compared to women who undergo tubal ligation. Further, "[g]eneral

anesthesia was less frequently used wh~n performing hysteroscopic sterilization compared with

laparoscopic sterilization but it was still used in about half of the patients. This finding is

remarkable in light of the marketing and proposed benefits of avoiding general anesthesia

associated with the Essure® device." Thus, the use of Essure® did not assure the avoidance of

general anesthesia.

       576.    The Essure® patient brochure stated that Essure® was the "only FDA

approved female sterilization procedure to have zero pregnancies in the clinical trials."

However, there were actually four pregnancies during the clinical trials and five pregnancies

during the first year of commercial experience.          Between 1997 and 2005, there were 64
                                .
pregnancies reported to Defendants. Additionally, there have been 631 reports of pregnancies

according to the FDA as of December 31, 2015. Furthermore, a recent study indicates that

women implanted with Essure® have a ten times greater risk of pregnancy after one year than

those who use laparoscopic sterilization.


 151
   See "Safety and efficacy of hysteroscopic sterilization compared with laparoscopic sterilization: an ·
observational cohort study" available online at: http://www.bmi.com/content/351/bmj .hS 162


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       577.   The Essure® website, print advertising, and patient brochure describes Essure®

as ''worry free," and as a "simple procedure performed in your doctor's office" that takes

"less than 10 minutes" and "requires no downtime for recovery" and "Essure® eliminates
                                                                                                         /
the risks, discomfort, and recovery time associated with surgical procedures."          However,

Essure® is not worry free because there is an increased risk that the Ess~e® implants will

cause women serious, life-altering complications including but not limited to debilitating pain,

heavy bleeding    necessitating medication and/or additional surgical intervention, allergic

reactions, autoimmune disorders, dyspareunia, hysterectomy, and other complications.

       578.   The Essure® website, print advertising, and patient brochure stated, "the Essure®

inserts are made from the same trusted, silicone free material used in heart stents." However, the   ,
micro-inserts are not made from the same material as heart stents. In contrast, the micro-inserts

in Essilre® are made of PET fibers, which trigger inflammation and scar tissue growth. PET

fibers degrade and leach carcinogens when placed in temperatures over 65 degrees, and the

hwnan body stays at about 98 degrees. As such, PET fibers are not designed or manufactured

for use in hwnan implantation. However, the PET fibers are made of the same materials as

the PVT material in some vaginal meshes, which have a high rate of expulsion.

       579.    The Essure® website, print advertising, and patient brochure stated, "Essure®

eliminates the risks, discomfort,. and. recovery time associated with surgical procedures."

However, Essure®.does not eliminate the risks, discomfort, and recovery time associated with

surgical procedures (i.e. tubal ligations) because many women who undergo the Essure®

procedure, inclu4ing Plaintiffs, have never and will never fully recover from the Essure®

implant p~ocedure, which has caused them serious, life-altering complications including but not

limited to debilitating pain, heavy bleeding necessitating medication and/or additional surgical




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procedures, allergic reactions, autoimmune disorders, dyspareunia, hysterectomy, and other

complications.

          580.     The Essure® website, 'print advertising, and patient brochure stated, "Essure®

is the most effective permanent birth control available, even more effective than ·tying your

tubes or a vasectomy" or words to that effect.             Yet, Defendants' SEC Form 10-K filing

shows that Defendants never did a comparison to a vasectomy or tubal ligation. Specifically,

Defendants stated they "did not conduct a clinical trial to compare the Essure® procedure to

laparoscopic tubal ligation." 152

          581.    The Essure® website claims "correct placement ... is p~rformed easily because of

.the design of the micro-insert." However, .Defendants admitted that placement of the . device

requires a "skilled approach" and admitted that even their own experts in hysteroscopy failed to ·

place the micro-inserts in one out of seven clinical participants.

          582.    Conceptus and Bayer advertised, promoted and marketed on its websites, in its

print and/or video advertisements, brochures, and fact sheets the following about physicians

performing the Essure® procedure:

          · A)     "[p]hysicians must be signed-off to perform Essure P!Ocedure." However,
                   Defendants failed to adequately train the implanting physician and "signed
                   off' on the implanting physician who did not have the requisite training.

            B)      "An Essure® trained doctor inserts spring-like coils, called micro-inserts."
                    However, the implanting physician who implanted the device was not
                    adequately trained.

            C)      "The Essure® training program is a comprehensive course designed to
                    provide information and skills necessary to select appropriate patients, perform
                    competent procedures and manage technical issues related· to the placement of
                    Essure® micro-inserts for permanent birth control." However, Defendants
                    failed to adequately train the implanting phys~cian.


 152
       Conceptus, Inc., Annual Report (Form I 0-k) (Mar. 15, 2004).


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        D)      "(i]n order to be trained in Essure® you must be a skilled operative
                hysteroscopist. You will find the procedure easier to learn if you are already
                proficient in operative hysteroscopy and management of the awake patient.
                If your skills are minimal or out of date, you should attend a hysteroscopy
                course before learning Essure®." However, Defendants "signed off' on
                physicians who were not skilled operative hysteroscopists, in order to
                monopolize and capture the market, including the implanting physician.

        E)      "[i]n order to be identified a5 a qualified Essure® physician, a minimum of
                one Essure® procedure must be performed every 6-8 weeks". However,
                Defendants · "signed off" on ''Essure® physicians" who did not perform the
                procedure every 6-8 weeks.

        F)      "[t]he PET fibers are what caused the tissue growth," and Essure® "works
                with your body to create a natural barrier against pregnancy." However,
                during a PMA meeting with the FDA in 2002, Defendants represented that the
                trauma caused ~y the expanding coil hitting the fallopian· tubes is what
                causes the inflammatory response of the tissue.

              3. Conceptus and Bayer Intentionally Misrepresen.ted the Comparative
                 Risks and Benefits of Essure® to Alternative Methods of Permanent
                 Sterilization.

       583.    Conceptus engaged in substantial, widespread a.I).d systemic false, misleading and

illegal promotional activities to encourage physicians and patients to use the Essure®device. ·

       584.    Conceptus represented that Essure® had the following "key advantages" over

laparoscopic tubal ligation: transcervical· placement (non-incisional, compared to   ~   abdominal

incision or puncture), local, IV sedation (compared to general anesthesia), 45 minutes of average

post-op recovery (compared to 4-5 hours of average post-op recovery), procedure performance in

an 'outpatient/hospital, surgical center or doctor' s office (compared to procedure performance in

an inpatient/hospital or surgical center), and a 1-2 day average wait time to return to regular
                                                                       '
activities (compared to 4-6 days).

       585.    However, the BMJ study, Safety and efficacy of hysteroscopic sterilization




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compared with laparoscopic sterilization: an observational cohort study, 153 found that women

who used Essure® as a means for permanent sterilization are ten (10) times m·ore likely to

undergo re-operation within one (I) year of the initial procedure due to device related
                                .             .
complications and injuries compared to women who undergo tubal ligation. "A more than 10-:

fold higher occurrence of reoperation during the first year following Esstire® ~ased surgery is a

serious safety concern." As indicated in this study, "additional surgeries were performed to

alleviate complications such as device migration or incompatibility after surgery."

        586.    The BMJ article also reported " [t]he hysteroscopic procedure with Essure~ device

does not require general anesthesia, and its safety has been considered to be similar or superior to

that of laparoscopic sterilization." However, this study found that "(g]eneral anesthesia was less

frequently used when performing hysteroscopic sterilization compared with laparoscopic

sterilization but it was still used in about half of the patients."

        587.   Additionally, the authors analyzed the Essure® MAUDE data and indicated that
                                     \                                                       .
most of the adverse.events reported by patients with Essure® were for injuries that would require

and did require a subsequent surgical operation. Such injuries included pelvic pain, hemorrhage,

and device migration or incompatibility.

        588.    Conceptus and Bayer did not submit any MDR reportable events derived from

this study and reported in the BMJ to the FDA.

        589.    In March of 2014, the online medical journal Conception published a study

entitled Probability of pregnancy after sterilization: a comparison of hysteroscopic versus

/aparoscopic sterilization, which compared the . expected probability of pregnancy after

hysteroscopic sterilization with Japaroscopic sterilization based on available data using de~ision


153
   See "Safety and efficacy. of hysteroscopic sterilization compared with laparoscopic sterilization: an
observational cohort study'' available online at: http://www.bm j .com/content/3 51/bmj .hS 162


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analysis.         The authors concluded that at all points in time after the sterilization procedure, the

initial and cumulative risk of pregnancy after sterilization is higher in women who undergo

hysteroscopic sterilization than either laparoscopic band or bipolar sterilization.

        590.        Bayer still falsely claims that Essure® is more effective than undergoing tubal

ligation.

                    4. As a Direct, Proximate and Causal Result of Conceptus' and Bayer's
                       Fraudulent Misrepresentations, Plaintiffs Sustained Substantial Injuries.

        591.        Conceptus engaged in the above activities despite knowing that manipulating the

public's knowledge of safety risks associated with Essure® exposed patients to serious dangers

and greatly increased adverse risks.

        592.        Conceptus and Bayer intentionally and consciously misrepresented the benefits

and banns associated with Essure®.

        593.        These Defendants knew that doctors such as Plaintiffs' implanting physicians
                                                                                                             ,·

would rely on such misrepresentations, thus subjecting their patients, like Plaintiffs, to an

unreasonable risk of physical harm. Such misrepresentations corrupted resources available to

surgeons, like Plaintiffs' implanting surgeons~ regarding the safety and effectiveness of Essure®.

        594.        Conceptus and Bayer's motive in failing to advise surgeons, the public, Plaintiffs,

and the FDA of these increased risks was for financial gain and fear that, if they provided proper

and adequate information, Essure® .would lose sales and market share.

        595.        Conceptus and Bayer chose not to provide the Plaintiffs' physicians nor Plaintiffs

with the necessary information in order to make an informed decision in the best interests of



i s. See ''Probability of pregnancy after Sterilization: a comparison of hysteroscopic versus laparoscopic
sterilization" available at:
htt:p://www.contraceptionjoumal.org/pb/assets/raw/Health%20Advance/joumals/contra/CON-8309-
FINAL.pdf


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Plaintiffs' health, and they purposefully deceived Plaintiffs' physicians and the Plaintiffs as to

the safety and efficacy of Essure®.

        596.     Conceptus and Bayer provided inaccurate, false, or misleading information which

was material to Plaintiffs' implantirig physicians' treatment decisions, which misled Plaintiffs'

physicians and Plaintiffs who were relying on their physicians' professional judgment

        597.     Conceptus and Bayer knew that use of Essure~ was unreasonably.dangerous and

could lead to serious side effects as listed herein. Conceptus and Bayer failed to take any

measures whatsoever to alert surgeons or the public regarding increased risks and dangers and

instead continued to promote the Essure® device as safe.

        598.     When Conceptus and Bayer engaged in this deceptive campaign and made the

above representations, they knew ·those representatioi;is to be false. These representations were

made by Conceptus and Bayer with the intent·of defrauding and deceiving the public, including

Plaintiffs, Plaintiffs' physicians, and the medical community.

        599.     At the time the aforesaid representations were made by Conceptus and Bayer,

Plaintiffs and their medical providers were unaware of the falsity of said representations and

reasonably relied upon Conceptus' and Bayer's assertions, promulgated through aggressive sales

tactics as set forth herein, that the Essure® device was safe when in fact it was not.

        600.     As detailed above, Bayer continues false claims that Essure® is safer and more

effective than undergoing tubal'ligation.

        601.      Conceptus and Bayer intende~ to induce Plaintiffs .and their physicians to rely

on tJ:teir misrepresentations to use Essure® over the alternative methods of permanent

sterilization.




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             602.   In reliance upon Conceptus and Bayer's representations, Plaintiffs and Plaintiffs'

physicians used Essure®.

             603. · Plaintiffs and Plaintiffs' physicians were justified in their reliance on Conceptus'

and Bayer's representations and marketing. Plaintiffs actually did undergo the Essure® implant

procedure, which ultimately caused Plaintiffs' serious physical injuries.

             604.   As a direct and proximate result of said misrepresentations, Plaintiffs have been

injured and have incurred damages, including but not limited to medical and hospital expenses,

lost wages and lost ·earning capacity, physical and mental pain and suffering, and loss of the

enjoyment of life.

             605.   Had Plaintiffs' implanting physicians and Plaintiffs been made fully and

adeq~tely        aware of the inefficacy and serious increased risks and .dangers associated with such

use, Plaintiffs' physicians would not have recommended Essure® to Plaintiffs and Plaintiffs ·

would not have chosen to have Essure® implanted in their fallopian tubes.

             606.   Had the FDA known of the actual dangers of and inefficacy of the use of Essw:e®,

they would have initiated a recall of the product,          9ear   doctor letter, or safety signal and/or

warned the public of the danger.

             607.   Conceptus' and Bayer's conduct, as alleged above, was malicious, fraudulent, and

oppressive toward Plaintiffs in particular and the public generally, and Conceptus and Bayer

conducted themselves in a willful and wanton manner by actively violating federal regulations.

             608.   Conceptus and Bayer are guilty ·o f malice, oppression, and fraud, and Plaintiffs

are therefore entitled to recovery of exemplary or punitive damages in sum according to proof at

triaJ. lSS


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      KRS § 411.184 permits an award of punitive damages for "fraud," whfoh is defined as "an intentional


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                                 TIDRD CAUSE OF ACTION
                                    Fraudulent Concealment
                          Fraudulent Omissions: Restat. 2d of Torts §551

        609.    Plaintiffs repeat and incorporate by reference all other paragraphs of this

Complaint as if fully set forth herein and further allege as follows:

        610.    Plaintiffs bring· claims against Conceptus and Bayer under Kentucky law for

fraudulent concealment I fraudulent omissions regarding the Essure® device.

        A.      CONCEPTUS AND BAYER HAD AFFIRMATIVE AND CONTINUING FEDERAL D UTIES
                TO NOT MAKE FRAUDULENT CONCEALMENTS AND/OR OMISSIONS OF
                MATERIAL FACTS REGARDING THE BENEFITS AND HARMS OF EssURE®.

        611.    Under the FDCA and FDA's implementing regulations, labeling and promotional

advertisement claims about medical devices are deemed misleading if they fail to disclose certain

infonnation about the product•s risks.

        612.    The Essure® device that was implanted in Plaintiffs was promoted, distributed,

manufactured and used ·in a manner that is in violation of federal law, the FDCA, the MDA, and

regulations promulgated thereunder.

        613.     It was the duty of Conceptus and Bayer to comply with federal law, the

FDCA, ·the MDA and the regulations.              Notwithstanding this duty, Conceptus and Bayer

violated federal law, the FDCA, the MDA, and the regulations, including but not limited to, in

one or more of, the fo llowing ways:

        A)      Conceptus and Bayer had duties to not make false or misleading statements
                regarding Essure® under 21 U.S.C. §§ 331(a), 351 & 352(a), (q)&(r); 21 U.S.C.
                §§ 360(q)&(r); and 21 C.F.R. § 814.80.

        B)       Conceptus and Bayer had duties to investigate and address adverse events under


misrepresentation, deceit, or concealment of material fact known to the defendant and made with the
intention of causing injury to the plaintiff." "The mere fact that the act is intentional and a tort does-not
justify punitive damages absent this additional element of implied malice, meaning conscious
wrongdoing." Fowler v. Mantooth, 683 S.W.2d 250, 252 (Ky. 1984) (internal citations omitted).


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                 the following regulations: 21 C.F.R. § 820.3(z)(x), 21 C.F.R. § 820.22, 21
                 C.F.R. § 820.5, 21 C.F.R. §820.l(a), 2 1 C.F.R. § 820.22, 21 C.F.R. § 820.100;
                 2 1 C.F.R. § 820.160(a), 2 1 C.F.R. § 820.198; 2 1 C.F.R. § 820.30; 21 C.F.R. §
                 803.3; 21 C.F.R. § 820.70 and 2 1 C.F.R. § 820.170(a).

        C)       Conceptus and Bayer had duties to submit a PMA supplement and make a
                 labeling change.to add or strengthen a contraindication, warning, precaution, or
                 information about an adverse reaction for which there is reasonable evidence of
                 a causal association under 21 C.F.R. § 814.39, 21 C.F.R. § 803.56.

        D)       Conceptus and Bayer had duties to report adverse events under .21 C.F.R. §
                 803.50; 2 1 C.F.R. § 814.80, and 21 U.S.C. § 360i(a).

        E)       Conceptus and Bayer had duties to report new· clinical investigations and/or
                 scientific studies concerning the Essure® device about which Conceptus and
                 Bayer knew or reasonably should · have known about under 2 1 C.F.R §
                 814.84(b)(2).

        61 4.   The above regulations imposed duties on Conceptus and Bayer to accurately,

timely, and honestly represent to the FDA, the public, Plaintiffs and Plaintiffs' physicians, the

safety and effectiveness of Essure®.

        B.      CONCEPTUS AND BAYER HAD STATE DUTIES TO . NOT MAKE FRAUDULENT
                CONCEALMENTS AND/OR OMISSIONS OF MATERIAL FACTS REGARDING THE
                BENEFITS AND HARMS OF EssuRE®.               .

        6 15.   In Kentucky, " [a] fraud by omission claim is grounded in a duty to disclose ... To

prevail, a plaintiff must prove: ( 1) the defendant had a duty to disclose the material fact at issue; _

(2) the defendant failed to disclose the fact; (3) the defendant's failure to disclose the material

fact induced the plaintiff to act; and (4) the plaintiff suffer.ed actual damages as a
                156
consequence."


IS6 Giddings & Lewis, Inc. v. Indus. Risk Insurers, 348 S.W.3d 729, 747-48 (Ky. 2011) (Also stating that
Kentucky recognizes a duty to disclose in four circumstances: 1. A duty arising from a confidential or
fiduciary relationship; 2. A duty provided by statute; 3. When a defendant has partially disclosed materiaJ
facts to the plaintiff but created the impression of full disclosure; and 4. Where one party to a contract has
superior knowledge and is relied upon to disclose same (internal citations omitted)). The Kentucky
elements of a claim for fraudulent omission are similar to those stated in the Restatement 2d of Torts §
557A, and follow the Restatement 2d of Torts § 551, as cited in Giddings. See also, Smith v. General
Motors Corp., 979 S.W2 d 127, 129 (Ky. Ct App. 1998) (discussing actionable case of fraud based on


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          C.        CONCEPTUS AND BAYER'S DUTY To NOT TO MAKE FRAUDULENT
                    CONCEALMENTS AND/OR OMISSIONS OF MATERIAL FACTS REGARDING THE
                    BENEFITS AND HARMS OF EssuRE®UNDER KENTUCKY LAW Is NOT DIFF~RENT
                    FROM OR IN ADDITION TO FEDERAL REQUIREMENTS.

          616.      Under both Kentucky state and federal law, Conceptus and. Bayer were wider

parallel duties not to make fraudulent concealments and/or omissions of material facts regarding

the benefits and harms of the medical devices sold by them, and_were under parallel duties to

disclose material facts regarding the · benefits and harms of medical devices sold by them,

specifically the Essure® device, to the FDA, Plaintiffs' physicians, and Plaintiffs, as detailed

above in this Complaint.

          617.      The state law and federal .duties are identical because both prohibit these

Defendants from making fraudulent concealments and/or omissions
                                                        .       in the sale. of their medical

devices;    157
                  thus, the state law cause of action alleged here is just one m~re reason. for these

Defen~ants to conform to their duties under the FDCA, the MDA, the Essure® PMA; and FDA

Regulations.

          618.      Conceptus and B1ayer were required to comply with the duties listed in Section B.
                                                                                                '
above, and        we~e   required t<:? be truthful, accurate, and timely in performing the duties under

federal law, as detailed above.

          619.      Conceptus and Bayer had a continuing duty under the various regulations

 discussed above and per the terms of the PMA approval by the FDA to monitor its products

 after receiving FD;\ approval and to discover and report to the FDA any complaints about the
               .                                                               .
 product's performance and any adverse health consequences and other such serious events of

 which they became aware. The duties to discover and report necessarily include the duties to



suppression of a fact).
157
      See, FN 144, supra.


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 not actively conceal and omit material health information of which it knew or should have

 known had it followed the federal regulations.

       620.    Conce~tus   and Bayer .failed to perform these duties under federal law, and thus

failed to perform its duties under Kentucky law, as these Defendants had parallel duties to not

conceal and omit. material health information regarding the safety of the Essure® device to the

FDA and other third parties.

       621.    Kentucky law does not impose requirements that are different from, or in addition

 to requirements under federal law, and therefore Plaintiffs' claims are not preempted.

       622.    Kentucky law exists independently of federal law.           Here, Plaintiffs are not

attempting to enforce federal law. Instead, Plaintiffs are seeking to hold Conceptus and Bayer

liable for violating the state law duties to disclose material facts regar~ing the safety and efficacy

ofEssure®, which parallel federal regulations and requirements.

       D.      THERE IS A CAUSAL AND FACTUAL NEXUS BETWEEN PLAINTIFFS' INJURIES AND
               DEFENDANTS' BREACH OF ITS STATE LAW DUTIES, AND IDENTICAL FEDERAL
               REQUIREMENTS

       623.    Conceptus and Bayer breached its duties under federal and state laws by

fraudulently omitting, concealing and misrepresenting the increased health and safety

information about increased risks, dangers, hazards, symptoms, constellation of symptoms,

diseases and/or health problems associated with the Essure® device, as well as the relative

benefits and availability of al.t emative procedures, to physicians including Plaintiffs' physicians.

               1. Conceptus and Bayer Intentionally Concealed and/or Omitted Material
                  Health and Safety Information Associated with Essure®.

        624.   In connection with the Essuree product, Conceptus and Bayer intentionally

concealed and/or omitted material and important health and safety product risk information to ·

Plaintiffs and Plaintiffs' physicians, all as alleged in this Complaint.


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        625.    To protect sales and revenue, Conceptus and Bayer purposefully ignored their

mandatory federal reporting requirements and actively hid safety infonnation from the.public ..

        626.    As detailed above, Conceptus knew of thousands of instances wherein the Esstire®

device had migrated in a woman or perforated a woman's organs and failed to report all of them.

        627.    The FDA inspector cited Conceptus in 2003 for failing to adequately analyze all

quality data sources to identify existing and potential causes of non-conforming products and

other quality problems, and for failing to follow procedures for the control of products that do

not conform to specifications.

        628.     In June of 2008, the California Department of Public          Heal~    Medical

Device Safety Section ("CDPH") issued a Notice of Violation to Concei:>tus for failing to

obtain a valid license to manufacture medical devices and failing to maintain procedure for

inventory transfer.

        629.     In December of 2010 the FDA inspector cited Conceptus for not reporting

complaints of Essure® coils beuig seen inside the patients' abdominal .cavity and not opening

a CAPA when they became aware of these complaints. Conceptus was submitting MDRs and

reporting complaints of the coils migrating into the peritoneal or abdominal cavity only if the

patient was complaining of pain and a second procedme was required to remove the device.

        630.      Conceptus concealed such complaints if the ·coil was subsequently removed

during a laparoscopic tubal ligation surgery that was performed due to a fai lure of occlusion

.o f the fallopian tubes.

        631.      Conceptus concealed these adverse events, complaints and reports, and failed to

follow adequate quality control procedures, . investigate and analyze complaints, and open

CAPAs, specifically to mislead physicians and women about the safety of the Essure®device.



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           632.    As detailed above, between January 1, 2008 and D~ember 6, 2010, Conce~tus ·

received at least 16,581 complaints relating to Essure®. Of these 16,581 complaints, 16,399

were never reported to the FDA.

           633.    Between May and June of2013, the FDA conducted an inspection of Conceptus'

Mountain View, CA facility which revealed 16,047 complaints Conceptus had received

regarding Essure® between January 2011 and the date of the inspection.               Of these 16,047

complaints, Conceptus withheld 15,712 from the FDA and the public.158

           634.    Further, and as detailed above, between Essure®ts inception in 2002 and through

to 2015, the FDA received approximately 9,900 MDRs related to safety prqblems with the

device. 159 Of those 9,900 MDRs, only 943 were made between 2002 and October 25, 2013. The

FDA received the remaining 8,950 reports between October 26, 201 3 and December 31, 2015. 160

           635.    The influx in MDR's is a result of the launch of the MedWatcher app, which

allowed women to report their adverse eyents directly to the FDA. 161

           636.    Prior to the MedWatcher app, women reported their adverse events directly to

· Conceptus, who actively concealed them from the FDA and the public, and/or omitted

 information from reporting.

           6~7.    Conc~ptus   and Bayer failed to adequately disclose to the FDA adverse events of

 which these manufacturers were informed after Essure®'s PMA approval.

           638.    As detailed above, this ~ignificant increase prompted the FDA to convene a


 158
       See https://www.accessdata.fda.gov/scriptslcdrh/cfdocs/cfmaude/results.cfrn             ·
 159
       See http://www.fda.gov/MedicalDevices/ProductsandMedicalProcedures/ImplantsandProsthetics/Essure
 PennanentBirthControl/ucm452254.htin
 160
     See http://www.fda.gov/MedicalDevices/ProductsandMedicalProcedures/lmplantsandProsthetics/Essure
 PennanentBirthControl/ucm452254.htm
 161
     See " Increasing Patient Engagement in Pharmacovigilance Through Online Community Outreach .and
 Mobile Reporting Applications: An Analysis of Adverse Event Reporting for the Essure Device in the
 US,, available on line at: http://Jink.springer.com/article/ 10.1007/s40290-015-0 l 06-6/fulltext.html


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 meeting of the Obstetrics ·and Gynecology _Devices Panel of the Medical Devices Advisory

\ Committee
    .       on September 24, 2015 to
                                  . examine safety concerns about Essure® raised by patients
                                                                                        .

 and cited in MDRs, and on February 29, 2016 the FDA announced that it will require a major

· change to the Essure® warning label and also require all women considering Essure® placement

 to fill out a Patient Decision Checklist" to ensure that they are fully infonned of the true risks.·162

        639.    Due to Conceptus and, Bayer's failure to report adverse events when they had a

 duty to speak, the labeling originally approved by the FDA for Essure® became false before the

 Plaintiffs' surgeries and thus failed to protect the public health by failing to adequately disclose

 the harms, risks and benefits of Essure®.

         6~0.   Had Conceptus and Bayer timely and accurately reported adverse events, and

 implemented quality control proc~dures and CAPAs to investigate and analyze complaints

 associated with Essure®, instead of actively concealing and/or omitting material safety

 information .in their required reporting to the FDA, the '~Black Box Warning" and " Patient

 Decision Checklist" would have come out earlier and ,effectively warned Plaintiffs and their

 physicians.

                2. Conceptus and Bayer Fraudulently Concealed and/or Omitted the Risks
                   of Essure® as Compared to Alternative Methods of Permanent
                   Sterilization.

        641.    Cc;mceptus and Bayer represented that Essure® had the following "key

 advantages" over    laparos~opic   tubal ligation: transcervical placement, local IV sedation, 45

 minutes of average post-op recovery, procedure performance in an outpatient/hospital, surgical

 center or doctor's office, and a 1-2 day average wait time to return to regular activities.




 162 See htt;p://www.fda.gov/NewsEvents/Newsroom/PressAnnouncements/ucm4883 13.hbn
                                                          '


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         642.    Conceptus concealed from the public that most of the adverse events reported by

 patients with Essure® were for injuries that would require and did require a subsequent surgical

 operation.

         643.    When the BMJ study, Safety and efficacy of hysteroscopic sterilization compared

 with laparoscopic sterilization:. an observational cohort study, 163 found that women who used

 Essure® as a means for permanent sterilization are ten times inore likely to undergo re-operation

 within· one year of the initial procedure due to device related complications and injuries

 compared to women who undergo tubal ligation, Conceptus and Bayer did not submit any MDR

 reportable events derived from this study to the FDA.

         644.    In March of 2014 the authors of Probability of pregnancy after sterilization: a

 comparison of hysteroscopic versus laparoscopic sterilization16' concluded that at all points in

· time after the sterilization procedure, the initial and cumulative risk of pregnancy after

 sterilization is higher in women who undergo hysteroscopic sterilization than either laparoscopic

 band or bipolar sterilization. Bayer and Conceptus continued the pattern of concealment by

 omitting this information from their promotion of Esslire® as a more effe.ctive option than tubal

 ligation.

         645.    Conceptus and Bayer marketed Essure® as the "only FDA approved female

 sterilization procedure to have zero pregnancies in the clinical trials," and concealed and/or

 omitted information regarding the four pregnancies during the clinic~} trials and five pregnancies ·

 during the first year of commercial experience. A recent.study indicates that women implanted



 163
     See "Safety and efficacy of hysteroscopic sterilization compared with laparoscopic sterilization: an
 observational cohort study" available online at: http://www.bmj.com/content/35 l/bmj.h5162
 164
     See •1>robability of pregnancy after sterilization: a compiµ-ison of hysteroscopic versus laparoscopic
 sterilization" available at:                                 .
 http://www.contraceptionjournal.org/pb/assets/raw/Health%20Advance/joumals/contra/CON-8309-FINAL.pdf


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                                                                 .          \
with Essure® have a ten times greater risk of pre~cy after one year than those who use

laparoscopic sterilization. At ten years, the risk of pregnancy is almost four times greater.

       646.     Instead of disclosing these risks, Conceptus and Bayer intentionally concealed
                                                                     ,
and/or omitted this information from their patient brochures and promotional information.

                3. As a Direct, Proximate and Causal Result of Conccptus' and Bayer's
                   Fraudulent Concealments and/or Omissions, Plaintiffs Sustained
                   Substantial Injuries.

       647.     Conceptus and Bayer knew, or should have known, that they were concealing,

suppressing, and misrepresenting true information about the known increased risks and benefits

of the use ofEssure®and the relative benefits and availability of alternate procedures.

       648.     Conceptus and Bayer knew that Plaintiffs and Plaintiffs' physicians would regard

the matters that they concealed, suppressed, and misrepresented to be important in determining

the .course of treatment for the Plaintiffs, including Plaintiffs' and Plaintiffs' physicians'

decisions to use Essure® as a method of permanent sterilization.

       649.     Conceptus and Bayer intended to cause Plaintiffs and Plaintiffs' physicians to rely

on their concealment of material safety information, suppression, and misrepresentations about

the increased risks and dangers related to Essure® as a method of permanent sterilization.
       \
       650.     Plaintiffs and Plaintiffs' physicians were justified in relying, and did rely, Qn

Conceptus' and Bayer's concealment of info~ation and misrepresentations about the increased

safety risks and dangers related to Essure® in deciding to recommend and choose the Essure®

procedure for permanent sterilization.

        65 1.   The v~t majority of adverse events were not made publically available until after

Plaintiffs' Essure® implantation.




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       652.    As a direct and proximate result of Conceptus' and Bayer's fraudulent

concealment, suppression, and misrepresentations of material increased health and safety risks

and dangers relating to Essure®, and Conceptus' and Bayer's promotion and marketing practice~,

Plaintiffs suffered injuries and economic loss, and ·Plaintiffs will continue· to suffer injuries,

damages and economic loss.

       653.    As the   di~ect,   proximate, and legal cause and result of Conceptus' and Bayer's

false and deceptive marketing and promotion practices related to Essure®, Plaintiffs have been

injured and have incurred damages, induding but not limited to medical and hospital expenses,

physical and mental pain and suffering, and loss of the enjoyment of life.

       654.    Plaintiffs are therefore entitled to damages in an amount to be proven at trial,

together with interest thereon and costs.

       655.    Conceptus' and       Bay~r's   conduct, as alleged above, was malicious, oppressive,

intentional, reckless and/or outrageous, and constituted willful and wanton disregard for the

rights and safety of others. Such conduct was directed specifically at Plaintiffs and warrants an

award of punitive damages.

                                FOURTH CAUSE OF ACTION
                                   Negligent Misrepresentation
                                     Restat. 2d of Torts, § 311.
                            Restat. 3d of Torts: Products Liability § 9.

       656.    Plaintiffs repeat and incorporate by reference all other paragraphs of this

Complaint as if fully set forth herein and further allege as follows:

       657.    Plaintiffs bring a claim against Conceptus and Bayer under Kentucky law for

negligent misrepresentation regarding the Essure® device.




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       A.      CONCEPTUS AND BAYER HAD AFFIRMATIVE AND CONTINUING FEDERAL DUTIES
               TO NOT M.AKE MISREPRESENTATIONS OF MATERIAL FACTS REGARDING THE
               BENEFITS AND HARMS OF EssuRE®.

       658.    Plaintiffs incorporate by reference herein the allegations stated in the Second

Cause of Action, section A,, above.

       659.    The Essure® device that was implanted in Plaintiffs was promoted, distributed,

manufactured and used in a manner that is in violation of federal law, the FDCA, the MDA, and

regulations promulgated thereunder.

       660.    Under the FDCA and FDA's implementing regulations, labeling and promotional

advertisements about medical devices are deemed misleading if they fail to disclose certain

information abouf the product's risks.

       661.     It was the duty of Conceptus and Bayer to comply with federal law, the

FDCA, the MDA and the regulations, notwithstanding this duty, Conceptus and Bayer

violated federal law, the FDCA, the MDA, and the regulations.

       B.      CONCEPTUS     AND   BAYER HAD STATE    D UTIES TO   NOT MAKE
               MISREPRESENTATIONS OF MATERIAL FACTS REGARDING THE B ENEFITS AND
               II.ARMS OF EssuRE®.

       662.    Kentucky follows the Restatement 3.d of Torts: Products Liability§ 9 to determine

liability of a commercial product seller or distributor for harm resulting from negligent

misrepresentation:

       One engaged in the business of selling or otherwise distributing products who, in
       connection with the sale of a product, makes a fraudulent, negligent, or innocent
       misrepresentation of material fact concerning the product is subject to liability for
       harm to persOD;S or property caused by the misrepresentation. 165



  See Giddings & Lewis, Inc. v. Indus. Risk Insurers, 348 S.W.3d. 729, 747-48 (Ky. ~011) (adopting' the
165

Restatement (Third) of Torts § 9); and see Morris Aviation, LLC v. Diamond Aircraft Indus .• 536 F.
App'x 558, 567-68 (6th Cir. 2013) (The Sixth Circuit in Morris recognized that the Kentucky Supreme
Court adopted Restatement (Third) of Torts § 9).


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        663.    Restatement 3d of Torts: Products Liability § 9, comment (a), 166 references

Restat 2d of Torts§ 31 1 for the elements of negligent misrepresentation, which are as follows:

        (1)     One who negligently gives false infonnati9n to another is subject to
                liability for physical harm caused by action taken by the other in
                reasonable reliance upon such information, where such harm results (a) to
                the other, or (b) te such thlrd persons as the actor should expect to be put
                in peril by the action taken.
        (2)     Such negligence may consist of failure to exercise reasonable care (a) in
                ascertaining the accuracy of the information, or (b) in the manner in which
                it is communicated.

        c.      CONCEPTUS AND BAYER'S DUTY To NOT TO MAKE NEGLIGENT
                MISREPRESENTATIONS UNDER KENTUCKY                     .
                                                 . LAW l s NOT DIFFERENT FROM OR
                IN ADDITION To FEDERAL REQUIREMENTS.

        664.    Under both Kentucky state and federal law, Conceptus and Bayer were under

parallel duties not to make negligent or other misrepresentations of material facts regarding the

benefits and harms of the medical devices sold by them. The state law and federal duties are

ident.ical because both prohibit these Defendants ·from making misrepresentations in the sale of
                         167
their medical devices;         thus, the state law cause of action alleged here is just one more reaso.n

for these Defendants to conform to their duties under th~ FDCA, the MDA, the Essure® PMA,

and FDA Regulations.

        665.    Conceptus and Bayer Wt:'.re required to comply with the duties listed in Section B.

above, and were required to be truthful, accurate, and timely in performing the duties under

federal law, as detailed aboye.

166
    "Liability for fraudulent or negligent misrepresentation. The rules in the Restatement, Second, of
Torts, governing liability for fraudulent and negligent misrepresentation, are contained in §§ 3 10 and 311.
Case law has followed these Sections. Although ~hese Sections do not explicitly apply to commercial
product sellers, they admit of such applicatfon. Given the availability to plaintiffs of the rule under §
402B of the Restatement, Second, of Torts, subjecting product sellers to strict liability even in the absence
of fraud or negligence, (see Comment b), there can be no doubt that product sellers are subject to liability
for fraudulent or negligent misrepresentation. By hypothesis, given the rule stated in § 402B, a plaintiff
who proves that the misrepresentation that caused harm was made fraudu lently or n~gligently should have
a remedy." Restatement 3d of Torts: Products LiabiHty § 9, comment (a).
167
    See FN 144, supra.


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        666.   Kentucky law does not impose requirements that are different from, or in addition

  to requirements under federal law; and therefore Plaintiffs' claims are not preempted.

        667.   Kentucky law exists independently of federal law.            Here, Plaintiffs are ·not

 attempting to enforce federal law. Instead, Plaintiffs are   ~eeking   to hold Conceptus and Bayer

 liable for violating the state law duties to not make false and misleading statements regarding

 Essure®, which parallel federal regulations and requirements.

        D.     THERE IS A CAUSAL AND FACTUAL NEXUS BETWEEN PLAINTIFFS' INJURIES AND
               DEFENDANTS' BREACH OF THEIR STATE LAW DUTIES AND IDENTICAL FEDERAL
               REQUIREMENTS.

        668.    Plaintiffs incorporate by reference the allegations stated in the Second Cause of

 Action, section D, above. ·

        669.    Conceptus and Bayer breached their duties under federal and state laws, as

 follows:

        A)       Negligently misrepresented the health and safety hazards, symptoms, diseases
                 and/or health problems associated with use of Essure® for the purposes intended
                 by these Defendants;

        B)       Negligently misrepresented their illegal, improper and unethical schemes to
                 promote and market Essure® as "simple" and ''worry-free"; ·and

        C)       Negligently misrepresented infonnation about the known comparative risks and
                 benefits of the use of Essure® and the relative benefits and availability of
                 alternate products, treatments and/or therapies.

               . 1. Conceptus and Bayer Negligently Misrepresented the Health and Safety
                    Information Associated with Essure®.                             ·

        670.    Plaintiffs incorporate by reference the allegations stated in the Second Cause of

 Action, section D(l ), above.   .
                                       .                           .
        671.    In connection with the Essure® prod~ct, Conceptus an? Bayer failed to exercise

. reasonable care in ascertaining the accuracy of important health and safety information and/or




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the manner in which it is communicated to Plaintiffs and Plaintiffs' physicians, all as   allege~   in

 this Complaint.

        672.      As med!cal device manufacturers, Conceptus and Bayer had a duty to use
    .
 reasonable care ascertaining the accuracy of material health and    saf~ty   information about "the

 Essure® device, and in the pre~entation ~d communication of such information to the public,

 Plaintiffs and Plaintiffs' physicians.

        673.      Had Conceptus and Bayer complied with their duties to the FDA as described

 under the FDCA and detailed above in this Complaint, which are parallel to their state law

 duties, the necessary and resultant actions by the FDA and/or appropriate government agen<?ies

 would have precluded the use of the product by Plaintiffs and Plaintiffs' physicians.

                  2. Conceptus and Bayer Made Negligent Misrepresentations Regarding the
                     Safety and Efficacy ofEssure® Through Marketine;.
                               I
         674 . . Plaintiffs incorporate by reference the allegations stated in the Second Cause of

 Action, section D(2), above.

         675.      Conceptus conducted enormous and aggressive marketing campaigns that

 disseminated false and misleading statements pertaining to the convenience, safet)' and efficacy

 of the device.

                   3. Conceptus and Bayer Negligently Misrepresented the Comparative Risks
                      and Benefits of Essure® to Alternative Methods of Permanent
                      Sterilization.

         676.      Plaintiffs incorporate by reference herein· the allegations stated in the Second

 Cause of Action, section D(3), above.

         677.      Conceptus misrepresented that Essure® had "key advantages" over laparoscopic

 tubal ligation, as alleged in the Second Cause of Action, Section D(3).




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                4. As a Direct, Proximate and Causal Result of Conceptus' and Bayer's
                   Negligent Misrepresentations, Plaintiffs Sustained Substantial Iniuries.

       678.     Conceptus engaged in the above activities which influenced the public's

knowledge of safety risks associated with Essure® and. exposed patients to seri'ous dangers and

greatly increased adverse risks.

        679.    Conceptus and Bayer negligently misrepresented to the FDA, the public, Plaintiffs

and Plaintiffs' physicians the benefits and harms associated with Essure®.
                                                                                                      \
        680.    Such misrepresentations corrupted resources available to surgeons, like Plaintiffs'

implanting surgeons, regarding the safety and effectiveness of Essure®.

        681 .   Plaintiffs' implanting physicians relied on such misrepresentations, thus

subjecting their patients, including Plaintiffs, to an unreasonable risk of physi~ harm.

        682.    Due to Conceptus' and Bayer's negljgence, Plaintiffs' physicians and Plaintiffs

did not have the necessary information in order to make an informed decision in the best interests

of Plaintiffs' health.

        683.    Conceptus and Bayer provided inaccurate, false, or misleading infonnation which·

was material to Plaintiffs' implanting physicians' treatment decisions, which misled Plaintiffs'

physicians and Plaintiffs who were relying on their physicians' professional judgment.

        684:    When Conceptus and Bayer made the above representations, they did so without

any regard for the accuracy of the infonnation presented, or the.manner in which the information

was communicated.

        685.    Had the FDA known of the actual dangers of and inefficacy of the use of Essure®,

they would have .initiated a recall of the product, dear doctor letter, safety signal and/or warned

the public of the danger.




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        686.    At the time the aforesaid representations were made by Conceptus and Bayer,

Plaintiffs and their medical providers were unaware of the falsity of said representations and

reasonably relied upon Conceptus' and Bayer's assertions, that the Essure® device was safe when

in fact it was not.

        687.    In reliance upon Conceptus' and Bayer's representations, Plaintiffs and Plaintiffs'

physicians used Essure®.

        688.    Plaintiffs and Plaintiffs' physicians were justified in their reliance on Conceptus'

and Bayer's representations and marketing. Plaintiffs actually did undergo the Essure® implant

procedure, which ultimately caused Plaintiffs' serious physical injuries.

        689.    As a direct and proximate result of said misrepresentations, Plaintiffs have been

injured and have incurred damages, including but not limited to medical and hospital expenses, .

lost wages and lost earning capacity, physical and mental pain and suffering, and loss of the

enjoyment of life.

        690. · Had Plaintiffs' . implanting physicians and Plaintiffs been made fully and
                                         r
adequately aware of the inefficacy and serious increased risks and dangers associated with such

use, as well as Bayer's and Conceptus' failure to investigate and analyze adverse events and/or

implement CAPAs, Plaintiffs' physicians would not have reconunended Essure® to Plaintiffs,

and Plaintiffs would not have chosen to have Essure® implanted in their fallopian tubes.

                                  FIFfH CAUSE OF ACTION
                                      Negligent Training

        691.    Plaintiffs repeat and incorporate by reference all other paragraphs of this

Complaint as if fully set forth herein and further allege as follows:

        692.    Plaintiffs bring claims against Conceptus and Bayer under Kentucky law for

Negligent Training regarding the Essure® device.



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        693.    In order to capture the market, Conceptus and Bayer independently undertook a

 duty of training physicians, including Plaintiffs• implanting physicians, on (1) the safe and

 proper use of the Essure® proced~; (2) how.to properly use its own mechanism of delivery; and

 (3) the ·specialized hysteroscopic equipment manufactured by a third party.

        694.    The PMA approval sets forth Conceptus' and Bayer's duty to train physicians,

 and a manufacturer/applicant is required to comply with the standards and conditions set forth in

 the PMA approval letter. 168

        695.    Conceptus and Bayer had a parallel duty under Kentucky law to exercise

 reasonable care in their training of physicians to avoid foreseeable injury.169

        696.    Under both Kentucky state and federal law, Conceptus and Bayer were under

 parallel duties to use reasonable care in the training of physicians on the safe and proper use of

 the Essure® device. The state law and federal duties are identical; thus, the state law cause of

 action alleged here is just one more reason for these Defendants to conform to their duties under

. the FDCA, the MDA, the Essure®PMA, and FDA Regulations.
        697.    Kentucky law does not impose requirements that are different from, or in addition

  to r~quirements under federal law, and therefore Plaintiffs claims are not preempted.

        698.    Kentucky law exists independently of federal law.               Here, Plaintiff is not

 attempting to enforce federal law. · Instead, Plaintiff is seeking to hold Conceptus and Bayer

 liable for violating the state law duties to use reasonable care in the training of physicians on the

 proper use ofEssure~, which parallel federal regulations and requirements.

 168
    21 C.F.R. § 814.80 (2012).
 169
    C. D. Herme, Inc. v. R.C. Tway Co., 294 S.W.2d 534, 537 (Ky. 1956). Further, in Kentucky, a party
 claiming harm resulting from negligence must generally establish: 1. A duty of care owed to Plaintiff by
 the Defendant; 2. Conduct of the Defendant which breaches the standard by which the duty is measured;
 3. Injury which results in actual loss or damage to the Plaintiff's person or property; and 4. Causation
 between the inadequate conduct of the Defendant and the injury to the Plaintiff.                        l



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       699.    Conceptus and· Bayer breach~d their duties under the PMA and federal law to

train physicians on the safe and proper use of Essure®.

       700.    Conceptus and Bayer breached their duties under Kentucky law, as follows:'

               A)      Conceptus and Bayer were negligent in choosing not to take reasonable
                       steps in developing an adequate training program for the Essure®
                       procedure, educating employees to proper~ train physician users on _the
                       safe and proper methods of the Essure procedure, and supervising
                       employees while training physician users on the safe and proper methods
                       of the Essure®procedure.

               B)      Conceptus and Bayer. were negligent in not safely and properly training
                       Plaintiffs' implanting physicians on how to safely and properly perfonn.
                       the Essure® procedure.                                 -
                                                                                                   ,(

       701.    Conceptus and Bayer (1) tindertook a duty to train physicians ·on the safe and

proper use of the Essure® procedure; (2) failed to adequately train the physicians on how to use

its delivery system and the hysteroscopic equipment manufactured by a third party; (3) provided

specialized hysteroscopic equipment to implanting physicians who were not qualified to use the

same; and (4) it was foreseeable that Conceptus and Bayer's negligent training program would

cause hann to Plaintiffs_.

       702.    Conceptus and Bayef engaged in the above activities which exposed patients,

including Plaintiffs, to serious dangers and greatly increased adverse risks.

       703.    Conceptus and Bayer failed to properly train Plaintiffs' implanting physicians on

proper management of post-impltµlt complications.

       704.    Conceptus and Bayer failed to properly train Plaintiffs' implanting physicians on

how to safely and effectively remove the Essure® coil$ once the implant procedure was

complet~.

       705.    Conceptus and Bayer failed to properly train Plaintiffs' implanting physicians on

how to use its delivery system and the hysteroscopic equipment.


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                  706.     Despite Conceptus' and Bayer's failure   t? train Plaintiffs'   implanting physicians,

    these Defendants "signed-off' on Plaintiffs' implanting physicians and provided specialized

    hysteroscopic equipment to them to perfonn Essure® procedures.

                  707.     Due to Conceptus' and Bayer's negligence, Plaintiffs' physicians and Plaintiffs

    did ?ot have the necess~ information in order to make an informed decision in the best interests
\
    of Plaintiffs' health.

                  708.     On November 3, 201 4, following Plaintiffs' surgeries and amid growing concerns

    over the use of Essure®, Bayer announced that it w~ launching a collaborative effort with Karl

    Storz Endoscopy-America, Inc. to train physicians on ¢e safe and proper methods of implanting

    Essure®.
                   170
                          Had Conceptus   ~d Bayer implemented a training program on the safe and proper

    methods of implanting Essure® prior to Plaintiffs' surgeries, their physicians would have

    adequately perfonned their implants.

                  709.     As a proximate and legal result of these Defendants' fai lure to properly discharge

    a duty it undertook to train physicians, Plaintiffs' implanting physicians did not adequately

    perform Plaintiffs' implants.

                  710.     Instead, Plaintiffs' implants were improperly performed, causing the coils to

    migrate and/or perforate Plaintiffs' organs. Plaintiffs suffered severe pain and bleeding without
          I
    proper management of these post-implant complications; and Plaintiffs                      requir~d   multiple
              .                              .
    subsequent surgeries as a result of their implanting physicians' improper performance of the

    Essure® procedure.

                  71 1.    As a proximate and legal result of these Defendants' failure, to properly discharge

    a duty it undertook to train physicians, they breached their duty of care to Plaintiffs under

    170
       Seehttp://www.pmewswire.com/news-releases/bayer-healthcare--karl-storz-enter-collaboration-
    agreement-to-provide-gynecologists-hysteroscopy-solutions:supporting-the-procedure-for-essure-
    pennanent-birth-control-28130049 1.htrnl


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Kentucky law and caused Plaintiffs injuries, including but not limited to medical and hospital

expenses, lost wages and lost earning capacity, physical and mental pain and suffering, and loss

of the enjoyment of life.

                                SIXTH CAUSE OF ACTION
                       Sadler Negligent Failure to do Postmarket T~ting

       7i2.    Plaintiffs repeat and incorporate by reference all other paragraphs of this

Complaint as if fully set forth herein and further allege as follows:

       713 :   Under both state and federal"law, these Defendants were under parallel duties to

conform to the PMA approval process. This process is designed to prevent a manufacturer from

introducing into the stream of comme11ce a medical device that has not been tested in adequately

designed clinical trials and which has not otherwise passed a rigorous scientific review to

determine that such a device is safe and effective for the use intended by the manufacturer.

       714.    In this regard, the manufacturers.' duties of due care under Kentucky state law and

its federal duties pursuant to FDA rules and regulations are identical.       Both prohibit these

Defendants from marketing untested devices, which are unreasonably dangerous; thus, the state

law cause of action alleged here is just one more reason for these Defendants to conform to their

duties und~r federal law.

        715.   Defendants marketed the Essure® device to and for the benefit of Plaintiffs.

        716.   Defendants owed Plaintiffs, and their physicians, duties to exercise reasonable or

ordinary care under the circumstances in light of the generally recognized and prevailing
                   '
scientific knowledge at the time the product was sold.
        '                     .
        717.   This is also a parallel violation of the duty of due care under the Kentucky

negligence rule of reasonable care, which requires a manufacturer to take ordinary and

reasonable care before marketing such devices by submitting them to adequately designed



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clinical testing for safety and effectiveness. Such testing is reasonably necessary and ordinarily

prudent in order to prevent the distribution of unreasonably dangerous products into the market

place. 171

         718.   At the time of Plaintiffs' ·implants, Conceptus and Bayer failed to perform

adequately designed post-market clinical testing of Essure® as required under its PMA and

supplements, federal regulations and parallel state law.

         719.   A new post-marketing study was required as a condition of the Essure® 2007

premarketing approval supplement. 172

         720.   Nevertheless, Conceptus and Bayer intended to and did promote and market

Essure® as a safe and effective device, and did distribute this unreasonably dangerous device to

Plaintiffs and Plaintiffs' implanting physicians without completing the required postmarket

study.

         721.   "This study was never registered at ClinicalTrials.gov, despite the 2007 FDA

Amendments Act requirement, and was stopped early at the manufacturer's request after 578 [of

the 800 required] underwent attempted implantation. Its findings are minimally informative,

since no follow-up data were collected and nearly all study results reported on the FDA website

are redacted." 173

         722.   One purpose of this aborted study was to determine adverse effects potentially

related to the device, however it is clear from the limited data available on the FDA website that




171
    21 U.S.C. §§ 351and 352; Kentucky Common Law, KRS §§ 217.065 and 217.175.
172
      See "Revisiting Essure - Toward Safe and Effective Sterilization" available online at:
http://www.nejm.org/doi/full/10.1056/NEJMpl510514
173
    Id.


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no follow-up visits o~urred based on the adverse event findings and "N/~" !isted ne'.'~ to

"Followup Visits and Length ofFollowup." 174

          723.    The Essure® device marketed and distributed by Conceptus and Bayer was

misbranded because their FDA-approved labeling was inadequate to convey the true safety and

effectiveness infonnation as marketed by these Defendants.

          724.    The distribution of these misbranded devices is a violation of federal law because

of the failure to conform to procedures required by the PMA Supplement approval.

          725.    Plaintiffs ~ere hanned by Conceptus and Bayer's marketing and distribution of a

misbranded device. .

          726.    Conceptus and Bayer could have discovered the defective condition of Essure®,

but failed to conduct and complete adequate postmarket tests and inspections that would have

disclosed the defects.

          727.     Conceptus and Bayer failed to exercise reasonable care in adequate.Iy testing

and completing such testing of the Essure® device subject to the 2007 PMA supplement.

          728.    Conceptus and Bayer knew, or should have known, that due to their failure to use

reasonable care, Plaintiffs and their physicians would use and did use Essure®to the detriment of

Plaintiffs' health, safety and well-being.

          729.    As the direct, producing, proximate and legal result of these Defendants'

negligence, Plaintiffs have suffered severe physical pain, medical and hospital expenses, lost

wages, pain and suffering, and pecuniary loss.

          730.    Plaintiffs are therefore entitled to damages in an amount t~ be proven at trial,

together with interest thereon and costs.



174
      See http://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfpma/pma pas.cfin?c id=l 12&t id=367828


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                                                ,·




                                   SEVENTH CAUSE OF ACTION
                                       Breach of Express Warranty
                                  Ky. Rev. Stat. § 355.2-301, et. seq.

        731.     Plaintiffs repeat and incorporate by reference all other paragraphs of this

 Complaint as if fully set forth herein and further allege as follows:

        732.      Conceptus an~ Bayer utilized journal articles, ~dve~ising media, and sales

 representatives to promote, encourage, and urge the use and purchase of the Essure®

 device, representing the quality to health care professionals, the FDA, Plaintiffs, and the public

 in such a way as to induce its purchase or use, thereby maldng an express warranty that

Essure® would conform to the representations.

        733.      More specifically, Plaintiffs incorporate by reference herein the allegatio~s

 stated in the Second Cause of Action, section D (1-3), above.
                         .
        734.      jhe representations, as set forth above, contained or constituted affirmations

 of fact or proiµises made by the seller to the buyer which related to the goods and became

 part of the basis of the bargain creating an express warranty that the goods shall confonn to the

 affinnations of fact or promises. ·

        735.      Essure® did not conform to the representations made by Conceptus and

 Bayer, as the Essure® device was not safe and effective and was not safe and effective for use

. by individuals such as Plaintiffs.

        736. .    At all relevant times, Plaintiffs used Essure® for the purpose and m the

 manner intended by Conceptus and Bayer.
                                                             .               .
        737.      ~laintiffs   and Plaintiffs' physicians, by the use of reasonable care, could not

 have discovered the breached warranty and realized Essure®'s hidden increased risks and its

 unreasonable dangers.



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            738.          Defendants' breaches constitute violations of state common laws, including

    but not limited to, the fo llowing statutory provisions: Ky. Rev. Stat. § 355.2-301, et. seq. 115

            739.          The breach of the warranty was a substantial factor in bringing about

    Plaintiffs' injuries.

            740.          Conceptus and Bayer intended to induce Plaintiffs and their physicians to rely

    on    their misrepresentations to use Essure® over the altem~tive methods of permanent

    sterilization.

            74 1.        In reliance upon Conceptus' and Bayer's representations, Plaintiffs and Plaintiffs'

    physicians used Essure«i.

            742.         Plaintiffs and Plaintiffs' physicians were justified in their reliance on Conceptus'

    and Bayer's representations and marketing. Plaintiffs actually did undergo the Essure® implant

    procedure, which ultimately caused Plaintiffs' serious physical injury.
)                    '
            743.         As a direct and proximate result of said misreprese!ltations, Plaintiffs have been

    injured and have incurred damages, including but not limited .to medical and hospital expenses,

    lost wages and lost earning capacity, physical and mental pain and suffering, and loss of the

    enjoyment of life.

            744.         Had Plaintiffs' implanting physicians and Plaintiffs been made fully and.

    adequately aware of the inefficacy and serious increased risks and dangers associated with such

    use, Plaiptiffs'      ph~sicians   would not have recommended Essure® to        ~raintiffs,   and Plaintiffs

    would not have chosen to have Essure® implanted in their fallopian tubes.

    175
       (1) Express warranties by the seller are created as follows: (a) Any affirmation of fact or promise
    made by the seller to the buyer which relates to the goods and becomes part of the basis of the bargain
    creates an express warranty that the goods shall conform to the affinnation or promise. (b) Any
    description of th.e goods which is made part ·or the basis of the bargain creates an express warranty that
    the goods shall confonn to the description. (c) Any sample or model which is made part of the basis of
    the bargain creates an express warranty that the whole of the goods shall confonn to the sample or model.
    Ky. Rev. Stat § 355.2-313.


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                               EIGHTH CAUSE OF ACTION
                              Kentucky Products Liability Action
                                      KRS § 411.300 et. seq.
                                    Restat. 2d of Torts,§ 402A

       745.    Plaintiffs incorporate by reference all previous and subsequent paragraphs of this

Complaint as if fully set forth herein and further allege as follows:

       A.      PLAINTIFFS HAVE A CAUSE . OF ACTION UNDER THE KENTUCKY PRODUCTS
               LIABILITY STATUTES, KRS §         411.300   ET. SEQ. AND REsTAT. 2D OF TORTS,§
               402A.

       746.    Ky. R~v. Stat. Ann. §§ 411.300 et seq. governs claims or actions brought for

personal injury, death or property damage caused by or resulting from the manufacture,

conStrtiction, design, fonnulation, development of standards, preparation, processing,    assem~ly,


testing, certifying, warning, instructing, marketing, adyertising, packaging, or labeling of any

product.

       747.    As used in Ky. Rev. Stat Ann. §§ 411.300 et seq., the term "products liability

action" means "any action brought for or on aceount. of person~ injury, death or property

damage caused by or resulting from the manufacture, construction, design, formulation,

development of standards, preparation, processing, assembly, testing, listing, certifying,

warning, instructing, marketing, advertising, packaging or labeling of any product."

       748.    Ky. Rev. Stat. Ann. §§ 411.300 et seq. and Kentucky Common Law, which

adopts Section § 402 of the Restatement (Second) of Torts, 176 permits a claim or portion of a

claim.in which the plaintiff seeks relief in the form of damages on a theory that the defendant is

strictly liable for such damages because: (1) Conceptus and Bayer, wherever situated in the chain

of commerce, transferred a product in the course of their business; and (2) The product was used



176
  See Dealers Transport Co. v. Battery Distribution Co., 402 S.W.2d 441 (Ky. Ct: App. 1965). See also
Kroger Co. v. Bowman, 411 S.W.2d 339 (Ky. 1967).


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in a manner reasonably anticipated; and (3) Either or both of the following'. (a) The product was

then in a defective condition and unreasonably dangerous when put to a reasonably anticipated

use, and the Plaintiffs were damaged as a direct result of such defective condition that. existed

when the product was sold; or (b) The product was then unreasonably dangerous when put to a

reasonably anticipated use without knowledge of its characteristics, and the Plaintiffs were

damaged as a direct result of the product being sold without an adequate warning.

       749.     The Essure® device that was implanted in Plaintiffs was promoted,

distributed, manufactured and used in a manner that is in violation of federal law, the FDCA,

the MDA, and ·regulations promulgated thereunder, and parallel state law.

       750. . Kentucky law does not impose requirements that are different from, or in addition

 to requirements under federal law, <1!1d therefore Plaintiffs' claims are not preempted.

       751.    The state law and federal duties are identical; thus, the state law cause of action

alleged here is just one more reason for these Defendants to conform to their duties under the

FDCA, the MDA, the Essure® PMA, and FDA Regulations.

       752.    Kentucky law exists independently of federal law.           Here, Plaintiffs are not

attempting to enforce federal law. rrlstead, Plaintiffs are seeking to hold Conceptus and Bayer

liable for violating the state law duties, which parallel federal 'regulations and requirements.

               1. Conceptus .and Bayer failed to comply with the following federal
                  requirements regarding Essure®.

       753.    Conceptus and Bayer at all times herein were medical device manufacturers and

subject to duties under the PMA, FDCA and various federal regulations.

       754.    Conceptus and Bayer designed, formulated, tested, packaged, labeled, produced,

created, made, constructed, assembled, advertised, manufactured, sold, distributed, marketed,

and promoted Essure®, including the Essure® devices that were implanted into Plaintiffs.



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       75~.     It was the duty of Conceptus and Bayer to comply with federal law, the

FDCA, the MDA and the regulations.

       756.     Conceptus and Bayer had duties to not make false or misleading statements

regarding Essure® under 21 U.S.C. §§ 33l(a), 351 & 352(a),(q)&(r); 21 U.S.C. §§ 360(q)&(r);

and 2 1 C.F.R. § 814.80.     Conceptus and Bayer breached these duties as stated in this

Complaint, specifically the First Cause of Action, Second Cause of Action, Third Cause of

Actio~. Fourth Cause of Action, and Seventh Cause of Action, which are incorporated by

reference herein.

       757.     Conceptus and Bayer had duties to investigate and address adverse events under

the following reglilations: 21 C.F.R. § 820.3(z)(x); 21 C.F.R. § 820.22; 21 C.F.R. § 820.5; 21

C.F.R. §820. l (a); 21 C.F.R. §. 820.22; 21, C.F.R. § 8~0.100; 21 C.F.R. § 820.160(a); 21 C.F.R.

§ 820.,198; 21 C.F.R. § 820.30; 21 C.F.R. § 803.3; 21 C.F.R. § 820.70 ,and 21 C.F.R. §

820.170(a). Conceptus and Bayer breached these duties as stated in this Complaint, specifically

the First Cause of Action, Second Cause of Action, Third Cause of Action, Fourth Cause of

Action, and Seventh Cause of.Action, which are incorporated by reference herein.

       758.     Conceptus and Bayer had duties . to submit a PMA supplement and make a

labeling change to add or strengthen a   contraindi~ation,   warning, precaution, or information

about an adverse reaction for which there is reasonable evidence of a causal association under

21 C.F.R. § 814.39, 21 C.F.R. § 803.56. Conceptus and Bayer breached these duties as stated

in this .Complaint, specifically the First Cause of Action, Second Cause of Action, Third Cause

of Action and Fourth Cause of Action, which are incorporated by reference herein.

       759.     Conceptus and Bayer had duties to report adverse events under 21 C.F.R. §

803.50; 21 C.F.R. § 814.80, 2 1 C.F.R. § 814.84(b)(2) and 21 U.S.C. § 360i(a). Conceptus and
         l




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Bayer breached these duties as stated in this Complaint, specifically the First Cause of Action,

Second Cause of Action, Third Cause of Action and Fourth Cause of Action, which are

incorporated by reference herein.

       760.     Conceptus and Bayer had duties to report new clinical investigations and/or

scientific stud~es concerning the Essure® device about which Conceptus and Bayer knew .or

reasonably should have known about under 21 C.F.R. § 814.84(b)(2). Conceptus and Bayer

breached these duties as stated in this Complaint, specifically the First Cause of Action, Second

Cause of Action, Third Cause of Action and Fourth Cause of Action, which are incorporated by

reference herein.
                                                    -
       761.     Conceptus and Bayer had duties to comply with quality control standards under

21 C.F.R. § 820.3(z)(x); 21 C.F.R. § 820.22; 21 C.F.R. § 820.5; 21 C.F.R. §820.l(a); 21

C.F.R. § 820.22; 21 C.F.R. § 820.160(a); 21 C.F.R. § 820.198(a) and 21 C.F.R. § 820.170(a).

Conceptus and Bayer breached these duties as stated in this Complaint, specifically the First

Cause of Action, Second Cause Qf Action, Third Cause of Action and Fourth Cause of Action

which are incorporated by reference herein.

       762. . Conceptus and Bayer had duties to establish and maintain · procedures for
                            '       .         I         ,



implementing CAPAs under 21 C.F.R § 820.100. Conceptus and Bayer breached these duties

as stated in this Complaint, specifically the First Cause of Action, Second Cause of Action,

Third Cause of Action and Fourth Cause of Action, which are incorporated by reference herein..

                2. Conceptus and Bayer failed to comply with FDA approval of Essure®,
                   resulting in a "manufacturing defect" of the device. ·          .

       763.      Conceptus and Bayer also violated federal law in the manufacture of Essure®

in that they:

                A)    used non-confonning material;


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               B)      failed to use pre-sterile and post-sterile cages;

               C)      manufactured Essure® at an unlicensed facility;

               D)    . manufactured Essure® for three years without a license to do so;

               E)      failed to analyze or identify existing potential causes of non-confonning

                       product and other quality problems;

               F)      failed to track the non-conforming product;

               G)      failed to follow procedures used to control products which did not conform

                       to specifications;

               H)      failed to have complete Design Failure Analyses; and

               I)      failed to document CAPA activities for a supplier correction action;

       764.     The original design for a Class III medical device is the product that is

approved by the FDA. This FDA approval includes not only the physical components of the

product, but the labeling and intended use of the product as well.

       765.     Under federal regulations,. a product that does not comply with the FDA

approval is considered "adulterated" and/or "misbranded." Und~r state law, a product that does
          .                                                                   .
not comply with the FDA approval is considered a "manufacturing defect.>' Therefore, any

product sold that is not incompliance with the FDA approval is both misbranded and/or
                                                                             '    .
adulterated under federal law and a manufacturing defect under State law. Therefore, the same

underlying defect and/or actions of the manufacturer that have given rise to a federal

violation are also a parallel state violation.

       766.    Violating the conditions of approval· for the FDA approval is another way of

saying.that the manufacti.J.rer violated the original design of the product and       the~efore   creates a

viable manufacturing defect claim.


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       767.     There are multiple manufacturing defects in the Essure® device that were

implanted into Plaintiffs which caused Plaintiffs' device to migrate and/or break/fracture

apart and/or caused Plaintiffs to experience heavy menstrual cycle bleeding and long-term         ,.

chronic pain amongst other side effects, all which became known to Conceptus and Bayer,

including but not limited to:

               A)     The stainless steel used in the device became unpassivated, which' can
                      cause the device to rust;

               B)     the nitinol could have a nickel rich oxide w~ich the body attacks;

               C)     the no lead solder could in fa~t have trace lead in it;

               D)     the Galvanic action between the metals used to manufacture Essure®,
                      which causes the encapsulation of the product within the fallopian tubes,
                      could be a continuous irritant to some patients;

               E)     the nitinol in the device can degrade due to High Nickel Ion release,
                      increasing the toxicity of the product for patients;

               F)     latent manufacturing defects such as cracks, scratches, and other
                      disruption of the smooth surface of the metal coil, may have existed in
                      the finished product, causing excess nickel to leach into the surrounding
                      tissues afte~ implantation;

               G)     PET fibers degrade at 65 degrees, therefore considerable degradation is
                      expected at 98 degrees in the human body and degra4ation products of
                      the PET used in the implant can be toxic to patients, inciting both
                      chronic inflammation and possible autoimmune issues;

               H)      the mucosal immune response to nickel is different than the immune
                       response in non-mucosa! areas of the body;

               I)     there was an inadequate solder joint. between the inner and .outer coils
                      of the micro-insert which can cause the micro-insert to fracture/break
                      apart, and which Conceptus and Bayer admit is or could be a reason for
                      device breakage, and;

               J)     the central axis was not fully adhered to the spring which can cause the
                      micro- insert to fracture/break apart, and which Conceptus and Bayer
                      admit is or could be a reason for device breakage.




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                                                                           .
         768.     The Essure® device implanted in Plaintiffs was not reasonably safe for its

 intended uses and was defective as described herein as a matter of law with respect to its

 manufacture, in· that it deviated materially from Conceptus and Bayers d~sign and

 manufacturing specifications in such a manner as to pose unreasonable increased risks of

 serious bodily harm to Plaintiffs.

         769.     The Essure® devices manufactured and sold by Conceptus and Bayer and

 implanted into Plaintiffs were defective in manufacture because they did not comply with

 Conceptus' and, Bayer's own design specifications, used non-conforming material, and

 deviated from otherwise identical units from the same product line, manufactured with the

 same specifications.

         770.     At all times mentioned herein, Conceptus and Bayer placed Essure® on the

 market and supplied the Essure® device used during Plaintiffs' permanent sterilization

 procedures.

         771.     Conceptus and Bayer have a duty to manufacture the Essure® deviee

 consistent with the specifications, requirements, federal regulations, PMA, and/or conditions

. of approval.
                                                  ·.
         772.    At the time the Essure® devices left control of Conceptus and Bayer when they

 were implanted into Plaintiffs, they were unreasonably dangerous due to non-compliance by
                                                                       \




 both companies with the FDCA, and the regulations promulgated pursuant to it. ·

         B.      THERE IS A CAUSAL AND FACTUAL NEXUS BETWEEN PLAINTIFFS' INJURIES AND
                 DEFENDANTS' BREACH OF ITS STATE LAW DUTIES AND IDENTICAL FEDERAL
                 REQUIREMENTS.

         773.    Conceptus and Bayer breached their identical state and federal duties, as. alleged

 in all prior Counts of this Complaint, and incorporated by reference herein.




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       774.    Since Conceptus and Bayer failed to meet their duties under the above mentioned

federal and parallel state laws, Plaintiffs and Plaintiffs' treating physicians did not know and had

no reason to know that Essure® was causing P~aintiffs' injuries.

     ' 775.    As such, Plaintiffs and Plaintiffs' treating physicians could not properly an~or

timely diagnose the cause of Plaintiffs' injuries, which caused and/or contributed to Plaintiffs

having to endure prolonged and unnecessary pain and suffering.

       776.       As a direct and proximate result of Defendants' violations of one or more of

the above mentioned federal statutory and regulatory standards of care, Essure® was

implanted in Plaintiffs and Plaintiffs were caused to endure a serious injury, as defined in 21

C.F.R. § 803.3.

       777.       Plaintiffs were caused to suffer, and will suffer in the future, injuries

including, but not limited to pain, suffering, lost wages, disability, disfigurement, legal

obligations for     hospital, medical, nursing, rehabilitative, and other medical services· and

treatment.

                                  NINTH CAUSE OF ACTION
                       Violation ·of Kentucky Consumer Protection Law
                                      KRS §§ 367.170 et seq.

        778.   Plaintiffs repeat and incorporate by reference all other paragraphs of this Petition

as if fully set forth herein and further allege as follows:

        779.    Conceptus and Bayer had a statutory quty to refrain from unfair or deceptive acts

or trade practices in the design, labeling, development, manufacture, promotion, and sale of the

Essure® product.

        780.    Conceptus and Bayer engaged in wrongful conduct while at the same time

obtaining, under false pretenses, moneys from Plaintiffs for Essure® that would not have been




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paid had Conceptus and Bayer not engaged in unfair and deceptive conduct.

       781. ·· Conceptus and Bayer engaged in unfair methods of competition or deceptive acts

or practice that were proscribed by la~, including the following:

       A)      Representing that goods or services have characteristic ingredients, uses, benefits

               or quantities that they do not have;

       B)      Adve~ising   goods or services with the intent not to sell them as advertised; and

       C)      Engaging in fraudulent or deceptive conduct that creates a likelihood of confusion

               or misunderstanding.

       782.    Conceptus and Bayer are the supplier, manufacnicer, advertiser, and seller, who is

subject to liability under Ky. Rev. Stat. Ann. §§ 367.170 et seq. for unfair, deceptive, false, and

misleading consumer sates practices.

       783.    Conceptus' and· Bayer's deceptive and fraudulent representations and material

omissions to patients, physicians and consumers, including Plaintiffs, constituted unfair,

misleading, deceptive or false acts or practices in the conduct of trade or commerce in violation

of Ky. Rev. Stat. Ann. §§ 367.170 et seq.

       784.    Conceptus and Bayer violated the state statutes that were enacted to protect

consumers against unfair, deceptive, false and misleading trade practices and false advertising,

by knowingly and falsely representing that the Essure® product was fit to.be used for the purpose

for which it was intended, when in fact it was defective and dangerous, and by other acts alleged

herein. These representations were mad~ in marketing and promotional materials.

       785.    Conceptus and Bayer had actual knowledge of the defective and unreasonably

dangerous condition of Essure® and failed to take any action to cure such defective and

dangerous conditions.



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         786.   Plaintiffs were injured by the cumulative and indivisible nature of Conceptus' and

                                                                                                     1
Bayer's conduct. The cumulative effect of Conceptus' and Bayer's. conduct directed at patients,

physicians and consumers was to create demand for and sell Essure®. Each aspect of Conceptus'

and Bayer's conduct combined to artificially create sales ofEssure®.

         787.   Plaintiffs purchased and used the Essure® device for personal use and suffered

ascertainable losses as a result of Conceptus' and Bayer's actions in violation of Ky. Rev. Stat.

Ann. §§ 367: 170 et seq.

         788.   Had Conceptus and Bayer not engaged in the deceptive conduct described herein,

Plaintiffs' physicians could not have used Essure® and · Plaintiffs would not have purchased

and/or paid for Essure® and would not have incurred related medical costs and injury.

         789.   Plaintiffs' physician relied upon Conceptus' and Bayer's misrepresentations and

material omissions in determining whether to use Essure®.

         790.   Bayer's conduct and acts of unfair competition are ongomg and present a

continuing threat of harm to the general public.

         791.   By reason of unlawful acts engaged in by Conceptus and Bayer, and as a dfrect

and proximate result thereof, Plaintiffs liave suffered ascertainable losses aD;d damages.

         792.   As a direct and proximate result of Conceptus' and Bayer's violations of the state

consumer pr9tection    law~   cited herein, Plaintiffs have sustained economic losses and other

damages and are entitled to statutory and compensatory damages in an amount to be proven at

trial.

                                TENTH CAUSE OF ACTION
                       Product Liability for Reseller of Medical Products
                                          AgainstPMC




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                                                                                                        .'


       793.    Plaintiffs Wolford, Taylor and Atkinson incorporate by reference all previous and

subsequent paragraphs of this Complaint as if fully set forth herein and further allege as follows:

       794.    PMC purchased for distribution and sale to Plaintiffs Wolford, Taylor and

Atkinson the Essure® devices.

       795.    Essure® as sold by PMC was unreasonably dangerous and defective, and failed to

perform as safely as an ordinary consumer wou1d expect be.cause its risks outweighed its benefits

for the use intended when it was sold to the aforementioned Plaintiffs.

       796.    PMC knew or should have known at the time of distribution or sale of the Ess~e®

device that it was defective.

       797.    Under KRS § 411.340, a hospital is a "middleman" under Kentucky law and thus

shielded from products liability unless an exception applies. For the "middleman" defense to

apply: (1) the product resold by the middleman µiust be in its original manufactured condition or

package, or in the same condition such product was in when received by said wholesaler,

distributor or retailer; (2) the wholesaler, distributor or retailer must not have breached an

express warranty, or known or should have known at the time ·of distribution or sale of such

product that the pr~uct was in a defective condition, unreasonably dangerous to the user or

c-0nsumer; and (3) the damages must have arisen solely from    di~tribution or sale   of the product.

        798.   PMC is not entitled to the "middleman" defense because it knew or should have

known that the medical device delivered and intended to be used in Plaintiffs' surgeries were in a

defective condition, unreasonably dangerous to the user or consumer.
                                           '
        799.   Plaintiffs Wolford, Tayl~r and Atkinson used Essure® in a manner intended and

reasonably for~seeable by PMC.




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       800.    Plaintiffs Wolford, Taylor and Atkinson were not aware of the aforementioned

defects at any time prior to the injuries caused by Essure®.

       801.    As a legal and proximate result of the aforementioned defects of Essure®,

Plaintiffs Wolford, Taylor and Atkinson have sustained the injuries and damages set forth herein.

       802.    Plaintiffs Wolford, ·Taylor and Atkinson are therefore entitled to damages in an

amount to be proved at trial, together with interest thereon and costs.

                              ELEVENTH CAUSE OF ACTION
                                   Medical Negligence
                                     AgainstPMC

       803.    Plaintiffs Wolford and Taylor incorporate by reference all previous and

subsequent paragraphs of this Complaint as if fully set fo~ herein and further allege as follows:

       A.      SARANDA WOLFORD'S CLAIM FOR MEDICAL NEGLIGENCE AGAINST PMC.

       804.    PMC holds itself out as providing physicians; nurse practitioners, agents, servants

and employees who are skilled in the diagnosis, care and treatment of injured and sick patients, .

especially and including in obstetrics and gynecological services, and at all times mentioned

herein, acted by and through its agents, servants and employe~s.

       805.    At all times relevant hereto, Drs. Rebecca Hobbs and Jennifer Erin Mullins were

employees, associates, partners, agents, affiliates, contract employees, and/or officers of PMC. ·

       806.    Dr. Hobbs and Dr. Mullins were actual agents and/or apparent agents of PMC,
                                                                                ·'


and as such, PMC is legally responsible and liable for negligence and resultant      damage~   of the

Plaintiff's physicians, Dr. Hobbs and,Mullins, as set forth in this Complaint

       807.    By and through its agents, servants and/or employees, ostensible agents, servants

and/or employees, PMC undertook a duty to provide appropriate medical care and treatment to

Plaintiff Wolford and allowed Essure® to be used in its medical facilities.




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       808.    PMC had a duty to render that degree of medical care that an ordinarily prudent

hospital would render in the same or similar circumstances.

       809.    Prior to her May 14, 20-14 Essure® procedure, PMC failed to inform Plaintiff

Wolford of the risks specific to· the use of the Essure® device, including that it could have
                                       .                         .
adv~rse effects such as migration, pelvic pain, abnormal and/or heavy bleeding, and autoimmune

symptoms.

       810.    Under KRS § 304.40-320, all "health care providers" have a duty to ensure that a

patient gives his or her informed consent for a procedme.

       811.    During her May 14, .2014 procedure, Plaintiff Wolford's implanting physician,

Dr. Hobbs, and assisting physician, Dr. Mullins, failed to use reasonable care in the implantation

of Plaintiffs Essure® device.

       812.    Due to the failure of Dr. Hobbs and .Dr. Mullins to use reasonable care in the

implantation of Plaintiffs Essure® device, Plaintiff Wolford suffered injuries, including but not ·

limited to: undergoing an HSG test that noted placement of the left Essure® device over the

lower uterine segment with free spillage into the peritoneum from the left fallopian tube, and

migration of the right Essure® device medially with spillage of contrast from the right fallopian

tube; subsequent surgeries including a laparosc6pic bilateral salpingectomy where it was noted in

the operative report that the Essure® coils were in the posterior cul-de-sac and were removed,

and a total vaginal hysterectomy where an Essure® coil was located in the myometrial portion of

the comua; and post-implant symptoms such as persistent bleeding, pain, nausea, and

dyspareunia.

       813.    As explained in Hymafi & Armstrong, PSC v. Gunderson, 279 S.W.3d 93 (KY.

2008), the warnings, precautions and instructions regarding the proper surgical placement of the




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· Essure® device is proof of the standard of care. Dr. Hobbs and Dr. Mullins, in misplacing the

device in Ms. Wolford contrary to the warnings, precautions and instructions, breached this

 standard of care.

        814.    The FDA labeling is relevant in determining whether the physician prudently used

 the drug or device in treating the patient within the standard of care, and also whether the ~sks

 and benefits of those treatments were adequately understood by .physicians and/or hospital and

 adequately reveale~ to the patient in obtaining informed consent.

        815.    Plaintiff Wolford would not have consented to the use of Essure® had she been

 fully informed of the risks by PMC.

        816.    Further, had Dr. Hobbs and Dr. Mullins used reasonable care in the implantation

 of Plaintiff Wolford's Essure®, the device would have been properly placed in Plaintiff's

 fallopian tubes and would not have migrated, causing Plaintiff's injuries, including but not

 limited to severe pain and a subsequent operations.

        817.    Based on   th~   previous allegations, PMC is legally responsible and liable for the

 negligence and resultant damages of Dr. Hobbs and Dr. Mullins.

        818.    As a proximate result of the negligence and carelessness of the employees,

 associates, partners, agents, affiliates, contract employees, and/or officers of PMC, all as

 described above, the Plaintiff Wolford was caused to suffer serious physical and mental pain and

 anguish, past and future medical and hospital expenses, past and future wage loss, loss of

 enjoyment of life, increased risk of future harm, and future impairment of Plaintiff's ability ~o

 work and earn money, all in excess of the jurisdictional limits of this Court.



       . B.    ' SHEILA TAYWR'SCLAIMFORMEDICALNEGLIGENCEAGAINSTPMC




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       819.    PMC holds itself out as providing physicians, nurse practitioners, agents, servants

and employees who are skilled in the diagnosis, care and treatment of injured and sick patients,

especially and including in obstetrics and gynecological services, and at all times mentioned

herein, acted by and through its agents, servants and employees.

       820.    At all times relevant hereto, Drs. Rebecca Hobbs and Jennifer Erin Mullins were

employees, associates, partners, agents, affiliates, contract employees, and/or officers of PMC.

       821.    Dr. Hobbs and Dr. Mullins were actual agents and/or apparent agents of PMC,

and as such, PMC is legally responsible and liable for negligence and resultant damages of the

Plaintiff.Taylor's physicians, Dr. Hobbs and Mullins, as set forth in this Complaint.

       822.  By and through its agents, servants and/or employees, ostensible agents, servants
                                                         .    .
and/or employees, PMC undertoo~ a duty to proviqe appropriate medical care and treatment to

Plaintiff Taylor and allowed Essure® to be used in its medical facilities.

       823.    PMC had a duty to render that degree of medical care that an ordinarily prudent

hospital would render in the same or similar circumstances.

       824.    Prior to her June 26, 2013 Essure® procedure, PMC failed to infonn Plaintiff

Taylor of the risks specific to the use of the Essure® device, including that it could have adverse

effects such as migration, pelvic pam, abnormal and/or heavy bleeding; and autoimmune

symptoms.

        825.   Under KRS § 304.40-320, all "health care providers" have a duty to ensure that a

patient gives his or her informed consent for a procedure.

        826.   Plaintiff Taylor's implanting physician, Dr. Hobbs, failed to use reasonable care

in the implantation of Pl~tiff's Essure® device.

        827.   Dr. Mullins, who performed Plaintiff Taylor's post-implant cesarean section and



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bilateral tubal ligation, failed to use reasonable care in her decision.to leave the Essure® coils in
                                                                                                ,,
place during this procedure, necessitating a second post-implant surgery to remove the coils . .

           828.   Due to the failure of Dr. Hobbs and Dr. Mullins to use reasonable care in the

implan~tion and removal of Plaintiff's Essure® device, Plaintiff Taylor suffered · injuries,

including but not limited to: device migration, depression, persistent bleeding, pain, nausea,

dyspareunia, and subsequent surgeries.

           829.   As explained in Hyman & Armstrong, PSC v. Gunderson, 279 S.W.3d 93 (KY.

2008), the warnings, precautions and     ins~ctions   regarding the proper surgical placement of the

Essure® device is proof of the standard of care. Dr. Hobbs and Dr. Mullins in misplacing the

device in Ms. Taylor contrary to the warnings precautions'and instructions breached µlls standard

of care.

           830.   The FDA labeling is relevant in determining whether the physician prudently used ·

the drug or device in treating the patient within the standard of care, and also whether the risks

and benefits of those treatments were adequately understood by physicians and/or hospital and

adequately revealed to the patient in obtaining informed consent.

           831.   Plaintiff Taylor would not have consented to the use of Essure® had she been fully

informed of the risks by PMC.

           832.   Further, in addition to or in the alternative to Count 5 (Negligent Training) above,

had Dr. Hobbs used reasonable care in the implantation of Plaintiff's Essure®, the device would

have been properly placed in Plaintiff Taylor's fallopian tubes and wouldn't have migrated,

causing Plaintiff's injuries, including but not limited to severe pain.and a subsequent operations.
               '                                                                 .
           833.   Based on the previous allegations, PMC is legally responsible and liable for the

negligence and resultant damages of Dr. Hobbs and Dr. Mullins.




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       834.    As a proximate result of the negligence and carelessness of the employees,
                                 .                                                                     /

associates, partners, agents, affiliates, contract employees~ and/or officers of PMC, all as

described above, the Plaintiff Taylor was caused to suffer serious physical and mental pain ~d

anguish, past and future medical and hospital expenses, past and future wage loss, loss of

·enjoyment of life, increased risk of future harm, and future impairment of Plaintiff's ability to

work and earn money, all in excess of the jurisdictional limits of this Court.

XI.    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs Wolford, Taylor and Atkinson respectfully demand judgment

against all Defendants, and Plaintiff Johnson against the Bayer Defendants, and each of them,

individually, jointly and severally, and request compensatory damages, together with interest,.

cost of suit, attorneys' fees, and a ll such other relief as the Court deems just and proper as well

as:

               A)      compensatory damages to each Plaintiff for past, present, and future

                      · damages, including, but not limited to, great pain and suffering and

                       emotional distress and anguish, for severe and permanent personal injuries

                       sustained by each Plaintiff, health and medical care costs, together with

                       interest and costs as provided by law;

               B)      for all ascertainable economic and non-economic damages in an amount as

                       provided by law and to be supported by evidence at trial;

               C)      for specific damages according to proof;

               D)      for Punitive and Exemplary damages according to proof;

               E)      for pre-judgment i~terest and post-judgment interest as allowed by law;.
                                                                                              )
               F)      for reasonable attorneys' fees;




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                  G)     for the costs of these proceedings; and

                  H)     for such other and further relief as this Court deems just .and proper.

                                   DEMAND FOR JURY TRIAL

                                 Plaintiffs hereby demand a"jury trial.

    Respectfully submitted,
    Date:
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                                                                                                                                                                                          PLAINTIFF

                 Saranda Wolford et al
                 I   o   o l   \    ••   •• o • t •   ••   I   ••    o   •1




        vs.
                                                                                                                                                                                         DEFENDANT
                Boyer
                ... . Corporation   et al.
                      ...... ... - ......




       Service of Process Agent for Defendant:
        Plkevl!leJ~1edioa.1_ q-~~-~~~ -                             ..

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       127 ..         Street
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       THE COMMONWEALTH OF KENTUCKY
       TO THE ABOVE-NAMED OEFENDANT(S);

             You are hereby notified a legal action has been flied against you In this Court demanding relief as shown on
      the document delivered to you with this Summons. Unless a written defense Is made by you or by an attorney on
      your behalf within 20 days following the day this paper is delivered to you, Judgment by default may be taken against you
      for the relief demanded In the attached Complaint.

              The name(s) and address(es) of the party or parties demanding relief against you are shown on the document
      delivered to you with this Summons.

      Date:          ~{f@r d~ ,20)~                                                                       _ ;-"--
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                         Summons was served by delivering a true copy and the Complaint (or other Initiating document) to:
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                                                                                                     Transmittal Number: 15687439
Notice of Service of Process                                                                            Date Processed: 09/29/2016

Primary Contact:           Malini Moorthy
                           Bayer Corporation
                           100 Bayer Road
                           Pittsburgh, PA 15205-9741

Electronic copy provided to:                   Kayla Hartley
                                               Ana Hartner
                                               Jennifer Makuch
                                               Heather Rossi

Entity:                                       Bayer Essure Inc.
                                              Entity ID Number 0477980
Entity Served:                                Bayer Essure, Inc. (f/k/a Conceptus, Inc.)
Title of Action:                              Sandra Wolford vs. Bayer Corporation
Document(s) Type:                             Notice to Dismiss
Nature of Action:                             Product Liability
Court/Agency:                                 Pike County Circuit Court, Kentucky
Case/Reference No:                            16-CI-907
Jurisdiction Served:                          Delaware
Date Served on CSC:                           09/29/2016
Answer or Appearance Due:                     Other/NA
Originally Served On:                         CSC
How Served:                                   Regular Mail
Sender Information:                           Gary C. Johnson
                                              606-437-4002

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                               To avoid potential delay, please do not send your response to CSC
                        2711 Centerville Road Wilmington, DE 19808 (888) 690-2882 | sop@cscglobal.com
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                                    PIKE CIRCUIT COURT
                                       DMSIONNO.I


 CASE NO.: 16-CI-907

 SARANDA WOLFORD;
 SHEILA TAYLOR;
 KATRINA ATKINSON;
 and T'EBONY JOHNSON                                                            PLAINTIFFS


 vs.                  PLAINTIFF, KATRINA ATKINSON'S
                     NOTICE OF VOLUNTARY DISMISSAL
                  AGAINST PIKEVU,LE MEDICAL CENTER, INC.


 BAYER. CORPORATION;
 BAYER HEALTHCARE, LLC.;
 BAYER ESSURE, INC. (F/KJA CONCEPTUS, INC.)
 BAYER HEALTHCARE PHARMACEUJ'ICALS, INC.;
 and PIKEVILLE MEDICAL CENTER, INC.                                          DEFENDANTS

                                         ** ** ** **
        Comes the Plaintiff, Katrina Atkinson, pursuant to CR 4 1.01 ( 1), and no answer to the

 Complaint having been served in this matter, and no summary judgment motion pending,

 hereby gives notice that she is voluntarily dismissing her claims herein against PIKEVILLE

 l\1EDICAL    CENTE~       INC., without prejudice.      All other claims against all other

 Defendants remain penqing.




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                    Dated: September 26, 2016

                                                    Respectfully submitted,




                                                    Rhonda J. Blackburn, Esq.
                                                    Raabia Wazir, Esq.
                                                    GARY C. JOHNSON, P.S.C.
                                                    110 Caroline Avenue
                                                    P. 0. Box231
                                                    Pikeville, KY 41502
                                                    606-437-4002
                                                    gary@garycjohnson.com
                                                    rwazir@garycjohnson.com

                                                    Gregory J. Bubalo, Esq.
                                                    Leslie M. Cronen, Esq.
                                                    Kate A. Dunnington, Esq.
                                                    BUBALO GOODE SALES & CRONEN PLC ,
                                                    9300 Shelbyville Rd Ste 2 10
                                                    Louisville, KY 40222
                                                    502-753-1600
                                                    gbubalo@bubalolaw.com
                                                    lcronen@bubalolaw.com                         ·\
                                                    kdunnington@bubalolaw.com




                      "
/"·•   Case: 7:16-cv-00227-KKC-HAI Doc #: 1-1 Filed: 10/17/16 Page: 177 of 178 - Page ID#:
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                                        CERTIFICATE OF SERVICE

                I hereby certify that a true and correct copy of the foregoing has been mailed this 26th
         day of September, 2016, to:

        Bayer Corporation
        Corporation Service Company
        421 West Main Street
        Frankfort, KY 40601

        Bayer Healthcare LLC
        Corporati_o n Service Company
        421 West Main Street
        Frankfort, KY 40601

        · Bayer Essure, Inc.
          F!KlA Conceputs, Inc.
          Corporation Service Company
          2711 Centerville Road, Ste 400
          Wilmington, DE 19808

         Bayer Healthcare Pharmaceuticals, Inc.
         Corporation Service Company
         421 West Main Street
         Frankfort, KY 40601

         Pik.eville Medical Center, Inc.
         c/o Pamela Todd May, Esq.
         127 Park Street
         Pikeville, KY 41501
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ATTORNEYS AT LAW                                                                                                         0000850395      SEP 26 2016
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110 Garoltne Avenue
Post Oflce Box 231
Plkevllle. Kentucky 41502


                                                         Bayer Essure, Inc.
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                                                         2711 Centerville Road, Ste 400
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